 Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 1 of 192 Page ID #:2324



 1   Law Offices of William D. Goldstein
 2
     William D. Goldstein (SBN. 279723)
     4030 Sawtelle Blvd.
 3
     Los Angeles, CA 90066-5408
     Phone: (310) 437-0108
 4   Facsimile: (323) 372-3589
     Email: wdgoldstein@wdgoldstein.com
 5
     Attorney for PLAINTIFF, RUNWAY TV, LLC
 6

 7

 8                       UNITED STATES DISTRICT COURT
 9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11

12   RUNWAY TV, LLC., A Delaware   )          Case No.: 2:18-CV-02503-FMO (JCx)
                                   )
13   Limited Liability Company     )          PLAINTIFF’S NOTICE OF MOTION
                                   )          AND MOTION TO COMPEL
18                Plaintiff,       )          RESPONSES TO REQUEST FOR
                                   )          IDENTIFICATION AND
15         vs.                     )          PRODUCTION OF DOCUMENTS,
                                   )          SET 1 WITHOUT OBJECTIONS;
16   EURL ELEONORA DE GRAY, a      )          MEMORANDUM OF POINTS
                                   )          AUTHORITIES IN SUPPORT
18   French Company; ELEONORA DE              THEREOF REQUEST FOR
                                   )          SANCTIONS AND DECLARATION
18   GRAY                          )          OF WILLIAM D. GOLDSTEIN
                                   )
19    aka ELEONORA CHRISTENSEN, A )
                                   )          Hearing Date: October 15, 2019
20   French citizen And DOES 1-10, )
                                   )          Time:         9:30 AM
21   INCLUSIVE,                    )
                                   )          Roybal Courthouse Rm. 750
22                Defendants.      )
                                   )          Hon. Jacqueline Chooljian Presiding
23   _                             )
                                   )
24

25                                            [Filed Concurrently with Plaintiff’s
                                              Notice of Motion and Motion to
26                                            Compel Clear and Concise Responses
                                              to the Requests for Admission Without
27                                            Further Objections]
28



                                           - 1 –

                PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
 Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 2 of 192 Page ID #:2325



 1
     TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF
 2
     RECORD:
 3

 4
     PLEASE TAKE NOTICE THAT on October 15, 2019, at 9:30 a.m. in
 5
     Courtroom 750 of Roybal Courthouse, located at 255 East Temple Street, Los
 6
     Angeles, California 90012, Plaintiff will move for an Order Compelling Responses
 7
     to Requests for Identification and Production of Documents and Things, Set 1.
 8
     This Motion is made on the grounds that said Discovery was served on August 28,
 9
     2018 and no reasonable responses have, to date, been received by Plaintiff.
10
           Discovery in this matter was stayed by order of the Hon. Fernando M.
11
     Olguin on November 29, 2019. It is Plaintiffs understanding that the stay was lifted
12   once service was accomplished and a Declaration to that effect was filed on
13   September 16, 2019.
18

15         Plaintiff additionally seeks $3,500 in sanctions for the 2 Motions to Compel
16   filed concurrently.
18

18         This motion and request for an order is based upon the memorandum of
19   points and authorities, the singular Declaration of William D. Goldstein in
20   compliance with Local Rules 37-1 and 37-2.4, exhibits, and any oral and
21   documentary evidence as may be presented at hearing of this motion.
22

23   Respectfully submitted:
24

25   DATED: September 20, 2019             LAW OFFICES OF WILLIAM D. GOLDSTEIN
26                                         By: __________________________
27                                              William D. Goldstein
28                                              Attorney for RUNWAY TV, LLC.


                                            - 2 –

                 PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
 Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 3 of 192 Page ID #:2326



 1
                  MEMORANDUM OF POINTS AND AUTHORITIES
 2

 3         PLAINTIFF RUNWAY TV, LLC. ("Plaintiff') submits this brief in support
 4   of its Motion to Compel Responses Without Objection to the Requests for the
 5   Identification and Production of Documents and Things (Set 1) served on
 6   Defendant Eleonora De Gray on August 28, 2018. This is the second such motion.
 7   It is necessitated because the Defendant in this matter did not comply with this
 8   Courts Order of November 5, 2019 as to the production of documents, appropriate
 9   objections and compliance with local rules. The delay in filing this Motion is due
10   to a stay issued on November 29, 2018 and lifted in Plaintiffs opinion on
11   September 16, 2019, after service was accomplished in accordance with the order
12   of the Court and a Declaration was filed to that effect.
13                                      I. Introduction
18         This case stems from the breach of a Trademark licensing agreement entered
15   into by the parties on April 1, 2014. At that time, the Plaintiff agreed to allow the
16   Defendants to use their Trademark for a three-month test in the French market. By
18   that agreement, the license trial use of the RUNWAY® trademark expired after a
18   single issue of the RUNWAY® France magazine was published. Thereafter the
19   Defendant agreed to pay a royalty for each issue of the magazine published and
20   never did.
21         Plaintiff is the owner of the trademark RUNWAY® and is in the business of
22   designing, advertising, marketing, publishing, distributing, selling and/or offering
23   for sale a high-end fashion magazine entitled “RUNWAY MAGAZINE.”
24         Upon information and belief. Defendants, through their Internet website,
25   http://www.runwaymagazines.com, from that period on, prominently displayed the
26   infringing "Runway® Magazine" designation using a font indistinguishable from
27   that which Plaintiff uses on its website, http://www.runwaylive.com
28



                                              - 4 –

                  PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
 Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 4 of 192 Page ID #:2327



 1
            Defendants continue to advertise the infringing designation "RUNWAY®
 2
     MAGAZINE" on several Internet and Social Media websites, such as
 3
     Youtube.com, Facebook.com Twitter.com, as well as various blogs causing
 4
     confusion among the general consuming public as to the origin of Defendants
 5
     services since consumers associate the RUNWAY MAGAZINE name with
 6
     Plaintiff.
 7
                                       II. Case History
 8
            Plaintiff filed this suit with the Central District Court on March 28, 2018. As
 9
     per the Hague Convention and French law, once the suit has been filed in a
10
     territory outside of French jurisdiction, the conformed copy of the Summons and
11
     Complaint as well as all documents (inclusive of exhibits) to be served, must be
12
     translated into the French language. Thereafter, the suit is transmitted to the French
13   Ministry of Justice. This was accomplished by FEDEX and received on June 25,
18   2018. On June 27, 2018 the case was then sent on to the prosecutor’s office for
15   service (according to the letter by Nicholas Castell cited in previous motions). This
16   complete process takes between six (6) and nine (9) months as testified to by
18   Richard Hamilton in his declaration filed with Plaintiffs Motion to Extend time for
18   Service). As such, the moving Defendant in this matter has not, as yet, received
19   service of process of the original Summons and Complaint.
20      Much of the motion practice in this case has been brought by the Defendants
21   filing a Motion to Dismiss for Lack of Jurisdiction under FRCP Rule 12(b)(6) prior
22   to receipt of the original Summons and Complaint and then complaining that she
23   had not been served.
24          Defendants original Motion to Dismiss was granted by this Court with leave
25   to amend. By order of the Court, the First Amended Complaint containing over 20
26   additional paragraphs explaining jurisdiction, and with edited versions of each
27   Cause of Action to conform with the additional text, was filed, inclusive of a Proof
28



                                             - 5 –

                  PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
 Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 5 of 192 Page ID #:2328



 1
     of Service on July 30, 2018. The responsive pleading was due no later than August
 2
     13, 2018.
 3
        The order of the Court stated in paragraph 7:
 4
                  In the event Defendants wish to file another motion to dismiss,
 5
           then counsel for the parties shall, on August 6, 2018, at 10:00 a.m.
 6
           meet and confer in person at an agreed upon location within the
 7
           Central District of California to discuss Defendants’ motion to
 8
           dismiss. Defendants’ motion to dismiss must include copies of all
 9
           meet and confer letters as well as a declaration that sets forth, in
10
           detail, the entire meet and confer process (i.e., when and where it took
11
           place, how long it lasted and the position of each attorney with respect
12
           to each disputed issue that will be the subject of the motion). Failure
13         to include such a declaration will result in the motion to dismiss being
18         denied.
15         Rather than meet and confer, on August 1, 2018, Defendant Eleonora De
16   Gray filed an Answer to the First Amended Complaint. This was followed on
18   August 9, 2018 with a Motion to Strike under California Law based on California
18   Code of Civil Procedure §418.10 for Lack of Jurisdiction. Hence, this Defendant
19   attempted to skirt the Court’s order requiring a Meet and Confer in favor of
20   arguing under State law instead of the FRCP.
21         The Plaintiff was then compelled to respond with an opposition to this
22   improper Motion wasting Plaintiffs resources and the Court’s time. The opposition
23   was filed on August 12, 2018. Once the Opposition was filed, and without leave of
24   the Court, Defendant De Gray filed two Addendums to her motion (on August 17,
25   2018 and September 5, 2018) filled with scurrilous falsehoods and perjurious
26   statements about Counsel for the Plaintiff. Plaintiff was unable to respond to these
27   libelous statements and false allegations under the FRCP and Local Rules without
28



                                             - 6 –

                 PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
 Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 6 of 192 Page ID #:2329



 1
     bringing a motion for leave of the Court to Reply. There was not time between the
 2
     filing of the two amendments and the hearing date (September 13, 2018) to do so.
 3
           The Court denied the Motion to Strike by Defendant De Gray and deemed as
 4
     moot the two Addendums on September 10, 2018.
 5
           The very next day, September 11, 2018, Defendant De Gray filed a second
 6
     Motion to Dismiss under FRCP Rule 12 (b)(5). A quick look at this motion reveals
 7
     that with some slight modification it is nearly identical to the Motion to Strike the
 8
     Court had just ruled on with both of the Addendums included. This motion was
 9
     calendared to be heard on October 18, 2018. It is again filled with libelous
10
     statements and false allegations about Plaintiff’s Counsel (this motion was denied).
11
           This was another improper Motion after an Answer had been filed. It also
12
     violates the Court’s previous order to Meet & Confer. Yet again, the Plaintiff was
13   compelled to respond to to this improper Motion with an Opposition wasting
18   Plaintiffs resources and this Court’s time.
15         The Defendant then filed yet another Motion; on September 17, 2018, a
16   Motion for a Protective Order under FRCP 26(c). As has been Defendant’s habit,
18   the Caption page was incorrect, listing Vincent Mazzotta as a Plaintiff, he is not.
18   The copy of the Motion served to the Plaintiff did not list a date, time or location
19   for the hearing. The actual Notice section of the Motion was also violative of the
20   FRCP as it does not list a date, time or location for the hearing. And again, this
21   Motion was filed without any effort to Meet and Confer in violation of FRCP Rule
22   26(C), Local Rules 37-1 and 37-2.4.
23         The Motion was denied by this Court as not in the form of a Joint stipulation
24   or Declaration re: Meet and Confer in violation of Local Rule 37-2.4.
25         On October 17, 2018 Plaintiff filed Motions to Compel Responses Without
26   Objections to Document Requests (Exhibit “A”) and to Deem Admitted Requests
27   for Admission (Exhibit “B”) along with sanctions made necessary by the
28   Defendant’s failure to provide any responses to the Discovery served on August

                                             - 7 –

                 PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
 Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 7 of 192 Page ID #:2330



 1
     28, 2018. Additionally, despite 8 Meet and Confer letters sent by the Plaintiff,
 2
     inclusive of multiple requests for a list of any objections specific to individual
 3
     Discovery Requests and 4 specific requests to schedule a telephonic Meet and
 4
     Confer within 10 days which Plaintiff then extended to 15 days, the Defendant
 5
     refused to participate in the Meet and Confer Process as specified in Local Rule
 6
     37-1 et. seq.
 7
           On October 29, 2018 Plaintiff filed a second Motion to Extend the Time for
 8
     Service as the original Summons and Complaint still in the possession, custody and
 9
     control of the French Ministry of Justice at that time (this motion was granted in
10
     part and denied in part).
11
           On November 5, 2018 this Court ruled that Plaintiff’s Motions to Compel
12
     were granted in part and Denied in part. Specifically, the Court ordered the
13   Defendant to respond to the Discovery served on August 28, 2018, but in the
18   interest of justice, as the Defendant was a Pro Se litigant, and, a foreign national,
15   this Court declined to grant sanctions or prohibit objections. Additionally, the
16   Court provided the Defendant the specific requirements for responses to be served.
18   Responses were ordered no later than November 26, 2018.
18         The Defendant served her Responses to the Document Requests (Exhibit
19   “C”) and Requests for Admission (Exhibit “D”) on November 25, 2018.The
20   Defendant has used the allowance of objection to completely stonewall the
21   Document requests. Here the defendant has found objections which might be
22   relevant in discovery but has not only misused them but inserted what she believes
23   to be French and European Union law to support unsupportable objections. Of the
24   14 categories of documents Plaintiff requested not a single document has been
25   produced. As relates to the Requests for Admission these will be dealt with in the
26   accompanying motion.
27         Plaintiff sent a 22-page Meet and Confer letter to this Defendant covering
28   every Request, the stated objection and the reasoning Plaintiff believes the

                                               - 8 –

                     PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
 Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 8 of 192 Page ID #:2331



 1
     objection is not appropriate as well as the justification for Plaintiff’s argument on
 2
     November 26, 2018 (Exhibit “E”). Plaintiff also requested a date and time for a
 3
     telephonic meeting of Counsel within the 10 days specified in Local Rule 37-1.
 4
           The Response from this Defendant (Exhibit “F”) was, to be brief, that she
 5
     believed all her objections were valid and she would not provide any of the
 6
     Documents requested and/or that said documents do not exist. The problem with
 7
     this latter statement is that a small sampling of these same documents have
 8
     previously been submitted to the Court in previous filings by this Defendant.
 9
     Hence this latter statement made under penalty of perjury is false.
10
           As relates to Counsels request to participate in the required telephonic Meet
11
     and Confer Plaintiff insisted that:
12
           “Concerning your request to have telephonic conference Meet and Confer
13   under Local Rule 37-1. Please note that I'm French citizen, resident of France, and
18   according to French law I formally request that it'll be conducted on French
15   language by OFFICIAL SWORN TRANSLATOR – to avoid any
16   misunderstanding or misinterpretations. You are initiating this telephonic
18   conference – so it is your responsibilities to arrange that. Ones again : any meet
18   and confer / interrogation / discovery during litigation process according to French
19   law happens ONLY with the presents of sworn translator, in French, this
20   conversation is recorded by another person or on recording devise and then written
21   and signed by the same sworn translator, all details of the recording are presented
22   to observation, my French attorney also present. As you are initiating this
23   conference you should present to me the plan of discussion, subject by subject,
24   propose 5 dates for my choice, also give name, address, and number of sworn
25   translator who I may contact later for additional details if necessary”
26         In response Plaintiff sent a second Meet and Confer letter (Exhibit “G”)
27          “You have repeatedly advised me that you both speak and read English.
28   Your prompt responses to Meet and Confer letters as well as numerous Motions

                                              - 9 –

                 PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
 Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 9 of 192 Page ID #:2332



 1
     convince me that this is a fact. As such, I am under no obligation to provide a
 2
     translator for our telephonic Meet & Confer on this discovery. There are no rules
 3
     which require that a Discovery conference between Counsel be translated or
 4
     recorded. That said, the only applicable rule in the Local Rules and FRCP is that
 5
     all proceedings be conducted in the English Language (with the exception of
 6
     witness testimony with a Court appointed translator) and that all documents
 7
     submitted to the Court be accompanied by an English translation. Unfortunately,
 8
     the Local Rules require that said Meet and Confer be by telephone and not in
 9
     writing. Finally, you keep referring to French law. This case is in the United States
10
     District Court for the Central District of California. Your citizenship and French
11
     law have no effect of permissible discovery.”
12
           Additional Meet and Confer letters were sent back and forth by the parties
13
     (Exhibits “H” –“S”. The bottom line is that Defendant will not provide any
18
     Documents or properly respond to Requests for Admission and believes that all her
15
     responses are proper. Plaintiff disagrees. Plaintiff hereby requests that the Court
16
     rule on these objections and compel the Defendant to provide the requested
18
     documents in her possession, custody and control without further objections.
18
           In that this Defendant has now had to go through two full sets of Meet and
19
     Confer correspondences, and file two complete sets of Motions to obtain legally
20
     required discovery materials, the Plaintiff again requests that sanctions be granted
21
     as this Defendant is just playing upon the sympathies of this Court. Additionally,
22
     this Defendant has shown contempt of this Court in repeatedly stating that this
23
     Court has no jurisdiction over her.
24
           Since the original Motions to Compel were ruled on, on November 29, 2018,
25
     the Hon. Fernando M. Olguin granted in part the Plaintiffs Motion for an extension
26
     of time to file proofs of service and more importantly as to this Motion, placed a
27
     stay upon the case.
28



                                             - 10 –

                 PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 10 of 192 Page ID #:2333



 1
            Still unable to serve the Defendant after she refused service by the Ministry
 2
     of Justice in France on February 7, 2019, Plaintiff filed a Motion to consider
 3
     service as constructively completed or allow service by Mail or Email (docket #
 4
     84). Plaintiff thereafter attempted service by Mail in accordance with the FRCP
 5
     4(f)(2)(c)2 by having the Clerk mail the documents to the 2 defendants (docket #86
 6
     & #87). The documents were thereafter returned to the Clerk of the Court as
 7
     Refused by addressee.
 8
            On September 11, 2019 the Court Granted the Plaintiff’s motion to allow
 9
     service by Email requiring that the Plaintiff thereafter file a Declaration to that
10
     effect. It also denied the Defendant’s latest Motion to Dismiss as moot.(docket #
11
     91).
12
            The Courts original order on the Stay reads: “All case deadlines, including
13
     all discovery matters, are stayed pending resolution of the service of process issue.
18
     Unless the document relates to the service issues discussed in this order, no further
15
     documents may be filed pending further order of the court.”
16
                  Note that the stay applies “pending resolution of the service of
18
     process issue.” The Court’s Order of September 11, 2019 and the service of the
18
     Summons and Complaint on September 16th along with the filed declaration to that
19
     effect, resolves the “service of process issue,” hence it is the Plaintiff’s
20
     understanding that the stay has been lifted.
21
            Plaintiff did not become aware of this latest ruling until September 16, 2019.
22
     Within the hour, the Documents required were sent to the Defendants by Email and
23
     shortly thereafter the required declaration was filed (docket # 93).
24
            On September 17, 2019, Plaintiff renewed the Meet and Confer process
25
     related to Discovery (stayed the previous November) with an Email requesting
26
     promised responses to the Plaintiffs 22 page letter of the past November 26, 2019
27
     and requesting that Defendant Eleonora De Gray agree to a telephonic Meet and
28



                                              - 11 –

                  PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 11 of 192 Page ID #:2334



 1
     Confer as well a Joint declaration should the parties not be able to come to
 2
     agreement on the discovery issues (attached hereto as Exhibit “M”).
 3
             Thereafter a series of Emails were sent by the parties with no progress
 4
     towards a consensus on the Discovery Issues.
 5
             In Defendant’s Email of September 20, 2019 she states “: “PLEASE NOTE that
 6
     I consider this Meet and confer conduction over.” As a result Plaintiff files this motion
 7
     and the accompanying motion related to Request for Admission.
 8

 9

10
        FOR THE CONVENIENCE OF THE COURT, ALL REQUESTS AND
11
      RESPONSE TO THESE REQUESTS CAN BE FOUND IN EXHIBITS “D”.
12
                                           ARGUMENT
13
                       1. Pursuant to Federal Rules of Civil Procedure 36,
18
                Defendant Was required to respond in writing and under oath
15

16
             Plaintiff served PLAINTIFF’S REQUESTS FOR THE IDENTIFICATION
18
     AND PRODUCTION OF DOCUMENTS AND THINGS (Set 1) to the Defendant
18
     by Email on August 28, 2018. On November 5, 2018 this Court ruled that the
19
     Defendant must respond to the Document requests no later than November 26,
20
     2018.
21
             The Court was very clear and precise in advising the Defendant of how to
22
     respond to RFA:
23
             “Pursuant to Rule 36, a party may serve on any other party Requests for
24   Admissions (“RFAs”) to obtain any evidence within the permissible scope of
25   discovery. Fed. R. Civ. P. 26(b)(1), 36(a). RFAs are required to be simple and
26   direct, and should be limited to singular relevant facts. See Securities and
27   Exchange Commission v. Micro-Moisture Controls, Inc., 21 F.R.D. 164, 166
28   (S.D.N.Y. 1957); see also Dubin v. E.F. Hutton Group, Inc., 125 F.R.D. 372, 376

                                                - 12 –

                  PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 12 of 192 Page ID #:2335



 1
     (S.D.N,Y. 1989) (objections to RFAs as vague, ambiguous, overbroad and
 2
     burdensome sustained where requests for admissions not simple concise statements
 3
     of fact, but instead contained vague and ambiguous wording that did not allow
 4
     defendants fairly to admit or deny). A request for admission may seek an
 5
     admission of the genuineness of documents if copies of the documents are attached
 6
     to the request or have been previously furnished or made available for inspection
 7
     and copying. Fed. R. Civ. P. 36(a)(2). A party may properly seek to have another
 8
     part admit or deny a responding party’s understanding of the meaning of a
 9
     document. See Booth Oil Site Admin. Group v. Safety-Kleen Corp., 194 F.R.D.
10
     76, 80 (W.D.N.Y 2000). A request for admission may also request “the application
11
     of law to fact.” Fed. R. Civ. P. 36(a)(1)(A); see Marchand v.Mercy Medical
12
     Center, 22 F.3d 933, 937 n.4 (9th Cir. 1994) (“Rule 36(a) permits requests for
13   admission addressing questions of mixed law and fact.”) (citation omitted). A
18   request for admission may not, however, seek a response on a disputed conclusion
15   of pure law. See Playboy Enterprises, Inc. v. Welles, 60 F. Supp. 2d 1050, 1057
16   (S.D. Cal. 1999).”
18         “A matter is admitted unless, within 30 days after being served, the party to
18   whom an RFA is directed serves on the requesting party a written answer or
19   objection addressed to the matter and signed by the party or its attorney. Fed. R.
20   Civ. P. 36(a)(3).2 Pursuant to Local Rule 36-2, the party answering or objecting to
21   requests for admission shall quote each request in full immediately preceding the
22   statement of any answer or objection thereto. Local Rule 36-2. An answer to a
23   request for admission must consist of an admission, a denial, or a statement
24   detailing why the answering party is unable to admit or deny the matter. Fed. R.
25   Civ. P. 36(a)(3), 36(a)(4). If any portion of a request for an admission is true, the
26   party to whom it is directed must admit that portion and qualify or deny the rest.
27   Fed. R. Civ. P. 36(a)(4); see Holmgren v. State Farm Mutual Insurance Co., 976
28   F.2d 573, 579-80 (9th Cir. 1992). A denial must be specific and must fairly

                                             - 13 –

                 PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 13 of 192 Page ID #:2336



 1
     respond to the substance of the matter. Fed. R. Civ. P. 36(a)(4). Where the
 2
     meaning of a particular term in a request is somewhat inexact, the responding party
 3
     should supply its own definition and admit or deny, or qualify its admission or
 4
     denial to make it accurate and responsive. See S.A. Healy Co./Lodigiani USA, Ltd.
 5
     v. United States, 37 Fed. Cl. 204, 205-07 (Fed. Cl. 1997). A qualified denial is
 6
     proper if the responding party sets forth in detail the reasons why he or she
 7
     cannot truthfully deny the matter. Fed. R. Civ. P. 36(a)(4). A party who responds
 8
     by claiming an inability to admit or deny must also state that he or she has made
 9
     “reasonable inquiry and that the information it knows or can readily obtain is
10
     insufficient to enable it to admit or deny.” Fed. R. Civ. P. 36(a)(4); Asea, Inc. v.
11
     Southern Pacific Transportation Co., 669 F.2d 1242, 1245-47 (9th Cir. 1981); A.
12
     Farber & Partners, Inc. v. Garber, 237 F.R.D. 250, 253-55 (C.D. Cal. 2006). What
13   constitutes “reasonable inquiry” and what material is “readily obtainable” are
18   relative matters that depend upon the facts of each case. T. Rowe Price Small-Cap
15   Fund, Inc. v. Oppenheimer & Co., Inc., 174 F.R.D. 38, 43 (S.D.N.Y. 1997).
16   Generally, “reasonable inquiry” for purposes of responding to requests for
18   admission, is limited to review and inquiry of those persons and documents that are
18   within the responding party’s control. Id. at 43. A party cannot be forced to admit
19   or deny facts testified to by a third party as to which the responding party has no
20   personal knowledge. Id. at 46. The validity, or bona fides of a qualified answer to a
21   request for admission must await trial to see if the requesting party is forced to
22   prove what was not admitted and can show that there was no good reason for the
23   opponent’s failure to admit. National Semiconductor Corp. v. Ramtron
24   International Corp., 265 F. Supp. 2d 71, 74-75 (D. D.C. 2003).”
25         “If a party fails timely to object to discovery requests, such a failure
26   constitutes a waiver of any objections which a party might have to the requests.
27   See Richmark Corp. v. Timber Falling Consultants, 959 F.2d 1468, 1473 (9th Cir.
28   1991) (“It is well established that a failure to object to discovery requests within

                                             - 14 –

                 PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 14 of 192 Page ID #:2337



 1
     the time required constitutes a waiver of any objection.”) (citation omitted), cert.
 2
     dismissed, 506 U.S. 948 (1992); Apple Inc. v. Samsung Electronic Co., Ltd., 2012
 3
     WL 952254, *2 (N.D. Cal. Mar. 20, 2012) (“Objections not interposed in a timely
 4
     initial response may not be held in reserve and interposed after the period allowed
 5
     for response . . . ”) (citation omitted); Ramirez v. County of Los Angeles, 231
 6
     F.R.D. 407, 409-10 (C.D. Cal. 2005) (court declined to consider objections that
 7
     were not asserted in responding party’s original discovery responses based upon
 8
     party’s failure timely to make such objections)”
 9

10
           As to why Plaintiff requests the Courts intervention, here are 2 small
11
     examples, the Request, the Response and Counsels comments.
12
     REQUEST FOR ADMISSION NO. 1:
13
           Admit that YOU are the sole shareholder of EURL ELEONORA DE
18
     GRAY.
15

16
     Response:
18
           Defendant incorporates her General Responses and Objections by reference
18   including, but not limited to, objections 1-11. Defendant objects to this request on
19   the grounds that it seeks to obtain copyrighted materials and/or information
20   regarding business activities that took place outside of the United States and that
21   are beyond the jurisdiction of the California, as it has been already determined by
22   this Court, and/or seek information or documents subject to European Union
23   privacy laws and French Penal Code Law No. 80 -538 (July 16, 1980).
24   Additionally, this request is not relevant to the claims of Plaintiff, and the Original
25   Complaint / First Amended Complaint were not served on Defendant EURL
26   ELEONORA DE GRAY
27   //
28   //

                                             - 15 –

                 PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 15 of 192 Page ID #:2338



 1
     Discussion:
 2
           Your objection makes no sense at all. You were asked to admit that you are
 3
     the sole shareholder of EURL Eleonora De Gray. You have neither admitted or
 4
     denied this Request in direct violation of the order of this Court stated above.
 5
           You are currently in violation of the Court order of November 5, 2018.
 6

 7
     REQUEST FOR ADMISSION NO. 4:
 8
           Admit that YOU filed three (3) Requests (motions) after the filing of the
 9
     Motion to Dismiss for Lack of Jurisdiction.
10

11
     The Response:
12
           Defendant incorporates her General Responses and Objections by reference
13
     including, but not limited to, objections 1-11. Defendant is unable to admit or deny
18
     this Request on the grounds that it violates Federal Rules of Civil Procedure Rule
15
     about Discovery requests, as this request for admission based on determination of
16
     litigation of the claims. This subject can be determined by this Court proceedings.
18
     Additionally, Defendants were not united. Additionally, Defendants were not
18
     properly served with the original / first amended complaint, Prosecutor of France
19
     denied to proceed with frivolously filed complaint against French citizen / French
20
     business entity.
21

22
     Discussion:
23
           Your objection makes no sense at all. You were asked to admit that you filed
24
     3 motions/requests after the first Motion to dismiss. This was as of the date the
25
     discovery was served upon you. What actions you have taken are not the subject of
26
     litigation. Either you must admit or deny these actions.
27
           You are currently in violation of the Court order of November 5, 2018.
28



                                             - 16 –

                   PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 16 of 192 Page ID #:2339



 1
           Of the responses provided to the 30 RFA, Plaintiff believes that Requests 1,
 2
     4, 5, 7, 8, 8(mis-numbered), 9, 10, 11, 13, 15, 18-29 (hence 23 out of the 30) are
 3
     not properly responded to and moves the Court to compel clear and proper
 4
     responses without objection.
 5

 6
             2. Defendant Refused to Comply with Local Rule 37-1 Requiring a
 7
                           Telephonic Pre-Filing Conference of Counsel
 8
           Prior to the filing of any motion relating to discovery pursuant to F.R.C.P.
 9
     26-37, Counsel for the parties shall confer in a good faith effort to eliminate the
10
     necessity for hearing the motion or to eliminate as many of the disputes as
11
     possible. It shall be the responsibility of counsel for the moving party to arrange
12
     for this conference. If both counsels are located within the same county of the
13
     Central District, the conference shall take place in person at the office of the
18
     moving party’s counsel, unless the parties agree to meet someplace else. If both
15
     counsels are not located within the same county of the Central District, the
16
     conference may take place telephonically. Unless relieved by written order of the
18
     Court upon good cause shown, counsel for the opposing party shall confer with
18   counsel for the moving party within ten (10) days after the moving party serves a
19   letter requesting such conference.
20         Here Counsel for the Plaintiff sent several Email Meet & Confer letters. In
21   response the Defendant made unnecessary and expensive demands upon the
22   Plaintiff. What follows is an excerpt from the third Meet and Confer letter
23   Plaintiff sent to this Defendant:
24         “If I am understanding your letter of today, you are unwilling to have an
25   informal telephonic Meet & Confer as regards your Discovery Responses as
26   required under the Local rules and the Courts orders. These conversations are
27   intended to avoid the Courts need to deal with Discovery Issues. Instead, you insist
28   that any telephonic Meet and Confer utilize a certified French translator (which

                                             - 17 –

                 PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 17 of 192 Page ID #:2340



 1
     you also state is not required for your understanding of what is being said as you
 2
     claim to be fluent in English) and a Court reporter to compile a transcript of said
 3
     conversation. All of which you insist be arranged and paid for by my client.
 4
           The more formal discussion is not going to happen unless you provide for
 5
     those services. My client will not fund these unnecessary expenses. Additionally,
 6
     the District Court operates under United States law, to which you have granted
 7
     jurisdiction over you, by way of your having answered the complaint. Not your
 8
     understanding of French law you allege must be followed.”
 9

10
                      3. Request for Sanctions Under FRCP Rule 37(b)(5)
11
        (A)     If the motion is granted—or if the disclosure or requested discovery is
12              provided after the motion was filed—the court must, after giving an
                opportunity to be heard, require the party or deponent whose conduct
13
                necessitated the motion, the party or attorney advising that conduct, or
18              both to pay the movant's reasonable expenses incurred in making the
15
                motion, including attorney's fees. But the court must not order this
                payment if:
16
                (i) the movant filed the motion before attempting in good faith to obtain
18
                the disclosure or discovery without court action;
18
                (ii) the opposing party's nondisclosure, response, or objection was
19              substantially justified; or
20              (iii) other circumstances make an award of expenses unjust.
21            Here the Defendant refused to participate in an informal telephonic Meet
22   and Confer and placed expensive and unnecessary conditions for a telephonic
23   Meet and Confer. Hence this Motion requires the filing of a Declaration by
24   Counsel under Local Rule 37-2.4. Nor would Defendant agree to a joint
25   Declaration of the impasse as required under LR 37-1.
26         Here the Defendant completely ignored the order of this Court on
27   November 5, 2019 relating to objection, form of responses, provision of
28   documents requested and the requirement of an informal Meeting of Counsel.

                                             - 18 –

                   PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 18 of 192 Page ID #:2341



 1
           As discussed in the Declaration of William D. Goldstein, Counsel for the
 2
     Plaintiff spent in excess of 4 hours researching and drafting his Meet and Confer
 3
     letters and an additional 6 hours drafting this Notice of Motion and Motion as well
 4
     as the accompanying Notice of Motion and Motion to Compel Responses Without
 5
     Objection to the Requests for Admission, Compiling the Exhibits and Preparing
 6
     the attached Declaration. As is discussed in said Declaration, Counsel charges his
 7
     client, Runway TV, LLC at the rate of $350.00 per hour. Hence, Defendant seeks
 8
     $3,500.00 in sanctions equivalent to its costs in filing these Motions.
 9
           Plaintiff understands that the Courts generally gives the benefit of the Doubt
10
     to Pro Se litigants. This Defendant has repeatedly violated the Local Rules, FRCP
11
     and the direct Orders of the Court. Nevertheless, this Defendant has never been
12
     sanctioned. This Defendant has repeatedly been advised of what her legal
13   responsibilities are regarding Discovery Responses, yet she not only disputes these
18   but refuses to comply. Plaintiff has, nevertheless, been required to shoulder the
15   expense of opposing the Defendants last 6 Motions (none of which have been
16   granted) and has, at this time been required to file 4 Motions related to this
18   Discovery. Enough should be enough. This Defendant should be sanctioned.
18   Plaintiff suggests a monetary sanction at this time. Should this Defendant again
19   ignore the order of this Court to properly respond to discovery as explicitly laid out
20   in this Courts November 5, 2019 order, Plaintiff will need to file yet another
21   Motion, go through the Meet and Confer process again at which time the Plaintiff
22   will request more stringent measure (evidentiary, issue preclusion or the striking of
23   the Answer.).
24                                      4. Conclusion
25      For the reasons set forth herein plaintiff, Runway TV, LLC hereby requests that
26   this Court grant under FRCP 34 the Plaintiff’s Motion Compelling Clear and
27   Concise Responses without Objection to the Plaintiffs Request for Admissions (Set
28   1) in accordance with the Order of this Court on which the objections are Denied.

                                             - 19 –

                 PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 19 of 192 Page ID #:2342



 1
           Additionally, Plaintiff requests that this Court sanction this Defendant
 2
     $3,500 under FRCP Rule 37(5)(A) for the 2 motions filed concurrently.
 3

 4
     Respectfully submitted,
 5

 6
     DATED: September 20, 2019              LAW OFFICES OF WILLIAM D. GOLDSTEIN
 7

 8
                                            By: __________________________
 9
                                                William D. Goldstein
10
                                                Attorney for RUNWAY TV, LLC.
11

12

13

18

15

16

18

18

19

20

21

22

23

24

25

26

27

28



                                            - 20 –

                 PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 20 of 192 Page ID #:2343



 1
                     DECLARATION OF WILLIAM D. GOLDSTEIN
 2
     I, William D. Goldstein, hereby declare:
 3
           1.     I am a resident of Los Angeles County of the state of California.
 4
           2.     I am an attorney at law, duly licensed to practice in the State of
 5
     California and a member in good standing of the Bar of this Court. I am counsel
 6
     for Plaintiff RUNWAY TV, LLC., herein.
 7
           3.     I have personal knowledge of the following facts and if called as a
 8
     witness I could and would testify competently thereto.
 9
           4.     On November 5, 2018 this Court ordered that Defendant respond to
10
     the Discovery Requests served upon her on August 28, 2018.
11
           5.     Defendant served said responses by Email on November 25, 2018.
12
           6.     Each and every Document Request and Request for Admissions was
13   objected to. Not a single document was provided to Plaintiff. As to the Requests
18   for Admission, Defendant did not either Admit or Deny many of the Requests.
15   Additionally, Defendant denied many requests than stated her attorney acting on
16   her behalf took the action in question. At best the responses to the Requests for
18   Admission are either non-responsive or completely ambiguous in that they restate
18   the request then both admit and deny the restatement.
19         7.     Plaintiff thereafter on November 26, 2018, sent a lengthy Meet and
20   Confer letter addressing all of the Document Requests and all but a very few of
21   the Requests for Admission which he believes used appropriate objections. This
22   letter contained the Request, the relevant portion of the Objection and Plaintiff’s
23   argument why the objection was not valid and requesting that the Defendant
24   supplement her responses and provide the documents requested.
25         8.     In this same Email Plaintiff stated: “Please advise this office when
26   we can have the telephonic Meet and Confer discussion required under Local Rule
27   37-1 within the next 10 days.”
28



                                             - 21 –

                 PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 21 of 192 Page ID #:2344



 1
           9.      Defendants response stated, in essence, that she would not amend her
 2
     responses to the discovery served. Additionally, she would only allow for a
 3
     telephonic Meet and Confer unless it was recorded, done in the French language
 4
     with a certified interpreter and a transcript was signed by said interpreter. This,
 5
     despite the Defendants statement that she is fluent in the English language.
 6
           10.     Of information and belief, the only reason for these requirements was
 7
     to inconvenience the Plaintiff and cost the Plaintiff the fees that would be incurred
 8
     for the use of these professionals, which would run into many thousands of
 9
     dollars.
10
           11.     On September 11, 2019 the Court Granted the Plaintiff’s motion to
11
     allow service by Email requiring that the Plaintiff thereafter file a Declaration to
12
     that effect. It also denied the Defendant’s latest Motion to Dismiss as
13   moot.(docket # 91).
18         12.     I did not become aware of this latest ruling until September 16, 2019.
15   Within the Hour the Documents required were sent to the Defendants by Email
16   and shortly thereafter the required declaration was filed (docket # 93).
18         13.     On September 17, 2019 I, on behalf of the Plaintiff, I renewed the
18   Meet and Confer related to Discovery (stayed the previous November) with an
19   Email requesting the promised response to the Plaintiffs 22 page letter of the past
20   November 26, 2019. I also requested that Defendant Eleonora De Gray agree to a
21   Joint declaration should the parties not be able to come to agreement on the
22   discovery issues (attached hereto as Exhibit “M”).
23   14.   Further, of information and belief, the result of such a Meet and Confer
24   conference would be non-productive as the Defendant insists that French and
25   European law, as she understands it, is the defining legal basis for any discovery
26   objections.
27   15.   These communications continued back and forth until the Defendant stated
28   “PLEASE NOTE that I consider this Meet and confer conduction over…”

                                             - 22 –

                   PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 22 of 192 Page ID #:2345



 1
     16.   I have spent in excess of 6 hours researching and responding with Meet and
 2
     Confer letters as well as 4 hours preparing this Notice of Motion and Motion
 3
     along with the accompanying Motion to Compel Clear and Concise Responses to
 4
     the Requests for Admission.
 5
     17.   Of information and belief, I will additionally have to draft and file a Reply
 6
     brief and may have to appear to argue this motion. Both of which will require
 7
     additional time and billing to the Plaintiff not included herein.
 8
     18.    I currently charge my client Runway TV, LLC at the rate of $350.00 per
 9
     hour which is commensurate with the amount charged by other attorneys with my
10
     education and experience located in West Los Angeles.
11
     19.   Plaintiff therefore seeks sanctions in the amount of $3,500.00 to compensate
12
     for the attorney fees the Plaintiff has paid to file this Discovery Motion.
13

18   I declare under penalty of perjury under the laws of the United States and the State
15   of California that the foregoing is true and correct.
16

18   Executed on September 20, 2019 at Los Angeles, California.
18

19                                     __________________________________
20                                     WILLIAM D. GOLDSTEIN, Declarant
21

22

23

24

25

26

27

28



                                             - 23 –

                 PLAINTIFF’S MOTION TO COMPEL RESPONSES WITHOUT OBJECTIONS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 23 of 192 Page ID #:2346




                                                  Exhibit “A”
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 24 of 192 Page ID #:2347



 1   Law Offices of William D. Goldstein
     William D. Goldstein (SBN. 279723)
 2
     4030 Sawtelle Blvd.
 3
     Los Angeles, CA 90066-5408
     Phone: (310) 437-0108
 4
     Facsimile: (323) 372-3589
     Email: wdgoldstein@wdgoldstein.com
 5
     Attorney for PLAINTIFF, RUNWAY TV, LLC.
 6

 7

 8                             UNITED STATES DISTRICT COURT

 9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

10

11

12   RUNWAY TV, LLC., A Delaware Limited )         Case NO.: 2:18-CV-02503-FMO (JCx)
                                         )
13   Liability Company                   )         PLAINTIFF’S REQUESTS FOR THE
                                         )         IDENTIFICATION AND PRODUCTION
18                 Plaintiff,            )         OF DOCUMENTS AND THINGS
                                         )
15           vs.                         )         (Set 1)
                                         )
16   EURL ELEONORA DE GRAY, a French     )
18   Company; ELEONORA DE GRAY           )
                                         )
18    aka ELEONORA CHRISTENSEN, A French )
                                         )
19   citizen And DOES 1-10, INCLUSIVE,   )
                                         )
20               Defendants.             )
                                         )
21   _                                   )
                                         )
22

23

24

25

26

27

28



                                               - 1 –

       PLAINTIFF’S REQUESTS FOR THE IDENTIFICATION AND PRODUCTION OF DOCUMENTS AND THINGS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 25 of 192 Page ID #:2348



 1          Pursuant to Federal Rules of Civil Procedure 34, Plaintiff RUNWAY TV, LLC.
 2   (“Plaintiff” or “Propounding Party”) requests that Defendant ELEONORA DE GRAY
 3   (“Defendant” or “Responding Party”) respond in writing under oath, within thirty (30) days from
 4   the date of service hereof to each of the following requests; and produce the documents and
 5   things designated in the categories below at the law office of William D. Goldstein, 4030
 6   Sawtelle Blvd., Los Angeles, California 90066-5408 or via Email to
 7   wdgoldstein@wdgoldstein.com.
 8                                           INSTRUCTIONS
 9          1.      Unless otherwise specified, the documents called for by these document requests
10   are documents in your possession, custody or control that were applicable, effective, prepared,
11   written, generated, sent, dated, or received at any time since January 1, 2013till the date the
12   responses are served. You are not required to produce Documents that have been produced
13   previously by Defendant in response to Rule 26 initial disclosures.
18          2.      Unless otherwise specified, the documents called for by these document requests
15   are limited in scope to those responsive documents relating to supplying, manufacturing,
16   distributing, selling, or advertising or promoting products in the United States and France or
18   relating to the RUNWAY™ or RUNWAY MAGAZINE™. For any paragraph that requests
18   documents relating to supplying, manufacturing, distributing, selling, or advertising or promoting
19   products in any country other than the United States and France, the documents called for
20   include all documents in your possession, custody or control maintained in both the United
21   States or in any other country.
22          3.      Pursuant to Fed. R. Civ. P. 26(e), you are under a duty seasonably to supplement
23   any response to this request for production for which you learn that the response is in some
24   material respect incomplete or incorrect and if the additional or corrective information has not
25   otherwise been made known to us during the discovery process or in writing.
26          4.      All documents that respond, in whole or in part, to any part or clause of any
27   paragraph of these document requests shall be produced in their entirety, including all
28   attachments and enclosures. Only one copy need be produced of documents that are responsive


                                                    - 2 –

       PLAINTIFF’S REQUESTS FOR THE IDENTIFICATION AND PRODUCTION OF DOCUMENTS AND THINGS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 26 of 192 Page ID #:2349



 1   to more than one paragraph or are identical except for the person to whom it is addressed if you
 2   indicate the persons or group of persons to whom such documents were distributed. Documents
 3   that in their original condition were stapled, clipped, or otherwise fastened together shall be
 4   produced in such form. Please place the documents called for by each paragraph in a separate file
 5   folder or other enclosure marked with Defendant's name and the paragraph to which such
 6   documents respond, and if any document is responsive to more than one request, indicate each
 7   request to which it responds.
 8          5.      In producing documents consisting of electronically stored data said documents
 9   are to be either printed or produced in Adobe’s Portable Data Format (PDF).
10          6.      For any document withheld under a claim of privilege, submit a sworn or certified
11   statement from your counsel or one of your employees in which you identify the document by
12   author, addressee, date, number of pages, and subject matter; specify the nature and basis of the
13   claimed privilege and the paragraph of this demand for documents to which the document is
18   responsive; and identify each person to whom the document or its contents, or any part thereof,
15   has been disclosed.
16          7.      For any document responsive to these document requests which is known to have
18   been destroyed or lost, or is otherwise unavailable, identify each such document by author,
18   addressee, date, number of pages, and subject matter; and explain in detail the events leading to
19   the destruction or loss, or the reason for the unavailability of such document, including the
20   location of such document when last in your possession, custody, or control, and the date and
21   manner of its disposition.
22          8.      In responding to any document request that calls for documents relating to "any
23   person," or "each person," include information or documents relating to you or your company, if
24   applicable.
25          9.      Each document that is written in whole or in part in any language other than
26   English or that contains any marginal notations in such a language must be accompanied by a
27   certified verbatim English language translation, and all existing English language versions, of all
28   such writings and notations.


                                                    - 3 –

       PLAINTIFF’S REQUESTS FOR THE IDENTIFICATION AND PRODUCTION OF DOCUMENTS AND THINGS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 27 of 192 Page ID #:2350



 1          10.     For ease of transport all documents may be converted to Adobe’s Portable Data
 2   Format (PDF) files. Please place the documents called for by each paragraph (Request) in a
 3   separate file or folder marked with Defendant's name and the paragraph (Request) to which such
 4   documents respond, and if any document is responsive to more than one request, indicate each
 5   request to which it responds.
 6                                            DEFINITIONS
 7          Words in CAPITALS in these Requests for Production are defined as follows:
 8          1.      The term “YOU” or “YOUR” shall mean, refer to and include Defendant
 9   ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
10   subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
11   directors, employees, agents, and representatives of the foregoing, and any other PERSON or
12   entity acting or purporting to act on behalf of any of the foregoing.
13          2.      The term “PERSON” or “PERSONS” shall mean, without limitation, human
18   beings, associations, organizations, companies (including ELEONORA DE GRAY),
15   corporations, partnerships, joint ventures, and other legal entities, and the actions of a person
16   shall include the actions of the person's predecessors in interest, successors in interest,
18   subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
18   directors, employees, agents, and representatives of the foregoing, and any other person or entity
19   acting or purporting to act on behalf of any of the foregoing.
20          3.      As used herein, the term "RELATED TO", "RELATING TO" or
21   "CONCERNING" including any and all grammatical derivations thereof, shall mean directly or
22   indirectly referring to, alluding to, responding to, pertaining to, connected with, commenting on,
23   in respect of, about, regarding, discussing, showing, describing, mentioning, memorializing,
24   reflecting, analyzing, constituting, evidencing, modifying, or pertaining to the matters at issue.
25          4.      As used herein, the term “COMMUNICATIONS” shall mean and refer to all
26   forms of communication, whether oral or written, including, without limitation, face to face
27   conversations, telephone conversations, letters, emails, facsimiles, voice mails, text messages,
28   instant messages, and any DOCUMENTS (as defined below) exchanged.


                                                     - 4 –

       PLAINTIFF’S REQUESTS FOR THE IDENTIFICATION AND PRODUCTION OF DOCUMENTS AND THINGS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 28 of 192 Page ID #:2351



 1          5.      As used herein, the term “DOCUMENT” or “DOCUMENTS” means and refers
 2   to all “documents” and other items identified and includes any reduction to tangible form,
 3   including computer or magnetic memory or storage, of communications, information, or data,
 4   including any written, recorded, or filmed graphic matter of any kind or nature, however
 5   produced or reproduced, and including originals, drafts, and non-identical copies, wherever
 6   located. This term includes, but is not limited to, letters, books, contracts, agreements,
 7   correspondence, computer tapes, computer disks, printouts, keypunch cards, memoranda, diaries,
 8   notes, reports, bulletins, printed forms, telegraphic communications, pleadings and other legal
 9   papers, notes, telexes, telegrams, telecopies, facsimile reproductions or “faxes”, factual
10   compilations, electronic data compilations, statistical compilations, plans, diagrams, journals,
11   change orders, studies, surveys, sketches, art work, graphics, checks, ledgers, catalogs,
12   brochures, pamphlets, press releases, advertisements, invoices, minutes, calendars, photographs,
13   microfilm, microfiche, films, personnel files, quotes, stenographic notes, computer discs,
18   telephone records, schedules, bids, voice recordings, transcriptions, lab notebooks, published
15   materials and things similar to the foregoing. This definition applies to all DOCUMENTS on the
16   particular subject in your possession, custody, or control, or that of your attorneys, agents,
18   employees, officers, directors, or representatives, irrespective of who generated, prepared, or
18   signed the DOCUMENTS.
19          6.      The term DOCUMENT includes “ELECTRONIC DATA,” which means the
20   original (or identical duplicate when the original is not available) and any non-identical copies
21   (whether non-identical because of attached comments, hidden text, annotations, marks,
22   transmission information, or alteration of any kind) of information of any kind stored in
23   electronic, magnetic, optical, magneto-optical or digital form. ELECTRONIC DATA includes,
24   but is not limited to, originals and all copies of electronic mail (commonly referred to as “e-
25   mail”); activity listings of electronic mail receipts and/or transmittals; audio or video recordings
26   of any kind; computer programs (whether private, commercial or a work-in-progress);
27   programming notes or instructions; output resulting from the use of any software programs,
28   including word processing DOCUMENTS, spreadsheets, database files, charts, graphs, outlines,


                                                     - 5 –

       PLAINTIFF’S REQUESTS FOR THE IDENTIFICATION AND PRODUCTION OF DOCUMENTS AND THINGS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 29 of 192 Page ID #:2352



 1   drawings or data; voicemail; operating systems; source code of all types; PIF files; batch files;
 2   ASCII files; and all miscellaneous electronic files and/or file fragments regardless of the media
 3   on which they are stored and regardless of whether the data reside in an active file, or file
 4   fragment. ELECTRONIC DATA further includes without limitation any and all information
 5   stored in hard disks, floppy disks, CD-ROM disks, Bernoulli disks and their equivalents,
 6   magnetic tapes of all kind and computer chips. ELECTRONIC DATA also includes the file
 7   folder tabs, containers or labels appended to any storage device containing ELECTRONIC
 8   DATA.
 9          7.      As used herein, the term “ALL DOCUMENTS” means every DOCUMENT as
10   above defined known to YOU and within YOUR possession, custody, or control.
11          8.      As used herein, the terms “and” and “or” are to be construed both conjunctively
12   and disjunctively as necessary to make these Requests inclusive rather than exclusive. The
13   singular form or a noun or pronoun includes the plural form and vice versa.
18          9.      The term “RUNWAY MAGAZINE” means and refers to the print or electronic
15   version of the magazine published by EURL ELEONORA DE GRAY.
16

18                          REQUEST FOR THE IDENTIFICATION AND
18                         PRODUCTION OF DOCUMENTS AND THINGS
19   REQUEST FOR PRODUCTION NO. 1:
20          A copy of each issue of RUNWAY MAGAZINE published by EURL ELEONORA DE
21   GRAY and/or ELEONORA DE GRAY (as described in item 10 of the instructions each
22   magazine requested herein can be produced in Adobe’s Portable Data Format (PDF).) If
23   Publication in English is not available, the French version of the magazine may be produced
24   without English translation.
25   REQUEST FOR PRODUCTION NO. 2:
26          All COMMUNICATIONS between YOU and any party at Runway Magazine, Inc.
27   between January 1, 2012 and the date of response to this request
28



                                                    - 6 –

       PLAINTIFF’S REQUESTS FOR THE IDENTIFICATION AND PRODUCTION OF DOCUMENTS AND THINGS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 30 of 192 Page ID #:2353



 1   REQUEST FOR PRODUCTION NO. 3:
 2          All COMMUNICATIONS between YOU and Vincent Mazzotta between January 1,
 3   2012 and the date of response to this request.
 4   REQUEST FOR PRODUCTION NO. 4:
 5          All COMMUNICATIONS between YOU and James Buccelli between January 1, 2012
 6   and the date of response to this request.
 7   REQUEST FOR PRODUCTION NO. 5:
 8          All DOCUMENTS RELATED TO, RELATING TO or CONCERNING YOUR
 9   application for the Trademark “RUNWAY MAGAZINE” either to the French Government or
10   internationally.
11   REQUEST FOR PRODUCTION NO. 6:
12          All DOCUMENTS RELATED TO, RELATING TO or CONCERNING the Articles of
13   Incorporation (or the French equivalent thereof) for EURL ELEONORA DE GRAY.
18   REQUEST FOR PRODUCTION NO. 7:
15          All DOCUMENTS RELATED TO, RELATING TO or CONCERNING any “Partners”
16   of EURL ELEONORA DE GRAY and/or YOU in the United States referenced in your Answer
18   to the First Amended Complaint (inclusive of, but not limited to, Emails, Contracts, Agreements
18   and proposals between YOU and /or EURL ELEONORA DE GRAY with said partners.)
19   REQUEST FOR PRODUCTION NO. 8:
20          All DOCUMENTS RELATED TO, RELATING TO or CONCERNING your signing of
21   the Licensing Agreement effective April 1, 2014 between YOU and Runway Beauty, Inc.
22   REQUEST FOR PRODUCTION NO. 9:
23          All COMMUNICATIONS between YOU and any third party in which Vincent Mazzotta
24   is mentioned, between January 1, 2012 and the date of response to this request.
25   REQUEST FOR PRODUCTION NO. 10:
26          All COMMUNICATIONS between YOU and any third party in which James Buccelli is
27   mentioned, between January 1, 2012 and the date of response to this request.
28



                                                      - 7 –

       PLAINTIFF’S REQUESTS FOR THE IDENTIFICATION AND PRODUCTION OF DOCUMENTS AND THINGS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 31 of 192 Page ID #:2354



 1   REQUEST FOR PRODUCTION NO. 11:
 2          All DOCUMENTS RELATED TO, RELATING TO or CONCERNING the shipment of
 3   RUNWAY MAGAZINE to vendors, distributors and/or wholesalers between January 1, 2012
 4   and the date of response to this request.
 5   REQUEST FOR PRODUCTION NO. 12:
 6          All DOCUMENTS RELATED TO, RELATING TO or CONCERNING
 7   COMMUNICATIONS between YOU and vendors of RUNWAY MAGAZINE RELATED TO,
 8   RELATING TO or CONCERNING the RUNWAY™ held by Runway TV, LLC between
 9   January 1, 2012 and the date of response to this request.
10   REQUEST FOR PRODUCTION NO. 13:
11   All DOCUMENTS RELATED TO, RELATING TO or CONCERNING COMMUNICATIONS
12   between YOU and GOOGLE, Inc (inclusive of their online Store) concerning the RUNWAY™
13   held by Runway TV, LLC between January 1, 2012 and the date of response to this request.
18   REQUEST FOR PRODUCTION NO. 14:
15   All DOCUMENTS RELATED TO, RELATING TO or CONCERNING COMMUNICATIONS
16   between YOU and APPLE, Inc. (inclusive of their online store) concerning the RUNWAY™
18   held by Runway TV, LLC between January 1, 2012 and the date of response to this request.
18

19   Dated: August 28, 2018
20                                                               Law Offices of William D.
                                                                                        D. Goldstein
21                                                               ______________________________
                                                                 _______
                                                                 __
                                                                 ____ ____
                                                                         _ ____
                                                                           __ ___
                                                                           __   ____
                                                                                 _ ___
                                                                                     ____
                                                                                     ____
                                                                                       _ _______
                                                                                              ____
                                                                                                 __
                                                                                                 ____
                                                                                                 __
22                                                               William D.
                                                                         D Goldstein
23

24

25

26

27

28



                                                   - 8 –

       PLAINTIFF’S REQUESTS FOR THE IDENTIFICATION AND PRODUCTION OF DOCUMENTS AND THINGS
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 32 of 192 Page ID #:2355
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 33 of 192 Page ID #:2356




                                                  Exhibit “B”
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 34 of 192 Page ID #:2357



 1   Law Offices of William D. Goldstein
     William D. Goldstein (SBN. 279723)
 2
     4030 Sawtelle Blvd.
 3
     Los Angeles, CA 90066-5408
     Phone: (310) 437-0108
 4
     Facsimile: (323) 372-3589
     Email: wdgoldstein@wdgoldstein.com
 5
     Attorney for PLAINTIFF, RUNWAY TV, LLC.
 6

 7

 8                             UNITED STATES DISTRICT COURT

 9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

10

11

12   RUNWAY TV, LLC., A Delaware Limited )          Case NO.: 2:18-CV-02503-FMO (JCx)
                                         )
13   Liability Company                   )          PLAINTIFF’S REQUESTS FOR
                                         )          ADMISSION TO ELEONORA DE
18                 Plaintiff,            )          GRAY
                                         )
15           vs.                         )          (Set 1)
                                         )
16   EURL ELEONORA DE GRAY, a French     )
18   Company; ELEONORA DE GRAY           )
                                         )
18    aka ELEONORA CHRISTENSEN, A French )
                                         )
19   citizen And DOES 1-10, INCLUSIVE,   )
                                         )
20               Defendants.             )
                                         )
21   _                                   )
                                         )
22

23

24

25

26

27

28



                                                - 1 –

                           PLAINTIFF’S REQUESTS FOR ADMISSION – (SET 1)
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 35 of 192 Page ID #:2358



 1            PLAINTIFFS' FIRST REQUESTS FOR ADMISSIONS TO DEFENDANT
 2

 3    PROPOUNDING PARTY: RUNWAY TV., LLC.
 4
      RESPONDING PARTY: ELEONORA DE GRAY
 5
        Plaintiff RUNWAY TV, LLC (hereafter "PLAINTIFF”), by their attorneys, the Law Offices
 6
     of William D. Goldstein, hereby request, pursuant to Rule 36 of the Federal Rules of Civil
 7
     Procedure, that Defendant ELEONORA DE GRAY (hereafter “DE GRAY”), admit the truth of
 8
     the matters set forth in these Requests for Admission (the "REQUESTS").
 9
        The following definitions and instructions shall apply to each and every part of this Request
10
     as if fully set forth therein. law office of William D. Goldstein, 4030 Sawtelle Blvd., Los
11
     Angeles, California 90066-5408 or via Email to wdgoldstein@wdgoldstein.com.
12
                                              INSTRUCTIONS
13
        1. Each matter is admitted unless, within 30 days after service of this Request, DE GRAY
18
     serves a written answer or objection addressed to the matter, signed by DE GRAY.
15
        2. If objection is made, the reasons therefor shall be stated. The answer shall specifically
16
     deny the matter or set forth in detail the reasons why DE GRAY cannot truthfully admit or deny
18
     the matter. A denial shall fairly meet the substance of the requested admission, and when good
18
     faith requires that DE GRAY qualify an answer or deny only a part of the matter of which an
19
     admission is requested, it shall specify so much of it as is true and qualify or deny the remainder.
20
        3. DE GRAY may not give lack of information or knowledge as a reason for failure to
21
     admit or deny unless it states that it has made reasonable inquiry and that information known or
22
     readily obtainable by it is insufficient to enable it to admit or deny.
23
        4. If DE GRAY does not admit an item, it shall:
24
                a. Produce to Plaintiff all documents concerning the requested admission in its
25
        possession, custody or control;
26
                b. State, with particularity, the factual basis upon which its response is based;
27
                c. Identify each and every person with knowledge of the requested admission.
28



                                                     - 2 –

                               PLAINTIFF’S REQUESTS FOR ADMISSION – (SET 1)
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 36 of 192 Page ID #:2359



 1       5. These requests for admissions are continuing. DE GRAY shall promptly supply by way
 2   of supplemental responses any and all additional information that may become known prior to
 3   any hearing in or trial of this action.
 4                                             DEFINITIONS
 5       Words in CAPITALS in these Requests for Admission are defined as follows:
 6       1. The term “YOU” or “YOUR” shall mean, refer to and include Defendant ELEONORA
 7   DE GRAY, and any and all of her predecessors in interest, successors in interest, subsidiaries,
 8   affiliated entities, joint venturers, members, partners, assignors, licensees, officers, directors,
 9   employees, agents, and representatives of the foregoing, and any other PERSON or entity acting
10   or purporting to act on behalf of any of the foregoing.
11       2. The term “PERSON” or “PERSONS” shall mean, without limitation, human beings,
12   associations, organizations, companies (including ELEONORA DE GRAY), corporations,
13   partnerships, joint ventures, and other legal entities, and the actions of a person shall include the
18   actions of the person's predecessors in interest, successors in interest, subsidiaries, affiliated
15   entities, joint venturers, members, partners, assignors, licensees, officers, directors, employees,
16   agents, and representatives of the foregoing, and any other person or entity acting or purporting
18   to act on behalf of any of the foregoing.
18       3. As used herein, the term "RELATED TO", "RELATING TO" or "CONCERNING"
19   including any and all grammatical derivations thereof, shall mean directly or indirectly referring
20   to, alluding to, responding to, pertaining to, connected with, commenting on, in respect of, about,
21   regarding, discussing, showing, describing, mentioning, memorializing, reflecting, analyzing,
22   constituting, evidencing, modifying, or pertaining to the matters at issue.
23       4. As used herein, the term “COMMUNICATIONS” shall mean and refer to all forms of
24   communication, whether oral or written, including, without limitation, face to face conversations,
25   telephone conversations, letters, emails, facsimiles, voice mails, text messages, instant messages,
26   and any DOCUMENTS (as defined below) exchanged.
27       5. As used herein, the term “DOCUMENT” or “DOCUMENTS” means and refers to all
28   “documents” and other items identified and includes any reduction to tangible form, including


                                                      - 3 –

                               PLAINTIFF’S REQUESTS FOR ADMISSION – (SET 1)
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 37 of 192 Page ID #:2360



 1   computer or magnetic memory or storage, of communications, information, or data, including
 2   any written, recorded, or filmed graphic matter of any kind or nature, however produced or
 3   reproduced, and including originals, drafts, and non-identical copies, wherever located. This term
 4   includes, but is not limited to, letters, books, contracts, agreements, correspondence, computer
 5   tapes, computer disks, printouts, keypunch cards, memoranda, diaries, notes, reports, bulletins,
 6   printed forms, telegraphic communications, pleadings and other legal papers, notes, telexes,
 7   telegrams, telecopies, facsimile reproductions or “faxes”, factual compilations, electronic data
 8   compilations, statistical compilations, plans, diagrams, journals, change orders, studies, surveys,
 9   sketches, art work, graphics, checks, ledgers, catalogs, brochures, pamphlets, press releases,
10   advertisements, invoices, minutes, calendars, photographs, microfilm, microfiche, films,
11   personnel files, quotes, stenographic notes, computer discs, telephone records, schedules, bids,
12   voice recordings, transcriptions, lab notebooks, published materials and things similar to the
13   foregoing. This definition applies to all DOCUMENTS on the particular subject in your
18   possession, custody, or control, or that of your attorneys, agents, employees, officers, directors,
15   or representatives, irrespective of who generated, prepared, or signed the DOCUMENTS.
16      6. The term DOCUMENT includes “ELECTRONIC DATA,” which means the original (or
18   identical duplicate when the original is not available) and any non-identical copies (whether non-
18   identical because of attached comments, hidden text, annotations, marks, transmission
19   information, or alteration of any kind) of information of any kind stored in electronic, magnetic,
20   optical, magneto-optical or digital form. ELECTRONIC DATA includes, but is not limited to,
21   originals and all copies of electronic mail (commonly referred to as “e-mail”); activity listings of
22   electronic mail receipts and/or transmittals; audio or video recordings of any kind; computer
23   programs (whether private, commercial or a work-in-progress); programming notes or
24   instructions; output resulting from the use of any software programs, including word processing
25   DOCUMENTS, spreadsheets, database files, charts, graphs, outlines, drawings or data;
26   voicemail; operating systems; source code of all types; PIF files; batch files; ASCII files; and all
27   miscellaneous electronic files and/or file fragments regardless of the media on which they are
28   stored and regardless of whether the data reside in an active file, or file fragment. ELECTRONIC


                                                    - 4 –

                              PLAINTIFF’S REQUESTS FOR ADMISSION – (SET 1)
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 38 of 192 Page ID #:2361



 1   DATA further includes without limitation any and all information stored in hard disks, floppy
 2   disks, CD-ROM disks, Bernoulli disks and their equivalents, magnetic tapes of all kind and
 3   computer chips. ELECTRONIC DATA also includes the file folder tabs, containers or labels
 4   appended to any storage device containing ELECTRONIC DATA.
 5        7. As used herein, the term “ALL DOCUMENTS” means every DOCUMENT as above
 6   defined known to YOU and within YOUR possession, custody, or control.
 7        8. As used herein, the terms “and” and “or” are to be construed both conjunctively and
 8   disjunctively as necessary to make these Requests inclusive rather than exclusive. The singular
 9   form or a noun or pronoun includes the plural form and vice versa.
10        9. The term “RUNWAY MAGAZINE” means and refers to the print or electronic version
11   of the magazine published by EURL ELEONORA DE GRAY.
12

13                                   REQUEST FOR ADMISSIONS
18   REQUEST FOR ADMISSION NO. 1:
15           Admit that YOU are the sole shareholder of EURL ELEONORA DE GRAY.
16   REQUEST FOR ADMISSION NO. 2:
18           Admit that Plaintiff s first, second and third claims lie under the Trademark Act of 1946
18   (the Lanham Act), as amended by the Federal Trademark Dilution Act of 1995 (15 U.S.C. §§
19   1051, et seq. This Court has jurisdiction over such claims pursuant to 28 U.S.C. §§ 1331 (federal
20   question) and 28 U.S.C. §§ 1338(a) and (b).
21   REQUEST FOR ADMISSION NO. 3:
22           Admit that This Court has supplemental jurisdiction over the state law claims under 28
23   U.S.C. § 1367(a).
24   REQUEST FOR ADMISSION NO. 4:
25           Admit that YOU filed three (3) Requests (motion) after the filing of the Motion to
26   Dismiss for Lack of Jurisdiction.
27   //
28   //


                                                   - 5 –

                              PLAINTIFF’S REQUESTS FOR ADMISSION – (SET 1)
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 39 of 192 Page ID #:2362



 1   REQUEST FOR ADMISSION NO. 5:
 2          Admit that Defendant EURL Eleonora De Gray advertised on its website that it is an
 3   American-French magazine produced by Media Group ELEONORA DE GRAY with offices
 4   based in Paris (France), New York and Los Angeles. as of July 30, 2018.
 5   REQUEST FOR ADMISSION NO. 6:
 6          Admit that Defendant Eleonora De Gray has placed herself under the jurisdiction of this
 7   Court by the filing an answer to the Complaint.
 8   REQUEST FOR ADMISSION NO. 7:
 9          Admit that You signed a license agreement to use the name RUNWAY™ for a magazine
10   dated April 1st, 2014.
11   REQUEST FOR ADMISSION NO. 8:
12          Admit that the signed license agreement to use the name RUNWAY™ for a magazine
13   dated April 1st, 2014 lists as the governing law in paragraph 15 Business Terms/Schedule, United
18   States of America.
15   REQUEST FOR ADMISSION NO. 8:
16          Admit that the on P:1 L:22-23 of the Notice of Motion and Motion to Dismiss under
18   FRCP Rule 12(b)(2) for Lack of Jurisdiction YOU state YOU have “Partners” in the United
18   States of America.
19   REQUEST FOR ADMISSION NO. 9:
20          Admit that a partnership is a for-profit business association of two or more persons.
21   REQUEST FOR ADMISSION NO. 10:
22          Admit that a partnership is a legal entity classified in both the United States and the State
23   of California as either a General Partnership of a Limited Partnership.
24   REQUEST FOR ADMISSION NO. 11:
25          Admit that a partnership is a consideration under Federal Law which prohibits a Diversity
26   Action in any Federal Court of a State in which a Plaintiff and Defendant partner are both
27   residents.
28   //


                                                    - 6 –

                              PLAINTIFF’S REQUESTS FOR ADMISSION – (SET 1)
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 40 of 192 Page ID #:2363



 1   REQUEST FOR ADMISSION NO. 12:
 2           Admit that Runway TV, LLC owns the trademark RUNWAY™ for use with a magazine
 3   or publication.
 4   REQUEST FOR ADMISSION NO. 13:
 5           Admit that in an Email dated March 18, 2014 addressed to Michael Cohen YOU stated
 6   ““I strongly believe that international trademarks RUNWAY / RUNWAY MAGAZINE belongs
 7   to Vincent. and I strongly believe that we should do everything possible to get USA trademark
 8   also back to Vincent. Otherwise scam and fraud will never stop.”
 9   REQUEST FOR ADMISSION NO. 14:
10           Admit that YOU advertise the designation "RUNWAY MAGAZINE" on several Internet
11   websites, such as Youtube.com, Facebook.com Twitter.com, as well as various blogs.
12   REQUEST FOR ADMISSION NO. 15:
13           Admit that YOU registered in France trademarks Runway France / Runway Magazine
18   France after such time as YOU became aware that the license to use the RUNWAY Magazine™
15   obtained from James Buccelli in February 2012 was fraudulent.
16   REQUEST FOR ADMISSION NO. 16:
18           Admit that the Runway Magazine™ was owned by Runway Beauty, Inc. in February
18   2012.
19   REQUEST FOR ADMISSION NO. 17:
20           Admit that the Runway Magazine™ was owned by Runway Beauty, Inc. in February
21   2012.
22   REQUEST FOR ADMISSION NO. 18:
23           Admit that YOU have sent Emails to parties that do business with Runway TV, LLC that
24   the Plaintiff company is not the real RUNWAY.
25   REQUEST FOR ADMISSION NO. 19:
26           Admit that YOU have sent Emails Apple, Inc. related to the Plaintiff’s App(s) to “Please
27   remove these applications and ban the user permanently or ban these applications from all other
28   territories except USA.”


                                                     - 7 –

                                PLAINTIFF’S REQUESTS FOR ADMISSION – (SET 1)
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 41 of 192 Page ID #:2364



 1

 2   REQUEST FOR ADMISSION NO. 20:
 3          Admit that YOU have sent Emails Google.Com related to the Plaintiff’s App(s) to
 4   “Please remove these applications and ban the user permanently or ban these applications from
 5   all other territories except USA.”
 6   REQUEST FOR ADMISSION NO. 21:
 7          Admit that YOU have sent Email to GoDaddy.Com related to the Plaintiff’s RUNWAY
 8   FRANCE website that it infringes on the RUNWAY MAGAZINE FRANCE intellectual
 9   property.
10   REQUEST FOR ADMISSION NO. 22:
11          Admit that YOU have sent Email to LinkedIn related to the Plaintiff’s RUNWAY ™ that
12   it infringes on the RUNWAY MAGAZINE intellectual property.
13   REQUEST FOR ADMISSION NO. 23:
18          Admit that YOU have sent Email Instagram related to the Plaintiff’s RUNWAY ™ that it
15   infringes on the RUNWAY MAGAZINE intellectual property.
16   REQUEST FOR ADMISSION NO. 24:
18          Admit that YOU have sent Email mikeyaandmproducPons@gmail.com related to the
18   Plaintiff’s RUNWAY ™ that it infringes on the RUNWAY MAGAZINE intellectual property.
19   REQUEST FOR ADMISSION NO. 25:
20          Admit that YOU have sent Email Julia Perry Style related to the Plaintiff’s RUNWAY ™
21   that it infringes on the RUNWAY MAGAZINE intellectual property.
22   REQUEST FOR ADMISSION NO. 26:
23          Admit that YOU have sent Email Dylan Perlot related to the Plaintiff’s RUNWAY ™
24   that it infringes on the RUNWAY MAGAZINE intellectual property.
25   REQUEST FOR ADMISSION NO. 27:
26          Admit that YOU have sent Email Jifff.com related to the Plaintiff’s RUNWAY ™ that it
27   infringes on the RUNWAY MAGAZINE intellectual property.
28



                                                   - 8 –

                              PLAINTIFF’S REQUESTS FOR ADMISSION – (SET 1)
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 42 of 192 Page ID #:2365



 1   REQUEST FOR ADMISSION NO. 28:
 2          Admit that any rights granted YOU in the contract between the parties have been
 3   extinguished by YOUR failure to pay the required licensing fees.
 4   REQUEST FOR ADMISSION NO. 29:
 5          Admit that YOU attempted to breach the Attorney Work Product privilege by requesting
 6   documents from L.A. Translations.
 7

 8   Dated: August 28, 2018
 9                                                           Law Offices of William
                                                                                  m D. Goldstein
                                                                                    D. Go
                                                                                       G
                                                                                       Gold
                                                                                        old
                                                                                          ldst
                                                                                            s ein
10                                                           ______________________________
                                                             _____
                                                                _____________________________
                                                                                           ____
11                                                           William
                                                             Willi D.D Goldstein
                                                                       G ld i
12

13

18

15

16

18

18

19

20

21

22

23

24

25

26

27

28



                                                   - 9 –

                              PLAINTIFF’S REQUESTS FOR ADMISSION – (SET 1)
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 43 of 192 Page ID #:2366
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 44 of 192 Page ID #:2367




                                                  Exhibit “C”
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 45 of 192 Page ID #:2368



      
        
     
 
         !! "#
 
     $%&'&()*+%,-*$%&'./$

 

 
                                 000000
 
                               000
 

 


                                                      =   %7. >828  84?@=

     1 02.2&/34%5533%                =
                                                      =   0A

                                             '%&3&((=   B000
                                                      =   00

            67.                                       =   040
                                                          0C0
       +//&3&5 =                   00D
                                                    =
     )82                  =
                                                    =
                                        =
                          ()%3=

                                                      =

     9                                                =

                                                      =
                                                      =
   :+3%'&(+&%3+%'&73+&/3:+3         =
     (++&*:)*%/;:'&'<&%            =
    +7&)&*:)*+%)4.'*:&              =
                                                      =
                                                     =















                                                      

               0AB000
                 00040
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 46 of 192 Page ID #:2369




    :+7:%33%)&%//+)%/E&3)+%':'7(&6&'+/):+ !8 #
      ?F()%3F=+G,+7H)7%)G</373+;:73(
    '%&3&(((+&)3&(&/%3&%)H+):/3&()/:$373?I+;:73J=%7
    (''E7
 

                                             
 

    0(''E&* +%'7H77%)G</3&7%++G,&/+H+%3)&3
     %/(3H/&(&/7H77%73:*73(+3&(:''.()%3G</37
    *+%'',3%''('%&3&((L7;:737(++):/3&(/:$37%)3&/3
   +):/3()%3%/(3(''E&**+:)7
      . ()%37G</3733+;:73&&373&+3,3*+:)3%3&36&'%37
         )+%':'7(&6&'+/):+:' !?G=?=:' !?G=? =?=:' !
         ?G=?=+;:73('%&3&((&73+'6%33%,H%+3,A7/'%&$3
         H+H+3&%'33)7(3/%7'%&3&((7M73G3%&H+&6&'*)
         )/:$3%3&%)/3%/3&(+$%3&+*%+)&*G:7&77%/3&6&3&7:37&)
         (3&3)3%37%)3%3%+G,)3<:+&7)&/3&(3%'&(+&%
         %) +7M&(+$%3&+)/:$377:G</33:+H%&H+&6%/,
          '%E7%)+/%')%E.>8 >?:',!">=.
        . 0+7H77%)G</3&7+('/3',3/:++373%3(()%3A7
         ME')*:)+73%)&*%)G'&(E&3+7H/333$%33+7%))+77)&
         3+;:73.0+7H77%)G</3&7+&%+&3+&3))%7+
         7%''&%,E%,G)$)%%)$&77&++H+73%3&3%3/+3%&
         )/:$37@&73+)3@&73.1&3:3G'&*%3&*&37'(3)7
         ()%3+7+673+&*33$)&(,7:HH'$3%$)++6&7&37
         +7H77%)G</3&7E&3H+3&3&(+$%3&%7&3$%,7:G7;:3',
         )&7/6+.

                                                

              0AB000
                00040
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 47 of 192 Page ID #:2370




      . ,%*+$3G,()%33H+):/)/:$37&7$%)E&3:3E%&6+
        (%,G</3&7%)&73&3))3/73&3:3%+H+73%3&3%3%,
        7:/)/:$37@&73G:3',3%3()%3E&''H+):/E%3)/:$37
        )@&73%+&+H7777&/:73),%)/3+'%+(:)3+:*%
        +%7%G',)&'&*37%+/%+3/:++3',7:G</33%HH'&/%G'H+&6&'*7
        ?&/':)&*3%33+,8/'&3H+&6&'*=%))3/73&3:33+&%'
        H+H%+%3&+3+E+MH+):/3$%3+&%'7.
     #. ()%3G</3733+;:73%)3%/(&&3&73+:/3&
         3++*%3+,%)/:$3;:73/3%&)3+&33@333%3
        3,H:+H+33&$H7%,G'&*%3&7:H()%33%3@/)3
       7/H(H+$&77&G')&7/6+,:)+3)+%':'7(&6&'+/):+
       %)%HH'&/%G'+:'7.()%3E&''+7H)33+;:73&%//+)%/
       E&3&37G'&*%3&7:)+3%HH'&/%G'+:'7.
    . ()%3G</3733+;:73%)3%/(&&3&73+:/3&
       3++*%3+,%)/:$3;:73/3%&)3+&33@333%3
       3,%+%=6+'%HH&*/:$:'%3&6):H'&/%3&6:):',G:+)7$+
       HH+77&6G=%+6%*:%)%$G&*::7%) +/=3+%7%G',/%'/:'%3)
       3'%)33)&7/6+,(+'6%36&)/.
     !. ()%3G</3733+;:73%)3%/(&&3&73+:/3&
        3++*%3+,%)/:$3;:73/3%&)3+&33@333%3
       3,H:+H+33/%''(+3H+):/3&()/:$373&()%3
       H7777&/:73),+/3+'+3%3/%3G%7/+3%&)G,$%7(%
       +%7%G')&'&*3*)(%&3+6&E()/:$37%6&*%&)3&(&%G'
       +'%3&7&H3%)&;:&+,(H+7''&M',3%6ME')*
       //+&*37:G</3$%33+(3+;:73.1+()%3%773%3)&3
       E&''H+):/+7H7&6)/:$37?&/':)&*%,'/3+&/)/:$37=&3
       E&''/):/3%+%7%G'7%+/(+7:/)/:$37&4),A7H7777&

                                              

           0AB000
             00040
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 48 of 192 Page ID #:2371




        /:73),+/3+'&3+%)&',%//77&G''/%3&7E+7:/)/:$37
        $%,+%7%G',GMH3%)E&''H+):/378H+&6&'*)+7H7&6
        )/:$37?7:G</333G</3&773(+3+&=3%3&3%7G%G'3
        '/%3%(3+7:/7%+/.
     . ()%3G</3733+;:73%)3%/(&&3&73+:/3&
        3++*%3+,%)/:$3;:73/3%&)3+&33@333%3
        3,H:+H+33/%''(+3H+):/3&()/:$37H+3/3)G,3
        %33+,8/'&3H+&6&'*3E+M8H+):/3)/3+&3&+73$)$3
         <:+%'&73A7H+&6&'*3+/<:+%'&73A77&')'%E3%'&(+&%3%3
        <:+%'&73A77&')'%E/$$'%E;:%'&(&)+H+3+A7H+&6&'*/$$
       '%EH+&6&'*7H+3/3&*<:+%'&73A7+/+)7(+$)&7/'7:+3+&*33
       H+&6%/,:)+3%'&(+&%73&3:3&+%,3++&*33H+&6%/,+%,
       3+%HH'&/%G'H+&6&'*)/3+&'%E++:'H+3/3&*&(+$%3&(+$
       )&7/'7:+.3&*/3%&)+&&7&3))3G+7%''&%,E%,
       G/73+:)%7%E%&6+(%,%HH'&/%G'H+&6&'*)/3+&'%E++:'
       H+3/3&*&(+$%3&(+$)&7/'7:+.
    >. ()%3G</3733+;:73%)3%/(&&3&73+:/3&
       3++*%3+,%)/:$3;:73/3%&)3+&33@333%3
        3,H:+H+33/%''(+&(+$%3&+)/:$37%=%'+%),&3
        H7777&('%&3&((/:73),+/3+'G=H:G'&/',%6%&'%G'H
       7:+/7+/=$+%HH+H+&%3',G3%&)(+$3+7:+/7.
    ". ()%3G</3733+;:73%)3%/(&&3&73+:/3&
       3++*%3+,%)/:$3;:73/3%&)3+&33@333%3
       3,H:+H+33/%''(+3H+):/3&()/:$37E&3)&7+*%+)3&+73
       7&$$+/+/%E+&+737&$$+/3+%3&%'%E.
    .()%3G</3733+;:73%)3%/(&&3&73+:/3&
       3++*%3+,%)/:$3;:73/3%&)3+&33@333%3

                                              

           0AB000
             00040
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 49 of 192 Page ID #:2372




        3,H:+H+33/%''(+3H+):/3&()/:$37E&3)&7+*%+)3%3
        '&/7/3+%/3H+73)G,'%&3&(((+'&3&*%3&&3&7:+3)%3)H+&'
         #:3&':  #%))/:$37+;:73)G,3&7+;:73
        )$%))(+$%:%+,  E&3:3%,'*%'*+:)7.
     .()%3G</3733+;:73%)3%/(&&3&73+:/3&
        3++*%3+,%)/:$3;:73/3%&)3+&33@333%3
        3,H:+H+33/%''(+3H+):/3&()/:$37E&3)&7+*%+)3%3
        '&3&*%3&('&/7/3+%/3H+73)G,'%&3&(((+'&3&*%3&&3&7:+3
         &7,33G)3+$&)%7%//+)&*3H+73)G,()%36&)/
        7:G$&33)E&343&3&7$&77N%'33+(()%3A7+/33+,
       /(&+$&*3%33&7'&/7/3+%/36+G/%$'*&3%7&3E%7%3(&+7373
       3+E&3:37&*%3:+('%&3&((&H+&' %)',%(3+$%&'
       @/%*%7G+733+E&37&*%3:+('%&3&((&H+&' .





























                                              

           0AB000
             00040
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 50 of 192 Page ID #:2373




                                            
 

    00.
    /H,(%/&77:(1 4 OH:G'&7)G,
      %) +  ?%7)7/+&G)&&3$
    (3&73+:/3&7%/$%*%5&+;:73)+&/%GH+):/)&)GL7
    +3%G'%3%+$%3?=.=(:G'&/%3&&*'&7&73%6%&'%G'3+/
    6+7&(3$%*%5&$%,GH+):/)E&3:3*'&73+%7'%3&.
     
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7
   3++*%3+,3*+:)73%3&37M73G3%&/H,+&*3)$%3+&%'7%) +
   &(+$%3&+*%+)&*G:7&77%/3&6&3&73%33MH'%/:37&)(3&3)
   3%37%)3%3%+G,)3<:+&7)&/3&(3%'&(+&%%7&3%7G%'+%),
   )3+$&)G,3&7:+3.  &7(76+%'
   G:7&773&3&7(()%3(:))&G+:%+,  %)3+'%3)3%,
   /''%G+%3&E&3'%&3&((+&7%77/&%34+B://''&/6&/3)(+&)3&3,3(3
   (',%)(+%:)&4%+/ !.))&3&%'',(&+73&77:7(1 1 
    1 4 O)%3)""3+'%3)3%,/''%G+%3&E&3'%&3&((
    +&7%77/&%34+B://''&.0&77:(1 4 OH+):/)&
   /''%G+%3&E&3'%&3&((&H+&' #'%&3&((%7%'+%),&&7H7777&
   ?H)(=E&/'%+*',)&73+&G:3)%)%)6+3&7)6%(3+)3+$&%3&(3
   /3+%/3%)E&3)&7+*%+)3((&/&%')$%)(()%33%3%7%,
   +&*373/3&:3)&73+&G:3 :7 %)6+3&7/H,+&*3)$%3+&%'7(()%3.
   0&7 #&77:%73G$)&(&).





                                                

             0AB000
               00040
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 51 of 192 Page ID #:2374




    00. 
    ''440G3E %)%,H%+3,%3:E%,4%*%5&/.
    G3E%:%+,  %)3)%3(+7H733&7+;:73.
    
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
    &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7
    3++*%3+,3*+:)73%3&37M73G3%&H+&6&'*))/:$3%3&%)
    /3%/3&(+$%3&+*%+)&*G:7&77%/3&6&3&7:37&)(3&3)3%37%)
     3%3%+G,)3<:+&7)&/3&(3%'&(+&%%) +7M&(+$%3&+
    )/:$377:G</33:+H%&H+&6%/,'%E7%)+/%')%E
   .>8 >?:',!">=.;:73))/:$37%+H+&6&'*(7*'7
   '&/H%+3$3&&673&*%3&('%&3&((A7H%+3+4+B://''&/%7+'%3)
   3&)3&3,3(3(',%)(+%:).;:73))/:$37/%G',H+):/)E&3
   7H/&(&/:+3+)+%))+77)3 040
   44422 0%)
   2D2! #,'$%+62%:,7"#.


   00. 
    ''440G3E %)2&/34%5533%G3E%:%+,
      %)3)%3(+7H733&7+;:73.
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7
   3++*%3+,3*+:)73%3&33)$%))/$$:&/%3&)73@&73+
   '*+&3H7&3&(()%3.&+73/$$:&/%3&G3E'%&3&((%)
   ()%3%//+:)&%:%+, #.$$:&/%3&%6%&'%G'3()%3
   G3E'%&3&((%)()%3(+$%:%+, #%'+%),%7G7:G$&33)3

                                               

             0AB000
               00040
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 52 of 192 Page ID #:2375




    3&7:+3G,'%&3&((+()%3%)3+;:73&7A3/'%+%7%''%6%&'%G'
    $%&'7%'+%),GH+73)&H)((&'733&7:+3.
 

    00.#
    ''440G3E %)%$7B://''&G3E%:%+,
      %)3)%3(+7H733&7+;:73.
    
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
     &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7
    3++*%3+,3*+:)73%3&37M73G3%&H+&6&'*))/:$3%3&%)
   /3%/3&(+$%3&+*%+)&*G:7&77%/3&6&3&7:37&)(3&3)3%37%)
   3%3%+G,)3<:+&7)&/3&(3%'&(+&%%) +7M&(+$%3&+
   )/:$377:G</33:+H%&H+&6%/,'%E7%)+/%')%E
   .>8 >?:',!">=.;:73))/:$37%+H+&6&'*(7*'7
   '&/H%+3$3&&673&*%3&('%&3&((A7H%+3+4+B://''&/%7+'%3)
   3&)3&3,3(3(',%)(+%:).;:73))/:$37/%G',H+):/)E&3
   7H/&(&/:+3+)+%))+77)3 040
   44422 0%)
    2D2! #,'$%+62%:,7"#.


   00.
   ''40000 0+  
   %HH'&/%3&(+30+%)$%+MI1 4 OJ&3+33+/
    6+$3+&3+%3&%'',.
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7

                                                

              0AB000
                00040
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 53 of 192 Page ID #:2376




    3++*%3+,3*+:)73%3&37M73G3%&H+&6&'*))/:$3%3&%)
    /3%/3&(+$%3&+*%+)&*G:7&77%/3&6&3&7:37&)(3&3)3%37%)
    3%3%+G,)3<:+&7)&/3&(3%'&(+&%.0)/:$37 /H,+&*3)
    $%3+&%'7H+73)%33+*&73+%3&(3+%)$%+M71 4 O&
      %++'%3)3H+):/3& &3+%3&%'H+):/3&7&/ .))&3&%'',
    ()%3%'+%),H+6&))33&7:+3&)&((+3(&'&*7'&M73%''H:G'&/
    %//:377/&%'$)&%3E+M7E+)H+773E&33+H&3+73+'%3)33
    00044)%3 .


    00.!
   ''40000 0+ 3
   +3&/'7(/+H+%3&?+3+/;:&6%'33+(=(+
     .
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7
   3++*%3+,3*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',
   G:+)7$%):77:)($)3+$7.))&3&%'',G:7&77'&/7(+
      %7G%'+%),H+6&))&)&((+3(&'&*7G,
    ()%3.


   00.
   ''40000 0+ %,
   I%+3+7J(  %) + &3&3)3%37
   +(+/)&,:+7E+33&+73$))$H'%&3?&/':7&6(G:33
   '&$&3)3$%&'73+%/37*+$37%)H+H7%'7G3E %) +
     E&37%&)H%+3+7.=




             0AB000
               00040
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 54 of 192 Page ID #:2377




    
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
    &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7
    3++*%3+,3*+:)73%3&37M73G3%&H+&6&'*))/:$3%3&%)
    /3%/3&(+$%3&+*%+)&*G:7&77%/3&6&3&7:37&)(3&3)3%37%)
    3%3%+G,)3<:+&7)&/3&(3%'&(+&%%) +7M&(+$%3&+
    )/:$377:G</33:+H%&H+&6%/,'%E7%)+/%')%E
    .>8 >?:',!">=.


    00.>
   ''40000 0+ ,:+
   7&*&*(3&/7&**+$3((/3&6H+&' #G3E %)
   :E%,B%:3,/.
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7
   3++*%3+,3*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',
   G:+)7$%):77:)($)3+$7.))&3&%'',%''%))&3&%'/$$:&/%3&
    %7G%'+%),7:G$&33)33&7:+3G,'%&3&((+()%3&)&((+3
    (&'&*7.


   00."
   ''440G3E %)%,3&+)H%+3,&E&/2&/3
   4%5533%&7$3&)G3E%:%+,  %)3)%3(+7H733&7
   +;:73.
   



                                               

                 0AB000
                   00040
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 55 of 192 Page ID #:2378




    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
    &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7
    3++*%3+,3*+:)73%3&33)$%))/$$:&/%3&)73@&73+
    '*+&3H7&3&(()%3.&+73/$$:&/%3&G3E'%&3&((%)
    ()%3%//+:)&%:%+, #.$$:&/%3&%6%&'%G'3()%3
    G3E'%&3&((%)()%3(+$%:%+, #%'+%),%7G7:G$&33)3
    3&7:+3G,'%&3&((+()%3%)3+;:73&7A3/'%+%7%''%6%&'%G'
    $%&'7%'+%),GH+73)&H)((&'733&7:+3.


    00.
   ''440G3E %)%,3&+)H%+3,&E&/%$7
   B://''&&7$3&)G3E%:%+,  %)3)%3(+7H733&7
   +;:73.
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7
   3++*%3+,3*+:)73%3&37M73G3%&H+&6&'*))/:$3%3&%)
   /3%/3&(+$%3&+*%+)&*G:7&77%/3&6&3&7:37&)(3&3)3%37%)
    3%3%+G,)3<:+&7)&/3&(3%'&(+&%%) +7M&(+$%3&+
    )/:$377:G</33:+H%&H+&6%/,'%E7%)+/%')%E
   .>8 >?:',!">=.;:73))/:$37%+H+&6&'*(7*'7
   '&/H%+3$3&&673&*%3&('%&3&((A7H%+3+4+B://''&/%7+'%3)
   3&)3&3,3(3(',%)(+%:).;:73))/:$37/%G',H+):/)E&3
   7H/&(&/:+3+)+%))+77)3 040
   44422 0%)
   2D2! #,'$%+62%:,7"#.



                                                

                0AB000
                  00040
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 56 of 192 Page ID #:2379




    00.
    ''40000 0+ 3
    7&H$3(1 4 O36)+7)&73+&G:3+7%) +E'7%'+7
    G3E%:%+,  %)3)%3(+7H733&7+;:73.
    
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
    &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7
    3++*%3+,3*+:)73%3&37M73G3%&H+&6&'*))/:$3%3&%)
     /3%/3&(+$%3&+*%+)&*G:7&77%/3&6&3&7:37&)(3&3)3%37%)
    3%3%+G,)3<:+&7)&/3&(3%'&(+&%%) +7M&(+$%3&+
   )/:$377:G</33:+H%&H+&6%/,'%E7%)+/%')%E
   .>8 >?:',!">=.


   00. 
   ''40000 0+
   440G3E %)6)+7(1 4 O
   000 0+ 31 P')G,
   :E%,02G3E%:%+,  %)3)%3(+7H733&7
    +;:73.
    
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7
   3++*%3+,3*+:)73%337)/:$37)3@&73.))&3&%'',(&+73
   ME')*(()%3%G:3@&73/('%&3&((+:E%,02+
   1 P/%$&%:%+, #%)3G(+.+$%:%+, #:3&'
   +7H733&7+;:73+;:73))/:$37)3@&73.



                                               

                0AB000
                  00040
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 57 of 192 Page ID #:2380




    00. 
    ''40000 0+ 
    440G3E %)  /?&/':7&6(3&+'&
    3+=//+&*31 P')G,:E%,02G3E%:%+,
      %)3)%3(+7H733&7+;:73.
    
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
    &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7
     3++*%3+,3*+:)73%337)/:$37(+$%:%+,  )3@&73.
    /:$37(+$ %'+%),%7G7:G$&33)G,'%&3&((&&7+&*&%'%)
   (&+73%$))/$H'%&333&7:+3.()%3)73%6%))&3&%'
   )/:$37&+H7777& +3,)3@&73.


   00.#
   ''40000 0+ 
   440G3E %)/.?&/':7&6(3&+'&
   73+=//+&*31 P')G,:E%,02G3E%:%+,
     %)3)%3(+7H733&7+;:73.
    
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7
   3++*%3+,3*+:)73%337)/:$37(+$%:%+,  )3@&73.
   /:$37(+$ %'+%),%7G7:G$&33)G,'%&3&((&&7+&*&%'%)
   (&+73%$))/$H'%&333&7:+3.()%3)73%6%))&3&%'
   )/:$37&+H7777& +3,)3@&73.





                                               

             0AB000
               00040
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 58 of 192 Page ID #:2381




 

    7H/3(:'',7:G$&33)
    06$G+  >
 

 
     B,'+%) +%,

 

 

 









































                                        

             0AB000
               00040
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 59 of 192 Page ID #:2382


                                                 

            
                   
        !!" #$ #% &    '()'* +, ), -+
         + +.*//0  
    ' $  
    (  1&  23 434       3+
          3+  &  
   5        +  +
  +  &  & 6+ +   3 7   7 
     44 +   

8+ "1 '*'/90  




!" #$         #%$     
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 60 of 192 Page ID #:2383
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 61 of 192 Page ID #:2384
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 62 of 192 Page ID #:2385




                                                  Exhibit “D”
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 63 of 192 Page ID #:2386



      
        
     
 
         !! "#
 
     $%&'&()*+%,-*$%&'./$

 

 
                                 000000
 
                               000
 

 


                                                      =   %7. >828  84?@=

     1 02.2&/34%5533%                =
                                                      =   0A

                                             '%&3&((=   B000
                                                      =   40C0

            67.                                       =     
                                                          00D
       +//&3&5 =
                                                    =
     )82                  =
                                                    =
                                        =
                          ()%3=

                                                      =

     9                                                =

                                                      =
                                                      =
   :+3%'&(+&%3+%'&73+&/3:+3         =
     (++&*:)*%/;:'&'<&%            =
    +7&)&*:)*+%)4.'*:&              =
                                                      =
                                                     =
















                                                      

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 64 of 192 Page ID #:2387




     0 1 02..
     0  
    :+7:%33%)&%//+)%/E&3)+%':'7(&6&'+/):+ !8 !
      ?F()%3F=+G,+7H)7%)G</373+;:73(
    '%&3&(((+%)$&77&3?I+;:73J=%7(''E7
 

                                             
 

     0(''E&* +%'7H77%)G</3&7%++G,&/+H+%3)&3
    %/(3H/&(&/7H77%73:*73(+3&(:''.()%3G</37
   *+%'',3%''('%&3&((L7;:737(+)$&77&%/(3(''E&*
   *+:)7
      . ()%37G</3733+;:73&&373&+3,3*+:)3%3&36&'%37
         )+%':'7(&6&'+/):+:' !?G=?=:' !?G=? =?=:' !
         ?G=?=+;:73('%&3&((&73+'6%33%,H%+3,A7/'%&$3
         H+H+3&%'33)7(3/%7'%&3&((7M73G3%&H+&6&'*)
         )/:$3%3&%)/3%/3&(+$%3&+*%+)&*G:7&77%/3&6&3&7:37&)
         (3&3)3%37%)3%3%+G,)3<:+&7)&/3&(3%'&(+&%
          %) +7M&(+$%3&+)/:$377:G</33:+H%&H+&6%/,
          '%E7%)+/%')%E.>8 >?:',!">=.
       . 0+7H77%)G</3&7+('/3',3/:++373%3(()%3A7
         ME')*:)+73%)&*%)G'&(E&3+7H/333$%33+7%))+77)&
         3+;:73.0+7H77%)G</3&7+&%+&3+&3))%7+
         7%''&%,E%,G)$)%%)$&77&++H+73%3&3%3/+3%&
         )/:$37@&73+)3@&73.1&3:3G'&*%3&*&37'(3)7
         ()%3+7+673+&*33$)&(,7:HH'$3%$)++6&7&37
         +7H77%)G</3&7E&3H+3&3&(+$%3&%7&3$%,7:G7;:3',
         )&7/6+.

                                                

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 65 of 192 Page ID #:2388




       . ,%*+$3G,()%33H+):/)/:$37&7$%)E&3:3E%&6+
         (%,G</3&7%)&73&3))3/73&3:3%+H+73%3&3%3%,
         7:/)/:$37@&73G:3',3%3()%3E&''H+):/E%3)/:$37
         )@&73%+&+H7777&/:73),%)/3+'%+(:)3+:*%
         +%7%G',)&'&*37%+/%+3/:++3',7:G</33%HH'&/%G'H+&6&'*7
         ?&/':)&*3%33+,8/'&3H+&6&'*=%))3/73&3:33+&%'
         H+H%+%3&+3+E+MH+):/3$%3+&%'7.
      #. ()%3G</3733+;:73%)3%/(&&3&73+:/3&
          3++*%3+,%)/:$3;:73/3%&)3+&33@333%3
         3,H:+H+33&$H7%,G'&*%3&7:H()%33%3@/)3
        7/H(H+$&77&G')&7/6+,:)+3)+%':'7(&6&'+/):+
        %)%HH'&/%G'+:'7.()%3E&''+7H)33+;:73&%//+)%/
        E&3&37G'&*%3&7:)+3%HH'&/%G'+:'7.
     . ()%3G</3733+;:73%)3%/(&&3&73+:/3&
        3++*%3+,%)/:$3;:73/3%&)3+&33@333%3
        3,%+%=6+'%HH&*/:$:'%3&6):H'&/%3&6:):',G:+)7$+
        HH+77&6G=%+6%*:%)%$G&*::7%) +/=3+%7%G',/%'/:'%3)
        3'%)33)&7/6+,(+'6%36&)/.
      !. ()%3G</3733+;:73%)3%/(&&3&73+:/3&
         3++*%3+,%)/:$3;:73/3%&)3+&33@333%3
        3,H:+H+33/%''(+3H+):/3&()/:$373&()%3
        H7777&/:73),+/3+'+3%3/%3G%7/+3%&)G,$%7(%
        +%7%G')&'&*3*)(%&3+6&E()/:$37%6&*%&)3&(&%G'
        +'%3&7&H3%)&;:&+,(H+7''&M',3%6ME')*
        //+&*37:G</3$%33+(3+;:73.1+()%3%773%3)&3
        E&''H+):/+7H7&6)/:$37?&/':)&*%,'/3+&/)/:$37=&3
        E&''/):/3%+%7%G'7%+/(+7:/)/:$37&4),A7H7777&
        /:73),+/3+'&3+%)&',%//77&G''/%3&7E+7:/)/:$37

                                               

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 66 of 192 Page ID #:2389




         $%,+%7%G',GMH3%)E&''H+):/378H+&6&'*)+7H7&6
         )/:$37?7:G</333G</3&773(+3+&=3%3&3%7G%G'3
         '/%3%(3+7:/7%+/.
      . ()%3G</3733+;:73%)3%/(&&3&73+:/3&
         3++*%3+,%)/:$3;:73/3%&)3+&33@333%3
         3,H:+H+33/%''(+3H+):/3&()/:$37H+3/3)G,3
         %33+,8/'&3H+&6&'*3E+M8H+):/3)/3+&3&+73$)$3
         <:+%'&73A7H+&6&'*3+/<:+%'&73A77&')'%E3%'&(+&%3%3
          <:+%'&73A77&')'%E/$$'%E;:%'&(&)+H+3+A7H+&6&'*/$$
         '%EH+&6&'*7H+3/3&*<:+%'&73A7+/+)7(+$)&7/'7:+3+&*33
        H+&6%/,:)+3%'&(+&%73&3:3&+%,3++&*33H+&6%/,+%,
        3+%HH'&/%G'H+&6&'*)/3+&'%E++:'H+3/3&*&(+$%3&(+$
        )&7/'7:+.3&*/3%&)+&&7&3))3G+7%''&%,E%,
        G/73+:)%7%E%&6+(%,%HH'&/%G'H+&6&'*)/3+&'%E++:'
        H+3/3&*&(+$%3&(+$)&7/'7:+.
     >. ()%3G</3733+;:73%)3%/(&&3&73+:/3&
        3++*%3+,%)/:$3;:73/3%&)3+&33@333%3
        3,H:+H+33/%''(+&(+$%3&+)/:$37%=%'+%),&3
         H7777&('%&3&((/:73),+/3+'G=H:G'&/',%6%&'%G'H
         7:+/7+/=$+%HH+H+&%3',G3%&)(+$3+7:+/7.
     ". ()%3G</3733+;:73%)3%/(&&3&73+:/3&
        3++*%3+,%)/:$3;:73/3%&)3+&33@333%3
        3,H:+H+33/%''(+3H+):/3&()/:$37E&3)&7+*%+)3&+73
        7&$$+/+/%E+&+737&$$+/3+%3&%'%E.
     .()%3G</3733+;:73%)3%/(&&3&73+:/3&
        3++*%3+,%)/:$3;:73/3%&)3+&33@333%3
        3,H:+H+33/%''(+3H+):/3&()/:$37E&3)&7+*%+)3%3
        '&/7/3+%/3H+73)G,'%&3&(((+'&3&*%3&&3&7:+3)%3)H+&'

                                               

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 67 of 192 Page ID #:2390




           #:3&':  #%))/:$37+;:73)G,3&7+;:73
          )$%))(+$%:%+,  E&3:3%,'*%'*+:)7.
       .()%3G</3733+;:73%)3%/(&&3&73+:/3&
          3++*%3+,%)/:$3;:73/3%&)3+&33@333%3
          3,H:+H+33/%''(+3H+):/3&()/:$37E&3)&7+*%+)3%3
          '&3&*%3&('&/7/3+%/3H+73)G,'%&3&(((+'&3&*%3&&3&7:+3
          &7,33G)3+$&)%7%//+)&*3H+73)G,()%36&)/
          7:G$&33)E&343&3&7$&77N%'33+(()%3A7+/33+,
           /(&+$&*3%33&7'&/7/3+%/36+G/%$'*&3%7&3E%7%3(&+7373
          3+E&3:37&*%3:+('%&3&((&H+&' %)',%(3+$%&'
         @/%*%7G+733+E&37&*%3:+('%&3&((&H+&' .




                            


   04.
   )$&33%3 %+37'7%+')+(  .
   
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
    &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7+;:73
   3*+:)73%3&37M73G3%&/H,+&*3)$%3+&%'7%) +&(+$%3&
   +*%+)&*G:7&77%/3&6&3&73%33MH'%/:37&)(3&3)3%37%)3%3
   %+G,)3<:+&7)&/3&(3%'&(+&%%7&3%7G%'+%),)3+$&)G,
   3&7:+3%) +7M&(+$%3&+)/:$377:G</33:+H%&
   H+&6%/,'%E7%)+/%')%E.>8 >?:',!">=.
   ))&3&%'',3&7+;:73&73+'6%333/'%&$7('%&3&((%)3+&*&%'
   $H'%&3 &+73$))$H'%&3E+37+6)()%3
     .

                                                

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 68 of 192 Page ID #:2391




    04. 
    )$&33%3'%&3&((7(&+737/)%)3&+)/'%&$7'&:)+30+%)$%+M/3(
    "#!?3%%$/3=%7%$))G,3)+%'0+%)$%+M&':3&/3(
    ""?...OO37;.0&7:+3%7<:+&7)&/3&6+7://'%&$7
    H:+7:%33 >...OO ?()+%';:73&=%) >...OO         >?%=%)?G=.
    
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
    &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7;:73
     3*+:)73%3&36&'%37)+%':'7(&6&'+/):+:'%G:3&7/6+,
    +;:737%73&7+;:73(+%)$&77&G%7))3+$&%3&('&3&*%3&(3
   /'%&$7.0&77:G</3/%G)3+$&)G,3&7:+3H+/)&*7.))&3&%'',
   '*&3)/:$37%7GH+7333&7:+33)3+$&'&3&*%3&(3
   '%&3&((A7/'%&$7 +)3@&73?'%&3&((%7',H7777+,&3+733G3%&
   3+%)$%+M1 4 P=.
   ,.


   04. 
   )$&33%30&7:+3%77:HH'$3%'<:+&7)&/3&6+373%3'%E/'%&$7
    :)+ >...O !?%=.
    
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7+;:73
   3*+:)73%3&37M73G3%&/H,+&*3)$%3+&%'7%) +&(+$%3&
   +*%+)&*G:7&77%/3&6&3&73%33MH'%/:37&)(3&3)3%37%)3%3
   %+G,)3<:+&7)&/3&(3%'&(+&%%7&3%7G%'+%),)3+$&)G,
   3&7:+3%) +7M&(+$%3&+)/:$377:G</33:+H%&
   H+&6%/,'%E7%)+/%')%E.>8 >?:',!">=.


                                                 

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 69 of 192 Page ID #:2392




    ()%3&7+//&3&5+7&)3(+%/%)33&73&$'*&3)/:$3
    %7GH+73)33&7:+337:HH+33'%&3&((A7/'%&$73)$%)
    '&3&*%3&&%'&(+&%.
    ,.
 

    04.#
    )$&33%3 (&')3+? =;:737?$3&=%(3+3(&'&*(343&3
    &7$&77(+%/M(:+&7)&/3&.
     
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3&7:%G'3%)$&3+),
   3&7;:733*+:)73%3&36&'%37)+%':'7(&6&'+/):+:'
   %G:3&7/6+,+;:737%73&7+;:73(+%)$&77&G%7))3+$&%3&(
   '&3&*%3&(3/'%&$7.0&77:G</3/%G)3+$&)G,3&7:+3H+/)&*7.
   ))&3&%'',()%37E+3:&3).))&3&%'',()%37E+3
   H+H+',7+6)E&33+&*&%' (&+73%$))/$H'%&3+7/:3+(+%/
   )&)3H+/)E&3(+&6':7',(&')/$H'%&3%*%&73+//&3&5 +/
   G:7&773&3,.


    04.
   )$&33%3()%3'+% +%,%)6+3&7)&37EG7&33%3&3&7
   %$+&/%8+/$%*%5&H+):/)G,4)&% +:H
     E&3((&/7G%7)&%+&7?+%/=E +M%)7*'7.%7(:',
     >.
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7+;:73
   3*+:)73%3&37M73G3%&/H,+&*3)$%3+&%'7%) +&(+$%3&

                                               

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 70 of 192 Page ID #:2393




    +*%+)&*G:7&77%/3&6&3&73%33MH'%/:37&)(3&3)3%37%)3%3
    %+G,)3<:+&7)&/3&(3%'&(+&%%7&3%7G%'+%),)3+$&)G,
    3&7:+3%) +7M&(+$%3&+)/:$377:G</33:+H%&
    H+&6%/,'%E7%)+/%')%E.>8 >?:',!">=.
    ))&3&%'',()%3  E%737+6)E&3
    +&*&%' +(&+73%$))/$H'%&3.()%3  
    E%73%HH%+)&3&7:+3.&3++*%3+,+;:737/%G%))+77)3
    3&7()%3.
     ,.


   04.!
   )$&33%3()%3'+% +%,%7H'%/)+7'(:)+3<:+&7)&/3&
   (3&7:+3G,3(&'&*%%7E+33$H'%&3.
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3&7:%G'3%)$&3+),
   3&7;:733*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',
   G:+)7$%):77:)($)3+$7.))&3&%'',&3&7(+3&7:+33
    )3+$&<:+&7)&/3&(+3&7()%3.&'&*%%7E+3(&+73%$))
    /$H'%&3)73)3+$&<:+&7)&/3&6+()%3 ()%37%73,
   E+37+6)E&33+&*&%' (&+73%$))/$H'%&3+7/:3+(+%/
   )&)H+/)E&33&7/$H'%&33*+:)73%3/$H'%&3E%7(+&6':7',
   %):'%E(:'',(&')&3&7:+3&%'&(+&%.


   04.
   )$&33%3 :7&*)%'&/7%*+$33:73%$1 Q(+%
   $%*%5&)%3)H+&'73 #.
   

                                                

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 71 of 192 Page ID #:2394




    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
    &/':)&*G:33'&$&3)3G</3&78.()%3&7:%G'3%)$&3+),
    3&7;:733*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',
    G:+)7$%):77:)($)3+$7.))&3&%'',&3&7(+3&7:+33
    )3+$&'&3&*%3&(3&7/3+%/3.D%6&*)&7/:77&*&6&*7&*%3:+3
    /3+%/3)73*&6'&3&*%3&&3&7:+33*+:)73%33&7/3+%/3%7
    G:)%7&3E%737&*)& #G,'%&3&((G:3',& ? ,%+7'%3+
    E/3+%/3%7@H&+)=%7$%)%3+,%)$)&%3+7/'%:77+7&*%3:+7.
     ))&3&%'',()%3 ()%37E+37+6)E&33+&*&%' (&+73
    %$))/$H'%&3+7/:3+(+%/)&)H+/)E&33&7/$H'%&3
   3*+:)73%3/$H'%&3E%7(+&6':7',%):'%E(:'',(&')&3&7:+3&
   %'&(+&%.


   04.>
   )$&33%337&*)'&/7%*+$33:73%$1 Q(+%
   $%*%5&)%3)H+&'73 #'&737%73*6+&*'%E&H%+%*+%HB:7&77
   0+$7 /):'&3)3%37($+&/%.
   
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
    &/':)&*G:33'&$&3)3G</3&78.()%3&7:%G'3%)$&3+),
   3&7;:733*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',
   G:+)7$%):77:)($)3+$7.))&3&%'',&3&7(+3&7:+33
   )3+$&'&3&*%3&(3&7/3+%/3.D%6&*)&7/:77&*&6&*7&*%3:+3
   /3+%/3)73*&6'&3&*%3&&3&7:+33*+:)73%33&7/3+%/3%7
   G:)%7&3E%737&*)& #G,'%&3&((G:3',& ? ,%+7'%3+
   E/3+%/3%7@H&+)=%7$%)%3+,%)$)&%3+7/'%:77+7&*%3:+7.
   ))&3&%'',()%3 ()%37E+37+6)E&33+&*&%' (&+73
   %$))/$H'%&3+7/:3+(+%/)&)H+/)E&33&7/$H'%&3


     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 72 of 192 Page ID #:2395




    3*+:)73%3/$H'%&3E%7(+&6':7',%):'%E(:'',(&')&3&7:+3&
    %'&(+&%.
 

    04.>
    )$&33%33 8 (33&/(43&%)43&3&7$&77
    :)+:' ?G=? =(+%/M(:+&7)&/3& 73%3 %6
    I%+3+7J&3&3)3%37($+&/%.
    
     ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
    &/':)&*G:33'&$&3)3G</3&78.()%3&7:%G'3%)$&3+),
   3&7;:733*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',
   G:+)7$%):77:)($)3+$7.0&7+;:73&7):H'&/%3)H+6&:7+;:73.
   ))&3&%'',3&7+;:737M73G3%&H+&6&'*))/:$3%3&%)/3%/3
   &(+$%3&+*%+)&*G:7&77%/3&6&3&7:37&)(3&3)3%37%)3%3%+
   G,)3<:+&7)&/3&(3%'&(+&%%) +7M&(+$%3&+)/:$37
   7:G</33:+H%&H+&6%/,'%E7%)+/%')%E.>8 >
   ?:',!">=.


    04."
    )$&33%3%H%+3+7&H&7%(+8H+(&3G:7&77%77/&%3&(3E+$+
   H+77.
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3&7:%G'3%)$&3+),
   3&7;:733*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',
   G:+)7$%):77:)($)3+$7.))&3&%'',3&7+;:737M73G3%&
   H+&6&'*))/:$3%3&%)/3%/3&(+$%3&+*%+)&*G:7&77%/3&6&3&7
   :37&)(3&3)3%37%)3%3%+G,)3<:+&7)&/3&(3%'&(+&%

                                               

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 73 of 192 Page ID #:2396




    %) +7M&(+$%3&+)/:$377:G</33:+H%&H+&6%/,'%E7%)
    +/%')%E.>8 >?:',!">=.))&3&%'',3&7+;:73
    /3%&)3+&33@333%33,H:+H+33/%''(+3H+):/3&(
    )/:$37H+3/3)G,3%33+,8/'&3H+&6&'*3E+M8H+):/3)/3+&
    3&+73$)$3<:+%'&73A7H+&6&'*3+/<:+%'&73A77&')'%E3
    %'&(+&%3%3<:+%'&73A77&')'%E/$$'%E;:%'&(&)+H+3+A7H+&6&'*
    /$$'%EH+&6&'*7H+3/3&*<:+%'&73A7+/+)7(+$)&7/'7:+3+&*33
    H+&6%/,:)+3%'&(+&%73&3:3&+%,3++&*33H+&6%/,+%,3+
     %HH'&/%G'H+&6&'*)/3+&'%E++:'H+3/3&*&(+$%3&(+$)&7/'7:+.


   04.
   )$&33%3%H%+3+7&H&7%'*%'3&3,/'%77&(&)&G33&3)3%37%)3
   3%3(%'&(+&%%7&3+% +%'%+3+7&H(%&$&3)%+3+7&H.
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3&7:%G'3%)$&3+),
   3&7;:733*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',
   G:+)7$%):77:)($)3+$7.()%3%7//3&7H/&(&/%'',
    3%'&(+&%.))&3&%'',3&7+;:737M73G3%&H+&6&'*))/:$3%3&
    %)/3%/3&(+$%3&+*%+)&*G:7&77%/3&6&3&7:37&)(3&3)3%37
   %)3%3%+G,)3<:+&7)&/3&(3%'&(+&%%) +7M&(+$%3&+
   )/:$377:G</33:+H%&H+&6%/,'%E7%)+/%')%E
   .>8 >?:',!">=.


   04.
   )$&33%3%H%+3+7&H&7%/7&)+%3&:)+)+%'%EE&/H+&G&37%
   &6+7&3,/3&&%,)+%':+3(%3%3&E&/%'%&3&((%)()%3
   H%+3+%+G3+7&)37.

                                               

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 74 of 192 Page ID #:2397




    
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
    &/':)&*G:33'&$&3)3G</3&78.()%3&7:%G'3%)$&3+),
    3&7;:733*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',
    G:+)7$%):77:)($)3+$7.()%3%7//3&7H/&(&/%'',
    3%'&(+&%.))&3&%'',3&7+;:737M73G3%&H+&6&'*))/:$3%3&
    %)/3%/3&(+$%3&+*%+)&*G:7&77%/3&6&3&7:37&)(3&3)3%37
    %)3%3%+G,)3<:+&7)&/3&(3%'&(+&%%) +7M&(+$%3&+
     )/:$377:G</33:+H%&H+&6%/,'%E7%)+/%')%E
    .>8 >?:',!">=.


   04. 
   )$&33%3:E%,02E733+%)$%+M1 Q(+:7E&3%
   $%*%5&+H:G'&/%3&.
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3&7:%G'3%)$&3+),
   3&7;:733*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',
    G:+)7$%):77:)($)3+$7.()%3%7H+7%'ME')*
    %G:3%,E+7&H+H%+3+7&H('%&3&((.3&7',ME3()%33%3
   1 Q('%&3&((E%733%'',+(:7)(++*&73+%3& :7&:+H.03%'
   +(:7%'&7%H:G'&/)/:$3%6%&'%G'1)%3%G%7%)E%77:G$&33)G,
   ()%3&)&((+3(&'&*733&7:+3.


   04. 
   )$&33%3&%$%&')%3)4%+/> #%))+77)34&/%' 
   73%3)I73+*',G'&63%3&3+%3&%'3+%)$%+M71  1 
   4 PG'*732&/3.%)73+*',G'&63%3E7:'))

                                                

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 75 of 192 Page ID #:2398




    6+,3&*H77&G'3*33+%)$%+M%'7G%/M32&/3.3+E&77/%$
    %)(+%:)E&''6+73H.J
    
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
    &/':)&*G:33'&$&3)3G</3&78.()%3&7:%G'3%)$&3+),
    3&7;:733*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',
    G:+)7$%):77:)($)3+$7.))&3&%'',%H&&(()%3
    @H+77)& #34+4&/%'EE%73%E%+(7H/&(&/
     H%+3+7&HG3E'%&3&((%)4+B://''&/%3G%)$&33)%7&3&76%':%3)
    %//+)&*3&(+$%3&/''/3)(+$ #8 >7H/&(&/%'',H:G'&/
   /$$:&/%3&G3E'%&3&((%)4+B://''&%)'&(3+%37733
   ()%3G,'%&3&((G%'((4+B://''&%)&$7'(&:*:73 .0&7
   )/:$3%7G%'+%),7:G$&33)&6%+&:7(&'&*(()%333&7:+3.


   04.#
   )$&33%3 %)6+3&73)7&*%3&F1 4 PF76+%'
   3+3EG7&377:/%7 :3:G./$%/GM./$0E&33+./$%7E''%7
   6%+&:7G'*7.
    
    ()%3%)$&373%3+G:7&77%/3&6&3&7:)+%$I1 
   4 PJ&+%/)%3)""()%3&3+%3&%'G:7&77%/3&6&3&7
   :)+%$I1 4 PJ)%3) ()%3+*&73+)
   3+%)$%+M7A1 4 PJ&  G%7)+G:7&77%/3&6&3&7
   7&/"".0+(+()%3%7+H+73%3&7/&%'$)&%3E+M7
   EG87&37:)+%$1 4 P.






                                              

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 76 of 192 Page ID #:2399




    04.
    )$&33%3 +*&73+)&+%/3+%)$%+M7:E%,+%/ :E%,
    4%*%5&+%/%(3+7:/3&$%7 G/%$%E%+3%33'&/73:73
    1 4%*%5&QG3%&)(+$%$7B://''&&G+:%+,  E%7
    (+%:):'3.
    
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
    &/':)&*G:33'&$&3)3G</3&78.()%3&7:%G'3%)$&3+),
     3&7;:733*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',
    G:+)7$%):77:)($)3+$7.()%3%7//3&7H/&(&/%'',
   3%'&(+&%.))&3&%'',3&7+;:737M73G3%&H+&6&'*))/:$3%3&
   %)/3%/3&(+$%3&+*%+)&*G:7&77%/3&6&3&7:37&)(3&3)3%37
   %)3%3%+G,)3<:+&7)&/3&(3%'&(+&%%) +7M&(+$%3&+
   )/:$377:G</33:+H%&H+&6%/,'%E7%)+/%')%E
   .>8 >?:',!">=.))&3&%'',+*&73+%3&(3+%)$%+M7&+%/&
   6$G+  G%7)%/3&6&3&7:)+%$1 4 P7&/
    &3$&*3%6%'7H+3/3&(&3''/3:%'H+H+3,+%77.0
   44'%E&+%/&76+,+7H/3)'%E%)&$%,/%77G+%)7)
    3+*&73+3+%)$%+M7G:3&/%7E()%3)&7/6+)(+%:):'3%/3&7
    (H%+3+('%&3&((7)/&))3+*&73+3+%)$%+M73H+3/3+&3''/3:%'
   H+H+3,%7737.


   04.!
   )$&33%33:E%,4%*%5&QE%7E)G,:E%,B%:3,/.&
   G+:%+,  .
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7+;:73

                                                

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 77 of 192 Page ID #:2400




    3*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',G:+)7$
    %):77:)($)3+$7.()%3%7H+7%'ME')* +E%73
    H+73%)/%3%6%,ME')*%G:3%,%7737('%&3&((&  .&+73
    ME')*%G:3@&73/('%&3&((/%$3()%3&%:%+, #%)3
    G(+.
    ,.
 

    04.
     )$&33%33:E%,4%*%5&QE%7E)G,:E%,B%:3,/.&
    G+:%+,  .
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7+;:73
   3*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',G:+)7$
   %):77:)($)3+$7.()%3%7H+7%'ME')* +E%73
   H+73%)/%3%6%,ME')*%G:3%,%7737('%&3&((&  .&+73
   ME')*%G:3@&73/('%&3&((/%$3()%3&%:%+, #%)3
   G(+.
    ,.


   04.>
   )$&33%3 %673$%&'73H%+3&73%3)G:7&77E&3:E%,02
   3%33'%&3&((/$H%,&733+%'1 .
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7+;:73
   3*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',G:+)7$
   %):77:)($)3+$7.+/33+,G%'((()%373$%&'73

                                               

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 78 of 192 Page ID #:2401




    3G:7&77H%+3&7G:33H%+3&/&H%37&6%+&:7H+</37('%&3&((E$&7'%)
    37H%+3&/&H%37G,%$&*&7)&3&71 4 PE&3)&7+*%+)
    300+)+%))+77)3'%&3&(((+:7(3%$
    1 4 P%''3++&3+&7%'&(+&%&/':))E&3)&7+*%+)3%3
    ()%3%7%/3&6G:7&77%)+*&73+)3+%)$%+M71 4 P.
    )G,37%/3&7/+%37&33&%'/(:7&E&3()%3H+):/37.
    3+$7I33+%'1 JE+:7)&/$$:&/%3&.07$%&'7%+&
    3H7&3&('%&3&((%)%7G7:G$&33)33&7:+3E&3+&*&%'%)(&+73
     %$))/$H'%&3.
    ,.


   04."
   )$&33%3 %673$%&'7HH'/.+'%3)33'%&3&((L7HH?7=3
   I'%7+$637%HH'&/%3&7%)G%3:7+H+$%3',+G%37
   %HH'&/%3&7(+$%''3+3++&3+&7@/H3.J
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7+;:73
    3*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',G:+)7$
    %):77:)($)3+$7.+/33+,G%'((()%373$%&'73
   HH'/.+'%3)33'%&3&((L7HH?7=(+3(''E&*+%7'%&3&(((%'7
   %)6+3&77&7H+):/37%)%HH'&/%3&7:)+%$1 4 PE&3
   )&7+*%+)300+)+%))+77)3'%&3&(((+:7(
   3%$1 4 P%''3++&3+&7%'&(+&%&/':))E&3
   )&7+*%+)3%3()%3%7%/3&6G:7&77%)+*&73+)3+%)$%+M71 
   4 P.)G,37%/3&7/+%37&33&%'/(:7&E&3()%3
   H+):/37.0&7;:3%3&/%3G3%M:3(3/3@3.07$%&'7%+&3


                                                

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 79 of 192 Page ID #:2402




    H7&3&('%&3&((%)%7G7:G$&33)33&7:+3E&3+&*&%'%)(&+73
    %$))/$H'%&3.
    ,.
 

    04. 
    )$&33%3 %673$%&'7 *'.$+'%3)33'%&3&((L7HH?7=3
    I'%7+$637%HH'&/%3&7%)G%3:7+H+$%3',+G%37
    %HH'&/%3&7(+$%''3+3++&3+&7@/H3.J
     
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7+;:73
   3*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',G:+)7$
   %):77:)($)3+$7.+/33+,G%'((()%373$%&'73
    *'.$+'%3)33'%&3&((L7HH?7=(+3(''E&*+%7'%&3&((
   (%'7%)6+3&77&7H+):/37%)%HH'&/%3&7:)+%$1 4 P
   E&3)&7+*%+)300+)+%))+77)3'%&3&(((+:7
   (3%$1 4 P%''3++&3+&7%'&(+&%&/':))E&3
   )&7+*%+)3%3()%3%7%/3&6G:7&77%)+*&73+)3+%)$%+M71 
    4 P.)G,37%/3&7/+%37&33&%'/(:7&E&3()%3
    H+):/37.0&7;:3%3&/%3G3%M:3(3/3@3.07$%&'7%+&3
   H7&3&('%&3&((%)%7G7:G$&33)33&7:+3E&3+&*&%'%)(&+73
   %$))/$H'%&3.
   ,.


   04. 
   )$&33%3 %673$%&'3 %)),.$+'%3)33'%&3&((L7
   1 EG7&33%3&3&(+&*731 4 P
   &3''/3:%'H+H+3,.

                                               

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 80 of 192 Page ID #:2403




    
    ()%3%)$&373%3+/33+,G%'((()%373$%&'3
     %)),.$+'%3)33'%&3&((L71 EG7&33%3&3
    &(+&*731  1 4 P
    &3''/3:%'H+H+3,N3+%)$%+M7+*&73+)G,()%3&6$G+  .
    '%&3&((+*&73+)3&7)$%&& #%):773H73)(%$%3+,/33%G:3
    ()%3E&3)&7+*%+)3%3'%&3&((%73+%)$%+M7+*&73+):)+%$
    1  1 4 P.


    04. 
   )$&33%3 %673$%&'3&M)+'%3)33'%&3&((L71 
   Q3%3&3&(+&*731 4 P&3''/3:%'H+H+3,.
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7+;:73
   3*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',G:+)7$
   %):77:)($)3+$7.+/33+,G%'((()%373$%&'3
   &M)+'%3)33'%&3&((L7*+:H1 4 P(+3
    (''E&*+%7'%&3&(((%'7%)6+3&77&7H+):/37%)%HH'&/%3&7:)+
    %$1 4 PE&3)&7+*%+)300
   +)+%))+77)3'%&3&(((+:7(3%$1 4 P%''
   3++&3+&7%'&(+&%&/':))E&3)&7+*%+)3%3()%3%7%/3&6G:7&77
   %)+*&73+)3+%)$%+M71 4 P%)G,37%/3&7/+%37
   &33&%'/(:7&E&3()%3H+):/37.%))&3&'%&3&((:773&7*+:H
   $73',(+H73&*)(%$%3+,/33%G:3()%3.$%&'7//+&*
   *+:H7&M)('%&3&((L71 02%7G73G,()%3+
   +/33+,G%'((()%3.
   ,.

                                               

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 81 of 192 Page ID #:2404




    04. 
    )$&33%3 %673$%&'73%*+%$+'%3)33'%&3&((L71 Q
    3%3&3&(+&*731 4 P&3''/3:%'H+H+3,.
    
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
    &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7+;:73
    3*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',G:+)7$
    %):77:)($)3+$7.+/33+,G%'((()%3$&*373%
     $%&'373%*+%$+'%3)33'%&3&((L71 Q%//:3(+3
    (''E&*+%7'%&3&(((%'7%)6+3&77&7H+):/37%)%HH'&/%3&7:)+
   %$1 4 PE&3)&7+*%+)300
   +)+%))+77)3'%&3&(((+:7(3%$1 4 P%''
   3++&3+&7%'&(+&%&/':))E&3)&7+*%+)3%3()%3%7%/3&6G:7&77
   %)+*&73+)3+%)$%+M71 4 P%)G,37%/3&7/+%37
   &33&%'/(:7&E&3()%3H+):/37.()%3)73%63/H,
   (3&7$%&'&+H7&3&%,'*+.
   ,.


    04. #
    )$&33%3 %673$%&'$&M,%%)$H+):/7-*$%&'./$+'%3)3
   3'%&3&((L71 Q3%3&3&(+&*731 4 P
   &3''/3:%'H+H+3,.
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7+;:73
   3*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',G:+)7$
   %):77:)($)3+$7.+/33+,G%'((()%373%$%&'3
   $&M,%%)$H+):/7-*$%&'./$(+3(''E&*+%73&7H+7(%'7',

                                                 

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 82 of 192 Page ID #:2405




    %)6+3&7)&7H+):/37 H+):/37('%&3&((:)+%$1 
    4 PE&3)&7+*%+)300+)+%))+77)3
    '%&3&(((+:7(3%$1 4 P%''3++&3+&7%'&(+&%
    &/':))E&3)&7+*%+)3%3()%3%7%/3&6G:7&77%)+*&73+)
    3+%)$%+M71 4 P%)G,37%/3&7/+%3)&33&%'
    /(:7&E&3()%3H+):/37.()%3)73%63/H,(3&7$%&'
    &+H7&3&%,'*+.
    ,.


    04. 
   )$&33%3 %673$%&':'&%++,3,'+'%3)33'%&3&((L7
   1 Q3%3&3&(+&*731 4 P&3''/3:%'
   H+H+3,.
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7+;:73
   3*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',G:+)7$
   %):77:)($)3+$7.+/33+,G%'((()%373%$%&'3
    :'&%++,3,'(+3(''E&*+%73&7H+7(%'7',%)6+3&7)+
    H+):/37 H+):/37('%&3&((:)+%$1 4 PE&3
   )&7+*%+)300+)+%))+77)3'%&3&(((+:7(
   3%$1 4 P%''3++&3+&7%'&(+&%&/':))E&3
   )&7+*%+)3%3()%3%7%/3&6G:7&77%)+*&73+)3+%)$%+M71 
   4 P%)G,37%/3&7/+%3)&33&%'/(:7&E&3()%3
   H+):/37.()%3)73%63/H,(3&7$%&'&+H7&3&%,
   '*+.
   ,.


                                               

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 83 of 192 Page ID #:2406




    04. !
    )$&33%3 %673$%&','%+'3+'%3)33'%&3&((L71 
    Q3%3&3&(+&*731 4 P&3''/3:%'H+H+3,.
    
    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
    &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7+;:73
    3*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',G:+)7$
    %):77:)($)3+$7.+/33+,G%'((()%373%$%&'3
     ,'%+'3(+3(''E&*+%73&7H+7(%'7',%)6+3&7)&7H+):/37 
    H+):/37('%&3&((:)+%$1 4 PE&3)&7+*%+)3
   00+)+%))+77)3'%&3&(((+:7(3%$
   1 4 P%''3++&3+&7%'&(+&%&/':))E&3)&7+*%+)3%3
   ()%3%7%/3&6G:7&77%)+*&73+)3+%)$%+M71 4 P
   %)G,37%/3&7/+%3)&33&%'/(:7&E&3()%3H+):/37.
   ()%3)73%63/H,(3&7$%&'&+H7&3&%,'*+.
   ,.


   04. 
    )$&33%3 %673$%&'&(((./$+'%3)33'%&3&((L71 Q
    3%3&3&(+&*731 4 P&3''/3:%'H+H+3,.
   
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7+;:73
   3*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',G:+)7$
   %):77:)($)3+$7.+/33+,G%'((()%373%$%&'3
   &(((./$(+3(''E&*+%73&7H+7(%'7',%)6+3&7)&7 +H+):/37
   H+):/37('%&3&((:)+%$1 4 PE&3)&7+*%+)3
   00+)+%))+77)3'%&3&(((+:7(3%$

                                               

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 84 of 192 Page ID #:2407




    1 4 P%''3++&3+&7%'&(+&%&/':))E&3)&7+*%+)3%3
    ()%3%7%/3&6G:7&77%)+*&73+)3+%)$%+M71 4 P
    %)G,37%/3&7/+%3)&33&%'/(:7&E&3()%3H+):/37.
    ()%3)73%63/H,(3&7$%&'&+H7&3&%,'*+.
    ,.
 

    04. >
    )$&33%3%,+&*37*+%3) &3/3+%/3G3E3H%+3&7%6G
     @3&*:&7)G, (%&':+3H%,3+;:&+)'&/7&*(7.
    
   ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
   &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7+;:73
   3*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',G:+)7$
   %):77:)($)3+$7.))&3&%'',()%3773%373%33&7&(+$%3&&7
   (%'7%73+A7/'%+',73%37&3/3+%/33%33+A7(7%HH'&).3%&')
   &(+$%3&H+6&))&43&3&7$&77%)3/H,(3/3+%/3$:'3&H'
   3&$77:G$&33)G,'%&3&((33&7:+3.3+%/3G3E3H%+3&76+
   G/%$'*&3(+3(''E&*+%77'%&3&(()&)37&*)3/3+%/3&H+&'
     #$)&%3+7%)$%)%3+,/'%:77E+&/':))$)&%3+7
    %HH&3)+7&*)3&7/3+%/3&%))&3&3%33&7/3+%/3E%7$+7%$
   +*%&5)G,'%&3&((%*%&73()%3G%'((&7H%+3+4+B://''&
   /6&/3)(+&)3&3,3(3(',%)(+%:)&4%+/ !.
   ,.


   04. "
   )$&33%3 %33$H3)3G+%/333+,1+M+):/3H+&6&'*G,
   +;:73&*)/:$37(+$..0+%7'%3&7.
   

                                                 

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 85 of 192 Page ID #:2408




    ()%3&/+H+%37+ +%'7H77%)G</3&7G,+(+/
    &/':)&*G:33'&$&3)3G</3&78.()%3G</3733&7+;:73
    3*+:)73%3&3&76%*:%)%$G&*::76+G+%)%):):',G:+)7$
    %):77:)($)3+$7.()%3)73+H+73)G,%33+,'&/7)
    &%'&(+&%&3&7/%7%)3+(+6+,$:/'*&33)%,)&7/6+,E+M
    +7'(.))&3&%'',()%3/%'')3..0+%7'%3&7&*)(%&33(&)
    I'73J/$H'%&3%)&(+$%3&*&6G,%%*3(3&7%*/,%G:3E&7
    3/'&3%)E3+%7'%3&E%77334+@'+)*&6E&3:3()%3A7
     7H/&%'%7M&*.()%3+;:73))&+/3+(3&7%*/,3*&6$%&'
    /(+$%3&%G:33&7&(+$%3&%7$%3+&%'H+(.
   ,.




   7H/3(:'',7:G$&33)
   06$G+  >

     B,'+%) +%,
























                                               

     0AB0004
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 86 of 192 Page ID #:2409


                                                 

            
                   
        !!" #$ #% &    '()'* +, ), -+
         + +.*//0  
    ' $  
    (  1&  23 434       3+
          3+  &  
   5        +  +
  +  &  & 6+ +   3 7   7 
     44 +   

8+ "1 '*'/90  




!" #$         #%$     
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 87 of 192 Page ID #:2410
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 88 of 192 Page ID #:2411
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 89 of 192 Page ID #:2412




                                                   Exhibit “E”
Case 2:18-cv-02503-FMO-JC Document 94    Filed 09/20/19 Page 90 of 192 Page ID #:2413
                                    LAW OFFICES OF
                                        WILLIAM D. GOLDSTEIN
                                               4030 Sawtelle Blvd.
                                          LOS ANGELES, CALIFORNIA 90066
                                           TELEPHONE: (310) 437-0108
                                            FACSIMILE: (323) 372-3589

                                   E-MAIL: WDGOLDSTEIN@WDGOLDSTEIN.COM



                                     November 26, 2018
                                 MEET AND CONFER LETTER
   ELEONORA DE GRAY                                    Via Email: infodegray@gmail.com
   OFFICIAL RUNWAY MAGAZINE
   23-25, rue Jean Jacques Rousseau
   75001 Paris, France

   Dear Ms. De Gray:

          This letter is intended to conform with both the FRCP and Local Rule 37-1 related to the
   required Meet and Confer process prior to the filing of Motions to Compel, et al under FRCP
   Rule 37.

           I have just been notified by the Court that you have filed your responses to Discovery.
   For future reference this is neither required or appreciated by the Court as it just entails
   additional work by Court personal.
           I have reviewed your responses/objections to the Requests for the Identification and
   Production of Documents and Things as well as the Requests for Admissions and have found
   them to be totally without any merit. The objections you have attached thereto are not relevant to
   the specific requests and/or not specific legal objections stating the basis for each objection.
   Additionally, you appear to believe that Discovery Responses are a place to argue your case.
   They are not. The objections, with few exceptions are not evidentiary in nature, you have not
   provided a single document in responses and your repeated objection of Privilege is not in
   accordance with the instructions contained in the Order of the Court on November 5, 2018 or the
   FRCP.
           Please advise this office as soon as is possible, if it is your intent to provide revised
   responses and when, to the Plaintiff’s Requests for the Identification and Production of
   Documents and Things as well as the Requests for Admissions served upon you pursuant to
   Federal Rules of Civil Procedure, the Local Rules and the Orders of the Court.

          Please advise this office when we can have the telephonic Meet and Confer discussion
   required under Local Rule 31-1 within the next 10 days.


             Requests for the Identification and Production of Documents and Things

         The Court ordered that you respond to this discovery request and described in detail how
   you must respond:
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 91 of 192 Page ID #:2414



           “Pursuant to Rule 34, any party may serve on any other party a request for the production
   or inspection of documents within the scope of Rule 26(b). Fed. R. Civ. P. 34(a). Unless excused
   by a protective order, in response to a request for the production of documents a party must,
   within 30 days of service thereof and as to each item or category, either: (1) state that the
   inspection will be permitted/ production will be made; or (2) state with specificity the grounds
   for objecting to the request, including the reasons, and state whether any responsive materials are
   being withheld on the basis of that objection. Fed. R. Civ. P. 34(b)(2)(A)-(C).”

           The instructions included with these requests are those used by the United States
   Department of Justice. You have claimed “Privilege” for the majority of your objections and
   have not included a Privilege log as required in Instruction number 6:
           “For any document withheld under a claim of privilege, submit a sworn or certified
   statement from your counsel or one of your employees in which you identify the document by
   author, addressee, date, number of pages, and subject matter; specify the nature and basis of the
   claimed privilege and the paragraph of this demand for documents to which the document is
   responsive; and identify each person to whom the document or its contents, or any part thereof,
   has been disclosed.”

   REQUEST FOR PRODUCTION NO. 1:
          A copy of each issue of RUNWAY MAGAZINE published by EURL ELEONORA DE
   GRAY and/or ELEONORA DE GRAY (as described in item 10 of the instructions each
   magazine requested herein can be produced in Adobe’s Portable Data Format (PDF).) If
   Publication in English is not available, the French version of the magazine may be produced
   without English translation.

   Your Objection:
           It seeks to obtain copyrighted materials and/or information regarding business activities
   that took place outside of the United States and that are beyond the jurisdiction of the California
   [Court]. The remainder of the objection is an argument of the facts in the case and your
   interpretation thereof and not relevant to a Discovery Response.

   Discussion:
           You have made numerous claims in your Answer about your dates of publication of
   Runway Magazine and frequency of Publication. Additionally, you have used the RUNWAY®
   trademark on each publication without payment for said use or a license to use said trademark.
   The Plaintiff has a right to request these materials to determine if your statements made in
   Pleadings are true and justified. Plaintiff does NOT have to take your word for it. Additionally,
   Plaintiff is entitled to this information for the purposes of determining the actual amount of
   damages that will be sought in Court.
           As to your objection that the materials are copyrighted. These materials have been
   published. There is no argument that you were not the party to copyright them. They are not
   confidential or privileged in any way. Additionally, though you continue to deny the fact, your
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 92 of 192 Page ID #:2415



   answer has placed you under the Jurisdiction of the District Court for the Central District of
   California and you MUST comply with lawful discovery or face sanctions.
           You have not provided any of the requested items sought in the request for production
   nor have you either promised to do so or stated you would not. You have not stated whether any
   responsive materials are being withheld on the basis of that objection. You are currently in
   violation of the Court order of November 5, 2018.
   REQUEST FOR PRODUCTION NO. 2:
           All COMMUNICATIONS between YOU and any party at Runway Magazine, Inc.
   between January 1, 2012 and the date of response to this request

   Your Objection:
            It seeks to obtain privileged documentation and contact information regarding business
   activities outside of the United States and that are beyond the jurisdiction of the California
   [Court]. The remainder of the objection is an argument of the facts in the case and your
   interpretation thereof and not relevant to a Discovery Response.

   Discussion:
            Runway Magazine, Inc. is not now or has ever been a partner of the Plaintiff. In point of
   fact, there have been two law suits brought by Plaintiff against this company for trademark
   infringement. The truth of the matter is that You had a licensing or some other type or agreement
   with Buccelli. By the few emails I have seen, it appears that you later accused him of stealing the
   Runway® from the Plaintiff then appropriated both the Plaintiff’s Buccelli’s intellectual
   property. Plaintiff has a right to know exactly what your agreement and disagreements were with
   Mr. Buccelli.
            Additionally, there are few things under United States law that qualify as privileged.
   Business and personal correspondence are not among them.
            Finally, Runway Magazine, Inc. formerly had its place of business in Los Angeles, CA.
   this does not address activities outside the Jurisdiction of this Court as your answer has placed
   you under the Jurisdiction of the District Court for the Central District of California and you
   MUST comply with lawful discovery or face sanctions.
            You have not provided any of the requested items sought in the request for production
   nor have you either promised to do so or stated you would not. You have not stated whether any
   responsive materials are being withheld on the basis of that objection. You are currently in
   violation of the Court order of November 5, 2018.

   REQUEST FOR PRODUCTION NO. 3:
          All COMMUNICATIONS between YOU and Vincent Mazzotta between January 1,
   2012 and the date of response to this request.

   Your Objection:
          Defendant objects to this Interrogatory on the grounds that the demanded communication
   does not exist or no longer in the position of Defendant. First communication between Plaintiff
   and Defendant accrued in January 2014. Communication available to Defendant between
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 93 of 192 Page ID #:2416



   Plaintiff and Defendant from January 2014 already has been submitted to this Court by Plaintiff
   or Defendant, and the request isn't clear, as all available emails already been presented in pdf
   files to this Court.




   Discussion:
           Plaintiff does not have in its possession custody and control all emails between the parties
   and seeks to supplement those in its possession for evidentiary purposes. Your response is self-
   contradictory in stating that said requested communications do not exist or that they are no
   longer in your possession, when you later state that they have in part, been submitted to the
   Court by You.
           Plaintiff is requesting all communications, not only those you used to support your
   Answer and assorted motions.
           You have not provided any of the requested items sought in the request for production
   nor have you either promised to do so or stated you would not. You have not stated whether any
   responsive materials are being withheld on the basis of that objection. You are currently in
   violation of the Court order of November 5, 2018.

   REQUEST FOR PRODUCTION NO. 4:
          All COMMUNICATIONS between YOU and James Buccelli between January 1, 2012
   and the date of response to this request.

   Your Objection:
            It seeks to obtain privileged documentation and contact information regarding business
   activities outside of the United States and that are beyond the jurisdiction of the California
   [Court]. The remainder of the objection is an argument of the facts in the case and your
   interpretation thereof and not relevant to a Discovery Response.

   Discussion:
            Runway Magazine, Inc. is not now or has ever been a partner of the Plaintiff. In point of
   fact, there have been two law suits brought by Plaintiff against this company for trademark
   infringement. The truth of the matter is that You had a licensing, partnership or some other type
   or agreement with Buccelli. By the few emails I have seen, it appears that you later accused him
   of stealing the Runway® from the Plaintiff then appropriated both the Plaintiff’s Buccelli’s
   intellectual property. Plaintiff has a right to know exactly what your agreement and
   disagreements were with Mr. Buccelli.
            Additionally, there are few things under United States law that qualify as privileged.
   Business and personal correspondence are not among them.
            Finally, James Buccelli formerly had his place of business in Los Angeles, CA. this does
   not address activities outside the Jurisdiction of this Court as your answer has placed you under
   the Jurisdiction of the District Court for the Central District of California and you MUST comply
   with lawful discovery or face sanctions.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 94 of 192 Page ID #:2417



          You have not provided any of the requested items sought in the request for production
   nor have you either promised to do so or stated you would not. You are currently in violation of
   the Court order of November 5, 2018.




   REQUEST FOR PRODUCTION NO. 5:
           All DOCUMENTS RELATED TO, RELATING TO or CONCERNING YOUR
   application for the Trademark “RUNWAY MAGAZINE” either to the French Government or
   internationally.

   Your Objection:
          Defendant objects to this Interrogatory on the grounds that it seeks to obtain privileged
   documentation and contact information regarding business activities outside of the United States
   and that are beyond the jurisdiction of the California [Court]. The documents / copyrighted
   materials presented at the registration of trademarks RUNWAY MAGAZINE in 2013 are related
   to production / international production since 2007

   Discussion:
           Web links and your providing materials that you believe support your contentions in
   Court filings are NOT admissible evidence. This Plaintiff has the right to request and obtain all
   relevant information supporting your claim that your RUNWAY MAGAZINE does not infringe
   on the Plaintiff’s RUNWAY®.
           Additionally, there are few things under United States law that qualify as privileged.
   Government filings whether in France or elsewhere, especially where you claim they can be
   found online, are not among them.
           You have not provided any of the requested items sought in the request for production
   nor have you either promised to do so or stated you would not. You are currently in violation of
   the Court order of November 5, 2018.

   REQUEST FOR PRODUCTION NO. 6:
          All DOCUMENTS RELATED TO, RELATING TO or CONCERNING the Articles of
   Incorporation (or the French equivalent thereof) for EURL ELEONORA DE GRAY.

   Your Objection:
          Defendant objects to this Interrogatory on the grounds that it is vague and ambiguous,
   overbroad and unduly burdensome, and uses undefined terms. Additionally, business license for
   EURL ELEONORA DE GRAY has been already provided in different filings by Defendant.

   Discussion:
          There is nothing vague, ambiguous or burdensome in requesting the Articles of
   Incorporation (or their French equivalent) of your company. These are Government filings.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 95 of 192 Page ID #:2418



           Wikipedia defines Articles of Incorporation as: Articles of incorporation, also referred to
   as the certificate of incorporation or the corporate charter, are a document or charter that
   establishes the existence of a corporation in the United States and Canada. They generally are
   filed with the Secretary of State or other company registrar.
           An equivalent term for limited liability companies (LLCs) in the United States is articles
   of organization. For terms with similar meaning in other countries, see articles of association.
           This is not a request for your business license.
          You have not provided any of the requested items sought in the request for production
   nor have you either promised to do so or stated you would not. You are currently in violation of
   the Court order of November 5, 2018.

   REQUEST FOR PRODUCTION NO. 7:
           All DOCUMENTS RELATED TO, RELATING TO or CONCERNING any “Partners”
   of EURL ELEONORA DE GRAY and/or YOU in the United States referenced in your Answer
   to the First Amended Complaint (inclusive of, but not limited to, Emails, Contracts, Agreements
   and proposals between YOU and /or EURL ELEONORA DE GRAY with said partners.)
           Defendant objects to this Interrogatory on the grounds that it seeks to obtain privileged
   documentation and contact information regarding business activities outside of the United States
   and that are beyond the jurisdiction of the California [Court].

   Your Objection:
          Defendant objects to this Interrogatory on the grounds that it seeks to obtain privileged
   documentation and contact information regarding business activities outside of the United States
   and that are beyond the jurisdiction of the California [Court]. The documents / copyrighted
   materials presented at the registration of trademarks RUNWAY MAGAZINE in 2013 are related
   to production / international production since 2007.

   Discussion:
           Partnerships as defined in the State of California and the United States with persons or
   Parties in California and the United States would place you and your company under the
   Jurisdiction of this Court. You have continually stated that the Court does not have Jurisdiction.
   The Plaintiff is entitled to these documents to counter any argument related to Jurisdiction you
   have alleged.
           Additionally, there are few things under United States law that qualify as privileged.
   Contractual agreements unless those specific to you and your attorney, are not among them.
           You have not provided any of the requested items sought in the request for production
   nor have you either promised to do so or stated you would not. You are currently in violation of
   the Court order of November 5, 2018.

   REQUEST FOR PRODUCTION NO. 8:
          All DOCUMENTS RELATED TO, RELATING TO or CONCERNING your signing of
   the Licensing Agreement effective April 1, 2014 between YOU and Runway Beauty, Inc.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 96 of 192 Page ID #:2419



   Your Objection:
            Defendant objects to this Interrogatory on the grounds that it is vague and ambiguous,
   overbroad and unduly burdensome, and uses undefined terms. Additionally, all additional
   communication has been already submitted to this Court by Plaintiff or Defendant in different
   filings.


   Discussion:
            Plaintiff does not have in its possession custody and control all emails and
   correspondence between the parties and seeks to supplement those in its possession for
   evidentiary purposes. There is nothing vague and/or ambiguous in the request. Since you allege
   that all such documents have been provided with Court filing (which the Plaintiff can prove is
   not a true statement) it can not be overly burdensome to produce these documents as you would
   have said documents at your fingertips. Plaintiff is requesting all communications, not only those
   you used to support your Answer and assorted motions.
            You have not provided any of the requested items sought in the request for production
   nor have you either promised to do so or stated you would not. You have not stated whether any
   responsive materials are being withheld on the basis of that objection. You are currently in
   violation of the Court order of November 5, 2018.

   REQUEST FOR PRODUCTION NO. 9:
          All COMMUNICATIONS between YOU and any third party in which Vincent Mazzotta
   is mentioned, between January 1, 2012 and the date of response to this request.

   Your Objection:
         Defendant objects to this Interrogatory on the grounds that it the demanded
   communication does not exist or no longer in the position of Defendant.

   Discussion:
           This Request does not pertain to correspondence between the parties. Rather it pertains to
   correspondence between the Defendant and third parties, such as Google, Inc. , Facebook, Inc.,
   etc. Plaintiff has, a defamation Causes of Action. Plaintiff is entitled to all documents supporting
   said cause of action. As Plaintiff has some of the correspondence sent to third parties in its
   possession and Defendant has included some of these correspondence in her own Court filings, a
   denial of the existence or possession of such documents cannot be believed and is perjurious. If
   these items were sent by Email then the Defendant is responsible for obtaining copies from her
   Email provider.
           You have not provided any of the requested items sought in the request for production
   nor have you either promised to do so or stated you would not. You have not stated whether any
   responsive materials are being withheld on the basis of that objection. You are currently in
   violation of the Court order of November 5, 2018.

   REQUEST FOR PRODUCTION NO. 10:
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 97 of 192 Page ID #:2420



         All COMMUNICATIONS between YOU and any third party in which James Buccelli is
   mentioned, between January 1, 2012 and the date of response to this request.

   Your Objection:
           Defendant objects to this Interrogatory on the grounds that it seeks to obtain privileged
   documentation and contact information regarding business activities outside of the United States
   and that are beyond the jurisdiction of the California [Court].
   Discussion:
           This Request relates to the business relationship you had with Mr. Buccelli and the illegal
   use of the RUNWAY® trademark. Additionally, Plaintiff is allowed to seek the correspondence
   from the period after your business relationship ended and what was told to third parties
   supporting the Defendants ownership of said trademark.
           You have not provided any of the requested items sought in the request for production
   nor have you either promised to do so or stated you would not. You have not stated whether any
   responsive materials are being withheld on the basis of that objection. You are currently in
   violation of the Court order of November 5, 2018.

   REQUEST FOR PRODUCTION NO. 11:
          All DOCUMENTS RELATED TO, RELATING TO or CONCERNING the shipment of
   RUNWAY MAGAZINE to vendors, distributors and/or wholesalers between January 1, 2012
   and the date of response to this request.

   Your Objection:
          Defendant objects to this Interrogatory on the grounds that it seeks to obtain privileged
   documentation and contact information regarding business activities outside of the United States
   and that are beyond the jurisdiction of the California [Court].

   Discussion:
           You have made numerous claims in your Answer about your dates of publication of
   Runway Magazine and frequency of Publication. Additionally, you have used the RUNWAY®
   trademark on each publication without payment for said use or a license to use said trademark.
   The Plaintiff has a right to request these materials to determine if your statements made in
   Pleadings are true and justified. Plaintiff does NOT have to take your word for it. Additionally,
   Plaintiff is entitled to this information for the purposes of determining the actual amount of
   damages that will be sought in Court.
           These documents are not privileged in any way. Additionally, though you continue to
   deny the fact, your answer has placed you under the Jurisdiction of the District Court for the
   Central District of California and you MUST comply with lawful discovery or face sanctions.
           You have not provided any of the requested items sought in the request for production
   nor have you either promised to do so or stated you would not. You have not stated whether any
   responsive materials are being withheld on the basis of that objection. You are currently in
   violation of the Court order of November 5, 2018.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 98 of 192 Page ID #:2421



   REQUEST FOR PRODUCTION NO. 12:
          All DOCUMENTS RELATED TO, RELATING TO or CONCERNING
   COMMUNICATIONS between YOU and vendors of RUNWAY MAGAZINE RELATED TO,
   RELATING TO or CONCERNING the RUNWAY™ held by Runway TV, LLC between
   January 1, 2012 and the date of response to this request.


   Your Objection:
         Defendant objects to this Interrogatory on the grounds that these documents do not exist.

   Discussion:
           Plaintiff has some of the correspondence sent to your vendors in its possession and
   Defendant has included some of these correspondence in her own Court filings, a denial of the
   existence or possession of such documents cannot be believed and is perjurious. If these items
   were sent by Email then the Defendant is responsible for obtaining copies from her Email
   provider. You have not even stated if any effort was taken to obtain and or search for such
   documents.
           You have not provided any of the requested items sought in the request for production
   nor have you either promised to do so or stated you would not. You have not stated whether any
   responsive materials are being withheld on the basis of that objection. You are currently in
   violation of the Court order of November 5, 2018.

   REQUEST FOR PRODUCTION NO. 13:
          All DOCUMENTS RELATED TO, RELATING TO or CONCERNING
   COMMUNICATIONS between YOU and GOOGLE, Inc (inclusive of their online Store)
   concerning the RUNWAY™ held by Runway TV, LLC between January 1, 2012 and the date of
   response to this request.

   Your Objection:
           Defendant objects to this Interrogatory on the grounds that these documents from January
   2012 do not exist. Documents from 2017 already has been submitted by Plaintiff in his original
   and first amended complaint to this Court. Defendant does not have additional documents in her
   possession / or they do not exist.

   Discussion:
          Plaintiff has some of the correspondence sent to Google, Inc. in its possession and
   Defendant has included some of these correspondence in her own Court filings, a denial of the
   existence or possession of such documents cannot be believed and is perjurious. If these items
   were sent by Email, then the Defendant is responsible for obtaining copies from her Email
   provider. You have not even stated if any effort was taken to obtain and or search for such
   documents.
          You have not provided any of the requested items sought in the request for production
   nor have you either promised to do so or stated you would not. You have not stated whether any
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 99 of 192 Page ID #:2422



   responsive materials are being withheld on the basis of that objection. You are currently in
   violation of the Court order of November 5, 2018.

   REQUEST FOR PRODUCTION NO. 14:
   All DOCUMENTS RELATED TO, RELATING TO or CONCERNING COMMUNICATIONS
   between YOU and APPLE, Inc. (inclusive of their online store) concerning the RUNWAY™
   held by Runway TV, LLC between January 1, 2012 and the date of response to this request.
   Your Objection:
           Defendant objects to this Interrogatory on the grounds that these documents from January
   2012 do not exist. Documents from 2017 already has been submitted by Plaintiff in his original
   and first amended complaint to this Court. Defendant does not have additional documents in her
   possession / or they do not exist.

   Discussion:
           Plaintiff has some of the correspondence sent to Apple, Inc. in its possession and
   Defendant has included some of these correspondence in her own Court filings, a denial of the
   existence or possession of such documents cannot be believed and is perjurious. If these items
   were sent by Email, then the Defendant is responsible for obtaining copies from her Email
   provider. You have not even stated if any effort was taken to obtain and or search for such
   documents.
           You have not provided any of the requested items sought in the request for production
   nor have you either promised to do so or stated you would not. You have not stated whether any
   responsive materials are being withheld on the basis of that objection. You are currently in
   violation of the Court order of November 5, 2018.

                                     Requests for Admission
         The Court ordered that you respond to this discovery request and described in detail how
   you must respond:

           Pursuant to Rule 36, a party may serve on any other party Requests for Admissions
   (“RFAs”) to obtain any evidence within the permissible scope of discovery. Fed. R. Civ. P.
   26(b)(1), 36(a). RFAs are required to be simple and direct, and should be limited to singular
   relevant facts. See Securities and Exchange Commission v. Micro-Moisture Controls, Inc., 21
   F.R.D. 164, 166 (S.D.N.Y. 1957); see also Dubin v. E.F. Hutton Group, Inc., 125 F.R.D. 372,
   376 (S.D.N,Y. 1989) (objections to RFAs as vague, ambiguous, overbroad and burdensome
   sustained where requests for admissions not simple concise statements of fact, but instead
   contained vague and ambiguous wording that did not allow defendants fairly to admit or deny).
   A request for admission may seek an admission of the genuineness of documents if copies of the
   documents are attached to the request or have been previously furnished or made available for
   inspection and copying. Fed. R. Civ. P. 36(a)(2). A party may properly seek to have another part
   admit or deny a responding party’s understanding of the meaning of a document. See Booth Oil
   Site Admin. Group v. Safety-Kleen Corp., 194 F.R.D. 76, 80 (W.D.N.Y 2000). A request for
   admission may also request “the application of law to fact.” Fed. R. Civ. P. 36(a)(1)(A); see
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 100 of 192 Page ID
                                  #:2423


Marchand v.Mercy Medical Center, 22 F.3d 933, 937 n.4 (9th Cir. 1994) (“Rule 36(a) permits
requests for admission addressing questions of mixed law and fact.”) (citation omitted). A
request for admission may not, however, seek a response on a disputed conclusion of pure law.
See Playboy Enterprises, Inc. v. Welles, 60 F. Supp. 2d 1050, 1057 (S.D. Cal. 1999).
         A matter is admitted unless, within 30 days after being served, the party to whom an RFA
is directed serves on the requesting party a written answer or objection addressed to the matter
and signed by the party or its attorney. Fed. R. Civ. P. 36(a)(3).2 Pursuant to Local Rule 36-2,
the party answering or objecting to requests for admission shall quote each request in full
immediately preceding the statement of any answer or objection thereto. Local Rule 36-2. An
answer to a request for admission must consist of an admission, a denial, or a statement detailing
why the answering party is unable to admit or deny the matter. Fed. R. Civ. P. 36(a)(3), 36(a)(4).
If any portion of a request for an admission is true, the party to whom it is directed must admit
that portion and qualify or deny the rest. Fed. R. Civ. P. 36(a)(4); see Holmgren v. State Farm
Mutual Insurance Co., 976 F.2d 573, 579-80 (9th Cir. 1992). A denial must be specific and must
fairly respond to the substance of the matter. Fed. R. Civ. P. 36(a)(4). Where the meaning of a
particular term in a request is somewhat inexact, the responding party should supply its own
definition and admit or deny, or qualify its admission or denial to make it accurate and
Responsive. See S.A. Healy Co./Lodigiani USA, Ltd. v. United States, 37 Fed. Cl. 204, 205-07
(Fed. Cl. 1997). A qualified denial is proper if the responding party sets forth in detail the
reasons why he or she cannot truthfully deny the matter. Fed. R. Civ. P. 36(a)(4). A party who
responds by claiming an inability to admit or deny must also state that he or she has made
“reasonable inquiry and that the information it knows or can readily obtain is insufficient to
enable it to admit or deny.” Fed. R. Civ. P. 36(a)(4); Asea, Inc. v. Southern Pacific
Transportation Co., 669 F.2d 1242, 1245-47 (9th Cir. 1981); A. Farber & Partners, Inc. v.
Garber, 237 F.R.D. 250, 253-55 (C.D. Cal. 2006). What constitutes “reasonable inquiry” and
what material is “readily obtainable” are relative matters that depend upon the facts of each case.
T. Rowe Price Small-Cap Fund, Inc. v. Oppenheimer & Co., Inc., 174 F.R.D. 38, 43 (S.D.N.Y.
1997). Generally, “reasonable inquiry” for purposes of responding to requests for admission, is
limited to review and inquiry of those persons and documents that are within the responding
party’s control. Id. at 43. A party cannot be forced to admit or deny facts testified to by a third
party as to which the responding party has no personal knowledge. Id. at 46. The validity, or
bona fides of a qualified answer to a request for admission must await trial to see if the
requesting party is forced to prove what was not admitted and can show that there was no good
reason for the opponent’s failure to admit. National Semiconductor Corp. v. Ramtron
International Corp., 265 F. Supp. 2d 71, 74-75 (D. D.C. 2003).

REQUEST FOR ADMISSION NO. 1:
    Admit that YOU are the sole shareholder of EURL ELEONORA DE GRAY.

Your Objection:
        Defendant objects to this request on the grounds that it seeks to obtain copyrighted
materials and/or information regarding business activities that took place outside of the United
States and that are beyond the jurisdiction of the California [Court]
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 101 of 192 Page ID
                                  #:2424



Discussion:
        Your objection makes no sense at all. You were asked to admit that you are the sole
shareholder of EURL Eleonora De Gray. You have neither admitted or denied this Request in
direct violation of the order of this Court stated above.
        You are currently in violation of the Court order of November 5, 2018.
REQUEST FOR ADMISSION NO. 4:
        Admit that YOU filed three (3) Requests (motion) after the filing of the Motion to
Dismiss for Lack of Jurisdiction.

Your Objection:
       Defendant is unable to admit or deny this Request on the grounds that it violates Federal
Rules of Civil Procedure Rule about Discovery requests, as this request for admission based on
determination of litigation of the claims.

Discussion:
       Your objection makes no sense at all. You were asked to admit that you filed 3
motions/requests after the first Motion to dismiss. This was as of the date the discovery was
served upon you. What actions you have taken are not the subject of litigation. Either you must
admit or deny these actions.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 5:
       Admit that Defendant EURL Eleonora De Gray advertised on its website that it is an
American-French magazine produced by Media Group ELEONORA DE GRAY with offices
based in Paris (France), New York and Los Angeles. as of July 30, 2018.

Your Objection:
        Defendant objects to this request on the grounds that it seeks to obtain copyrighted
materials and/or information regarding business activities that took place outside of the United
States and that are beyond the jurisdiction of the California [Court]

Discussion:
       Your objection makes no sense at all. You were asked to admit that EURL Eleonora De
Gray advertised on its website that it is an American-French magazine produced by Media Group
ELEONORA DE GRAY with offices based in Paris (France), New York and Los Angeles. as of
July 30, 2018. Either you must admit or deny statement.
   You are currently in violation of the Court order of November 5, 2018.
REQUEST FOR ADMISSION NO. 7:
       Admit that You signed a license agreement to use the name RUNWAY™ for a magazine
dated April 1st, 2014.
Your Objection:
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 102 of 192 Page ID
                                  #:2425


      Defendant is unable to admit or deny this Request on the grounds that it is vague and
ambiguous, overbroad and unduly burdensome, and uses undefined terms.

Discussion:
        Your objection makes no sense at all. You were asked to admit that you signed a
licensing agreement for the use of the RUNWAY trademark dated April 1, 2014. You must
either admit or deny that action. This request does not ask for the legal validity of said
agreement. Just whether you signed it or not. As you have already admitted in prior filings that
you did sign it and included a copy as an exhibit, to deny this admission would be perjury.
        You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 8:
        Admit that the signed license agreement to use the name RUNWAY™ for a magazine
dated April 1st, 2014 lists as the governing law in paragraph 15 Business Terms/Schedule, United
States of America.

Your Objection:
      Defendant is unable to admit or deny this Request on the grounds that it is vague and
ambiguous, overbroad and unduly burdensome, and uses undefined terms.

Discussion:
         Your objection makes no sense at all. You were asked to admit lists as the governing law
in paragraph 15 Business Terms/Schedule, United States of America. This request does not ask
for the legal validity of said agreement. Just whether the agreement lists as the governing law in
paragraph 15 Business Terms/Schedule, United States of America. As the document speaks for
itself and you have included a copy as an exhibit, to deny this admission would be perjury.
         You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 8 (misnumbered):
        Admit that the on P:1 L:22-23 of the Notice of Motion and Motion to Dismiss under
FRCP Rule 12(b)(2) for Lack of Jurisdiction YOU state YOU have “Partners” in the United
States of America.

Your Objection:
       Defendant is unable to admit or deny this Request on the grounds that it is vague and
ambiguous, overbroad and unduly burdensome, and uses undefined terms. This request is
duplicated previous request. Additionally, this request seeks to obtain privileged documentation
and contact information regarding business activities outside of the United States and that are
beyond the jurisdiction of the California

Discussion:
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 103 of 192 Page ID
                                  #:2426


       Your objection makes no sense at all. You were asked to admit a statement made by
YOU in a Court filing. As the document speaks for itself and you have filed this document with
the Court to deny this admission would be perjury.
       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 9:
    Admit that a partnership is a for-profit business association of two or more persons.


Your Objection:
         Defendant is unable to admit or deny this Request on the grounds that it is vague and
ambiguous, overbroad and unduly burdensome, and uses undefined terms. Additionally, this
request seeks to obtain privileged documentation and contact information regarding business
activities outside of the United States and that are beyond the jurisdiction of the California

Discussion:
       Your objection makes no sense at all. You were asked to admit a statement of fact. As
you have used the term Partnership with in Court filings to deny this admission now would be
perjury.
       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 10:
        Admit that a partnership is a legal entity classified in both the United States and the State
of California as either a General Partnership of a Limited Partnership.

Your Objection:
       Defendant is unable to admit or deny this Request on the grounds that it is vague and
ambiguous, overbroad and unduly burdensome, and uses undefined terms. Defendant has no
connection specifically to California. Additionally, this request seeks to obtain privileged
documentation and contact information regarding business activities outside of the United States
and that are beyond the jurisdiction of the California [Court].

Discussion:
       Your objection makes no sense at all. You were asked to admit a statement of fact. As
you have used the term Partnership with in Court filings to deny this admission now would be
perjury.
       You are currently in violation of the Court order of November 5, 2018.


REQUEST FOR ADMISSION NO. 11:
       Admit that a partnership is a consideration under Federal Law which prohibits a Diversity
Action in any Federal Court of a State in which a Plaintiff and Defendant partner are both
residents.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 104 of 192 Page ID
                                  #:2427



Your Objection:
       Defendant is unable to admit or deny this Request on the grounds that it is vague and
ambiguous, overbroad and unduly burdensome, and uses undefined terms. Defendant has no
connection specifically to California. Additionally, this request seeks to obtain privileged
documentation and contact information regarding business activities outside of the United States
and that are beyond the jurisdiction of the California [Court].

Discussion:
       Your objection makes no sense at all. You were asked to admit a statement of fact. As
you have used the term Partnership with in Court filings to deny this admission now would be
perjury.
       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 13:
        Admit that in an Email dated March 18, 2014 addressed to Michael Cohen YOU stated
““I strongly believe that international trademarks RUNWAY / RUNWAY MAGAZINE belongs
to Vincent. and I strongly believe that we should do everything possible to get USA trademark
also back to Vincent. Otherwise scam and fraud will never stop.”

Your Objection:
       Defendant is unable to admit or deny this Request on the grounds that it is vague and
ambiguous, overbroad and unduly burdensome, and uses undefined terms. Defendant has no
connection specifically to California. Additionally, this request seeks to obtain privileged
documentation and contact information regarding business activities outside of the United States
and that are beyond the jurisdiction of the California [Court]…. This document has been already
submitted in various filing of Defendant to this Court.

Discussion:
         Your objection makes no sense at all. You were asked to admit a statement of fact. You
state in your own response that a copy of this Email has been submitted by you to the Court.
How can you then be unable to admit the existence of this Email?

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 15:
       Admit that YOU registered in France trademarks Runway France / Runway Magazine
France after such time as YOU became aware that the license to use the RUNWAY Magazine™
obtained from James Buccelli in February 2012 was fraudulent.

Your Objection:
Defendant is unable to admit or deny this Request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. Defendant has no connection
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 105 of 192 Page ID
                                  #:2428


specifically to California. Additionally this request seeks to obtain privileged documentation and
contact information regarding business activities outside of the United States and that are beyond
the jurisdiction of the California

Discussion:
       Your objection makes no sense at all. You were asked to admit a statement of fact. You
entered an agreement in 2012 with James Buccelli for the use of Runway Magazine trademark.
How can you then be unable to admit or deny that 2013 (when you registered the French
trademark) was after the 2012 agreement??

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 18:
        Admit that YOU have sent Emails to parties that do business with Runway TV, LLC that
the Plaintiff company is not the real RUNWAY.

Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 19:
         Admit that YOU have sent Emails Apple, Inc. related to the Plaintiff’s App(s) to “Please
remove these applications and ban the user permanently or ban these applications from all other
territories except USA.”




Your Objection:
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 106 of 192 Page ID
                                  #:2429


       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 20:
        Admit that YOU have sent Emails Google.Com related to the Plaintiff’s App(s) to
“Please remove these applications and ban the user permanently or ban these applications from
all other territories except USA.”

Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 21:
       Admit that YOU have sent Email to GoDaddy.Com related to the Plaintiff’s RUNWAY
FRANCE website that it infringes on the RUNWAY MAGAZINE FRANCE intellectual
property.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 107 of 192 Page ID
                                  #:2430


Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 22:
         Admit that YOU have sent Email to LinkedIn related to the Plaintiff’s RUNWAY ™ that
it infringes on the RUNWAY MAGAZINE intellectual property.

Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

 REQUEST FOR ADMISSION NO. 23:
        Admit that YOU have sent Email Instagram related to the Plaintiff’s RUNWAY ™ that it
infringes on the RUNWAY MAGAZINE intellectual property.

Your Objection:
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 108 of 192 Page ID
                                  #:2431


       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 24:
        Admit that YOU have sent Email mikeyaandmproducPons@gmail.com related to the
Plaintiff’s RUNWAY ™ that it infringes on the RUNWAY MAGAZINE intellectual property.

Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 25:
         Admit that YOU have sent Email Julia Perry Style related to the Plaintiff’s RUNWAY ™
that it infringes on the RUNWAY MAGAZINE intellectual property.

Your Objection:
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 109 of 192 Page ID
                                  #:2432


       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.




REQUEST FOR ADMISSION NO. 26:
         Admit that YOU have sent Email Dylan Perlot related to the Plaintiff’s RUNWAY ™
that it infringes on the RUNWAY MAGAZINE intellectual property.

Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.


Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 27:
        Admit that YOU have sent Email Jifff.com related to the Plaintiff’s RUNWAY ™ that it
infringes on the RUNWAY MAGAZINE intellectual property.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 110 of 192 Page ID
                                  #:2433



Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.


REQUEST FOR ADMISSION NO. 28:
       Admit that any rights granted YOU in the contract between the parties have been
extinguished by YOUR failure to pay the required licensing fees.

Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 29:
      Admit that YOU attempted to breach the Attorney Work Product privilege by requesting
documents from L.A. Translations.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 111 of 192 Page ID
                                  #:2434



Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

       Please advise this office as soon as is possible, if it is your intent to provide revised
responses and when, to the Plaintiff’s Requests for the Identification and Production of
Documents and Things as well as the Requests for Admissions served upon you pursuant to
Federal Rules of Civil Procedure, the Local Rules and the Orders of the Court.

       Please advise this office when we can have the telephonic Meet and Confer discussion
required under Local Rule 31-1 within the next 10 days.

       Nothing herein is a waiver of any of my client’s rights, all of which are expressly
reserved herein.

Sincerely:


William D.
        D Goldstein
Attorney for Runway TV, LLC
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 112 of 192 Page ID
                                  #:2435




                                                Exhibit “F”
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 113 of 192 Page ID
                                    #:2436




                                        
                                           
                               
                                          
                                          
                                         !"#


$ %%&!'("%&))&$* ")+(,'&*
&))&$# ")+(,'&*-./0
1$ ,'))'.)2+
"(*3')'( /44516

                                          "2'#7'86

8 ")+(,'&*
 ,$9'$*",&!',:$,;"<=)$*,"%&)'('!"*+",&"*,"!"#=') "<!$*"%!"<8('%&)',:&(#",&"*&%;"<
7')&'2',:$,#;8'(="*('("7>'!,&"*( &,:"<,#'8&,

%&)'+#;8'(="*('(,"&(!"2'8;(&#=);,"%"))"  "<8,8+'83&2'*"2'#7'86 ,&(%"8,:'
 "<8,,"+'!&+':" #;$!,&"*(%&)&*3(*'!'(($8;"8*",

;8'(="*('("7>'!,&"*($8'8')'2$*,,"'$!:$*+'2'8;8'?<'(,;"<('*,'$!:8'(="*('(<=="8,'+7;
)$ $*+(,$,'7$(&(%"8'$!:"7>'!,&"*$*+(,8&!,);%"))" ,:' "<8,8+'8"%"2'#7'86$*+
   

8 ")+(,'&*=)'$('*",' +"*",$83<'!$('&*#;8'(="*('())+"!<#'*,(8')'2$*,,",:'!$(':$2'
7''*$)8'$+;=8"2&+'+7;#'&*+&%%'8'*,%&)&*3,",:&( "<8,"!<#'*,(8')$,'+," &8(,('&*
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 114 of 192 Page ID
                                    #:2437

  "##'8!'@8$+'#$89(8'3&(,8$,&"*(8'!"8+(%8"#$,&"*$))&78$8;"% 8$*!'!"*%&8#&*3+$,'(("!&$)
#'+&$$!!"<*,(%&)'+!8&#&*$)!:$83'($3$&*(,=$8,*'8"%;"<8!)&'*,8.<!!'))&',!";"<+"*A,:$2'
B,",$9'#; "8+%"8C$*;"%#;(,$,'#'*,

@:&(&(,:'8+'8%8"#"2'#7'86B<8(<$*,,"<)'4-70-0"%,:' '+'8$)<)'("% &2&)
                                   
8"!'+<8'BE=F$8,&'(#$;"7,$&*+&(!"2'8;8'3$8+&*3$*;       
           
         !"*(&+'8&*3,:'&#="8,$*!'"%,:'
&((<'($,(,$9'&*,:'$!,&"*,:'$#"<*,&*!"*,8"2'8(;,:'=$8,&'(G8')$,&2'$!!'((,"8')'2$*,
&*%"8#$,&"*,:'=$8,&'(G8'("<8!'(,:'&#="8,$*!'"%,:'+&(!"2'8;&*8'(")2&*3,:'&((<'($*+ :',:'8
,:'7<8+'*"8'H='*('"%,:'=8"="('++&(!"2'8;"<, '&3:(&,()&9');7'*'%&,C '+ &24-70-0
 *%"8#$,&"* &,:&*,:'%"8'3"&*3(!"='"%+&(!"2'8;*''+*",7'$+#&((&7)'&*'2&+'*!',"7'
+&(!"2'8$7)' '+ &24-70-0C

                
 "<8'?<'(,'+
          %8"##'%8"#$*<$8;7$('+"*
*",)'3&,-*",(&3*'+%8"#7",:(&+'(0!"*,8$!,%"8#"*,:(=8&)1 &,:"<,=8"2&+&*3$*;)'3$)
8'$("*%"8,:$,
 %"8#$));$(9'+,"('*+,"#'     @I @ @. .@I
@  :&!: *'2'8:$+ "<"72&"<();8'%<('+,"+"("

  "<#'*,&"*'+,:$,8&2&)'3')"3$(8'?<&8'+&* *(,8<!,&"**<#7'84)'$('*",',:$,,:&()"3!"*!'8*(
 +"!<#'*,((&3*'+=8"+<!'+"*,'88&,"8;"%<*+'8><8&(+&!,&"*"% '+'8$) "<8,-,'88&,"8;0
*;+"!<#'*,(&3*'+"<,(&+'"%><8&(+&!,&"*"% '+'8$) "<8,+"'(*",8'?<&8'$*;$,,"8*';A((&3*$,<8'$(&,
&(=8",'!,'+7;<8"='$**&"*=8&2$!;)$ ($*+ 8'*!:'*$) "+'$ "656-<);4/60
)'$('!"*(<),,:')$ (

  "<$)("8'?<'(,'++"!<#'*,( :&!:$8'=$8,"%!8&#&*$)!$('($3$&*(,=$8,*'8"%;"<8!)&'*,8.<!!'))& 
3$2';"<$++8'(("%$*+,:'+&2&(&"*( :&!:;"<#&3:,)&9',"!"*,$!,&*"8+'8,""7,$&*&*%"8#$,&"*
3&2'*&%;"<7')&'2',:$,,:&(&*%"8#$,&"*&(8')'2$*,,",:'!$('*;+"!<#'*,%8"##'('*,,"7;
 8'*!:")&!''=$8,#'*,$*;!"##<*&!$,&"* &,:"%%&!'8("%"8"%%&!'8("% 8'*!:")&!'$8'
=8&2&)'3'++"!<#'*,$,&"*$*+$)("=8",'!,'+7; 8'*!:)$ $("*'!$('&($)8'$+;!)"('+7<,$*",:'8&((,&))
"*3"&*3$*+!"*!'8*(8'!"2'8;"%!'8,$&*+"!<#'*,($*+,:&*3(%8"#8.<!!'))& %;"<7')&'2',:$,,:&(
  "<8, &))3&2'#'8&,,";"<8#",&"*$*+$))" ,"=8"+<!'=8&2&)'3'++"!<#'*,(&*%"8#$,&"*"%"*3"&*3
!8&#&*$)!$(' &,:$*+ 8'*!:")&!''=$8,#'*,*",8')'2$*,,",:'!$('J;"<#$;!'8,$&*);+"("

 "<#$;$)("!:$*3';"<88'?<'(,($*+8'?<'(,"*);8')'2$*,$*+*"*=8&2&)'3'++"!<#'*,($*+#$,,'8(
)'$(')',#'9*" &%;"< "<)+)&9',"8'2&(';"<88'?<'(,(

)'$('*",',:$, :$2'*",:&*3,"$++,"#;8'(="*('(,";"<88'?<'(,(('*,,";"<"2'#7'86

   "*!'8*&*3;"<88'?<'(,,":$2',')'=:"*&!!"*%'8'*!''',$*+ "*%'8<*+'8"!$)<)'5
)'$('*",',:$, A# 8'*!:!&,&K'*8'(&+'*,"% 8$*!'$*+$!!"8+&*3," 8'*!:)$  %"8#$));8'?<'(,,:$,
&,A))7'!"*+<!,'+"* 8'*!:)$*3<$3'7;         @@J,"$2"&+$*;
#&(<*+'8(,$*+&*3"8#&(&*,'8=8',$,&"*( "<$8'&*&,&$,&*3,:&(,')'=:"*&!!"*%'8'*!'J("&,&(;"<8
8'(="*(&7&)&,&'(,"$88$*3',:$,
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 115 of 192 Page ID
                                    #:2438

 %;"<A+)&9',"!"*+<!,,:&(,')'=:"*&!!"*%'8'*!'=)'$('=8"2&+',:'*$#'$*+(,$,<("%( "8*,8$*()$,"8
:&("%%&!'%"82'8&%&!$,&"*$*+=8"="('+&%%'8'*,+$,'(

 $)("%"8#$));&*%"8#;"<,:$,$!!"8+&*3," 8'*!:)$ $*;)'3$)!"##<*&!$,&"* &,:=$8,;"<,(&+'"%
<8"=' 8$*!'(:"<)+7'+"*'7;#$&)'#$&)8'!"8+( "<$8'&*&,&$,&*3,:&(,')'=:"*&!!"*%'8'*!'J("
&,&(;"<88'(="*(&7&)&,&'(,"$88$*3',:$,
 %;"<A+)&9',"!"*+<!,,:&(,')'=:"*&!!"*%'8'*!'=)'$('=8"2&+',:'*$#'$*+(,$,<("%$*"%%&!&$)
8'=8'('*,$,&2' :"A))7'8'!"8+&*3,:&(!"*2'8($,&"*#'$*&*3(,"8'!"8+

 9&*+);$38''+,"!"*+<!,$))!"##<*&!$,&"*&*!)<+&*3'',$*+ "*%'87;'#$&),"%$!&)&,$,'+,:'
=8"!'((%"8;"<$*+ &,:38'$,8'(='!,,",:&( "<8,
"=)'$('$+2&(':" ;"<A+)&9',"=8"!''+J7;'#$&)"8$88$*3''2'8;,:&*3*'!'(($8;7;+'#$*+($*+
8'?<&8'#'*,("% 8'*!:)$ %"8,:',')'=:"*&!!"*%'8'*!'

  "8$*;?<'(,&"*($7"<, 8'*!:)$ $*+)'3$)=8"!'+<8'("<,(&+'"%<8"='$**&"*=)'$('!"*(<),
,:')$ ($*+=)'$('+"*",$83<',:')$ ( &,:#' A#'%'*+$*,8"='8$*+ A#*",:'8',"+&(!<((
;"<8&*,'8=8',$,&"*"%,:')$ ()'$('8'#'#7'8,:$, '+'8$) "<8,:$(><8&(+&!,&"*"*);"*,'88&,"8;"%
 *",:'8!$('()&9',:&("*' 8'*!:)$ ($7"<,!"*+<!,&*3!"*%'8'*!'(#'',$*+!"*%'8(:"<)+7'
8'(='!,'+(,:';$8'8'(='!,'+7; '+'8$) "<8,((,$8,&*3 &,:('82&!'"%,:'!"#=)$&*, :&!:$( '
7",:9*" :$(*",7''*+"*'%"8,:'%"))" &*38'$("*L2&")$,&"*"%,:' "<8,8+'8%8"#<*'4
6&*('82&*3!"#=)$&*,,"#'$*+8"('!<,"8"% 8$*!'8'%<('+('82&!'"* 8'*!:=$8,&'($(:'
+','8#&*'+%8&2")"<(*$,<8'"%,:&(!$('

++&,&"*$));=)'$(')',#'9*" &%;"<A+)&9'#',"8'(="*+,"'$!:+&(!<((&"*;"<('*, A))7'$7)',"
+"("7; 8&+$;"2'#7'86

M&*+8'3$8+(

"2'#7'86
$8&( 8$*!'




)'"*"8$+' 8$;
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 116 of 192 Page ID
                                  #:2439




                                              Exhibit “G”
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 117 of 192 Page ID
                                LAW OFFICES OF
                                  #:2440
                                      WILLIAM D. GOLDSTEIN
                                             4030 Sawtelle Blvd.
                                        LOS ANGELES, CALIFORNIA 90066
                                         TELEPHONE: (310) 437-0108
                                          FACSIMILE: (323) 372-3589

                                 E-MAIL: WDGOLDSTEIN@WDGOLDSTEIN.COM



                                        November 27, 2018

                              MEET AND CONFER LETTER
ELEONORA DE GRAY                                 Via Email: infodegray@gmail.com
OFFICIAL RUNWAY MAGAZINE
23-25, rue Jean Jacques Rousseau
75001 Paris, France

Dear Ms. De Gray:

       This letter is intended to conform with both the FRCP and Local Rule 37-1 related to the
required Meet and Confer process prior to the filing of Motions to Compel, et al under FRCP
Rule 37.

       Thank you for your timely response.

       I wish to make certain I correctly understand your letter. I believe it states:
       1. You have no intention of modifying your objections and/or provide additional
           information.
       2. You will not correct the failure to either Admit or Deny many of the Requests for
           Admission.
       3. You will not correct the responses to the requests where you stated you could not
           admit or deny, despite the Courts instructions on what must be stated in that case and
           where this failure applies?
       4. You are claiming privilege on most of the document requests but will not describe the
           documents being withheld due to Privilege in the manner specified in instruction
           number 6?
       5. You refuse to provide any of the documents requested?
       6. You will not correct the responses to the Requests for Admission that are
           contradictory as you refuse to admit or deny then state that the factual statements
           relate to your attorney acting on your behalf.

        You offer to comment on the discussion sections of my Meet and Confer letter is greatly
appreciated and I would appreciate your feedback. I have tried to state the legal reasons in each
case as to why the Plaintiff is entitled to an appropriate response and why objections listed are, in
my opinion, not warranted or do not exist. Additionally, especially in the Requests for
Admissions, many responses are self-contradictory as you state you can neither admit or deny an
action you that you later state was taken by your attorney, acting on your behalf, who is your
agent and by provided definition, is the “YOU” referred to in the Requests.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 118 of 192 Page ID
                                  #:2441


        Be warned, it is my opinion that the Court will agree with my comments in the vast
majority of the issues I point out. Your stonewalling this discovery may well finally subject you
to sanctions as the Court warned in its November 5, 2018 ruling.

       This is your opportunity to correct the many legal errors you have committed in your
responses to these Discovery Requests.

        I would advise you to look up what communications are considered “Privileged” under
United States law if it is your contention that this is applicable to the types of documents
requested or to the Request for Admissions. You might also look up the legal definitions of
“vague and ambiguous, overbroad and unduly burdensome” as you are not using these objections
properly. Additionally, the Court has advised you what must specifically be stated if you deny
that documents exist. You should read the Court’s orders as your responses fail even the most
minimum of standards set forth therein.

        You have repeatedly advised me that you both speak and read English. Your prompt
responses to Meet and Confer letters and well as numerous motions convince me that this is a
fact. As such, I am under no obligation to provide a translator for our telephonic Meet & Confer
on this discovery. There are no rules which require that a Discovery conference between Counsel
be translated or recorded. That said, the only applicable rule in the Local Rules and FRCP is that
all proceedings be conducted in the English Language (with the exception of witness testimony
with a Court appointed translator) and that all documents submitted to the Court be accompanied
by an English translation. Unfortunately, the Local Rules require that said Meet and Confer be
by telephone and not in writing.

        Finally, you keep referring to French law. This case is in the United States District Court
for the Central District of California. Your citizenship and French law have no effect of
permissible discovery.

       Please advise this office when we can have the telephonic Meet and Confer discussion
required under Local Rule 37-1 within the next 9 days (prior to December 6th) .

       Nothing herein is a waiver of any of my client’s rights, all of which are expressly
reserved herein.

Sincerely:


William D.
Willi   D Goldstein
           G ld t i
Attorney for Runway TV, LLC
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 119 of 192 Page ID
                                  #:2442




                                              Exhibit “H”
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 120 of 192 Page ID
                                    #:2443




                                        
                                           
                               
                                          
                                          
                                         !"#


$ %%&!'("%&))&$* ")+(,'&*
&))&$# ")+(,'&*-./0
1$ ,'))'.)2+
"(*3')'( /44516

                                          "2'#7'86

8 ")+(,'&*
    +"*9,9('' :$, !$*#"+&%;&*#;"7<'!,&"*(8'(="*('($(;">8'?>'(,'+=8&2&)'3'+#$,'8&$)(
      "8#$,'8&$)(*",8')'2$*,,",:'!$('"*); $)("=8"2&+'+,";">)$ (7$('+"* :&!: 9#*",
      +&(!)"(&*3=8&2&)'3'+&*%"8#$,&"* $)("=8"2&+'+,";">$++8'(("%"83$*&@$,&"*-0,"
        :";">#$;$++8'((;">88'?>'(,&%;">9+)&A',"$!!'(($*;+"!>#'*,$,&"*!"*!'8*&*3=$8,*'8
      "%;">8!)&'*,8.>!!'))&
    $++'+'B=)$*$,&"* :; '*,'8'+'&,:'8$+#&,"8+'*;,"("#'$+#&((&"*8'?>'(,$*+ +"*9,
      ('':"  !$*!"88'!,&, $)("=8"="('+;">,"!"88'!,;">88'?>'(,(7$('+"*#;'B=)$*$,&"*
    8 ")+(,'&*$==$8'*,); ':$2'+&%%'8'*,>*+'8(,$*+&*3"% ">8,&*(,8>!,&"*( 8"##;(&+' 
      (,8&!,);%"))" '+,:' ">8,8+'8
   1 *;+&(,8&7>,&"*"8=$8,*'8(:&=!"*,8$!,;">8'?>'(,'+$8'">,(&+'"% '+'8$) ">8,<>8&(+&!,&"*
      (&3*'+$*+!"*+>!,'+&*>8"=' 8$*!'$*+,:'8'%"8',:';$8'>*+'8=8",'!,&"*"%>8"='$*
      )$ ($*++"*",8'?>&8'$*;+'(!8&=,&"*++&,&"*$));+"!>#'*,(;">8'?>'(,'+$8'*",8')'2$*,
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 121 of 192 Page ID
                                    #:2444

      ,",:'!$('$*+;">88'?>'(,(+&8'!,'+,""7,$&*&*%"8#$,&"*$7">,#;7>(&*'(($*+"*);$*+
      *",+&(!"2'8;8')'2$*,,",:'!$('C:&(>*+'8(,$*+&*3"%;">8+&(!"2'8;8'?>'(,(7$('+"*
      #>),&=)'$7>('(!"*+>!,'+7;;">+>8&*3,:&(=8"!'((D&*,'88"3$,&"*#; &,*'(( 8'*!: &,&@'*
      '3$)8'=8'('*,$,&2'"%&*&(,8;"%>(,&!'- :"9(*",8'(="*(&7)'"%$*;+')&2'8;0 &,:">,#;
      ='8#&((&"*"8 ">8,8+'8 :"3$2'E  F8&3:,(,"!"*,$!,:&#"*);,",:' ">8,$(&,
        $(#'*,&"*'+&*",&"*,"&(#&((G;">'*3$3'+2$8&">( 8'*!:&*+&2&+>$)( :"$8'*",
      8')$,'+,",:'!$('+"*",:$2')'3$)(,$,>("%$,,"8*';&* 8$*!',"!$)) 8&,'," 8'*!:
      &*&(,8;"%>(,&!'$*+'B=8'(("=&*&"*$7">,#'#;!"#=$*;$*+,:&(!$(' :&!:&(
      +'%$#$,&"*7;+'%&*&,&"*G=>7)&(:&*3"*=>7)&!(">8!'("%,:&(!"#=)$&*, &,:!'8,$&*!"##'*,(
      +&8'!,'+,""7,$&*$!!'((,"#;!)&'*,("8=$8,*'8(-('''B:&7&,(,"",&"*,"&(#&((
      =="(&,&"*,"",&"*,"B,'*+0('*+&*3,:&(!"#=)$&*,,"#;=$8,*'8(!)&'*,(A*" *,";">
        &,:,:'($#'8'$("*H,""7,$&*$78>=,!"))$7"8$,&"* &,:#'$*+&*(,$))!"))$7"8$,&"* &,:;">
      !)&'*,9(!"#=$*;;">
    ">8'?>'(,'+,"=8"2&+',:'+"!>#'*,(!"*!'8*&*3#;7>(&*'((#;=8&2&)'3'++&(,8&7>,&"*
      =$8,*'8(:&=$*+!)&'*,(!"*,8$!,( &,:">,$*;'B=)$*$,&"*:" &,!">)+7'8')'2$*,,",:',:'
      !$('*;+&(,8&7>,&"*"8=$8,*'8(:&=!"*,8$!,;">8'?>'(,'+$8'">,(&+'"% '+'8$) ">8,
      <>8&(+&!,&"*(&3*'+$*+!"*+>!,'+&*>8"=' 8$*!''$!:$*+'2'8;:$2'!"*%&+'*,&$)&,;
      *",&!'$*+,:'8'%"8',:';$8'>*+'8=8",'!,&"*"%>8"='$*)$ ( ">8'?>'(,'+,:'+"!>#'*,(
      !"*!'8*&*3!)"('+$*+"*3"&*3!8&#&*$)!$('($3$&*(,=$8,*'8"%;">8!)&'*,8.>!!'))&
      !"*+>!,'+7; 8'*!:")&!'$*+"(*3')'(")&!''=$8,#'*, 9#*",&*,:'="(&,&"*,"
      +&(!)"(',:'# 3$2';">,:'$++8'(($*++&2&(&"*(," :";">#$;$++8'((;">88'?>'(,(&%
      ;">7')&'2',:$,&,&(8')'2$*,,",:&(!$('
   4 8'(="*+'+,";">,:$,,:'('8'?>'(,($8'2$3>'"8!"*%>(&*3 =8"2&+'+,";">'B=)$*$,&"*
        :; ">$8'&*,'*,&"*$));!"*%>(&*3 ,#"%;">8!)&'*,$*+   
      ,# :&!:7')"*3(,"#' $)("=8"="('+;">,"!"88'!,;">88'?>'(,(&*"8+'8%"8#',"+'*;"8
      $+#&,

 9))!"##'*,"*,:'+&(!>((&"*('!,&"*("%;">8'',$*+ "*%'8&%;">$))" #')'$('*",',:$, 9#
*",$7)',"+'+&!$,':"%#;,&#'+$&);,"8'(="*+,";">8)"*3)',,'8($*+," 8&,'=$3'("%
!"##'*,(C:'8'%"8' 9))7'$7)',"(>7#&,,";">#;8'(="*('("%+&(!>((&"**")$,'8,:$*"*+$;
'!'#7'86

 9+:&3:);$==8'!&$,'&%;">(,"='B=8'((&*3;">8"=&*&"*"* ">8,8>)&*3$(#>!:$( 9#$ $8'"%;">
$8'*",<>+3'&*,:&( ">8,$*+;">+&(8'3$8+#>),&=)'$7>('("%=8"!'((!"*+>!,'+7;;">;">8!)&'*,
+>8&*3,:'=8"!'+>8',:$,!"#=)$&*,&(*",('82'+"*#'"8#;!"#=$*;-"8&3&*$)%&8(,$#'*+'+
!"#=)$&*,0
 9+$+2&(';">,")""A&*,">8"='$*$*+ 8'*!:)$ (!"*!'8*&*3 :$,&,#'$*(I8&2&)'3'+J$*+:" 
;">!$*8'?>'(,=8&2&)'3'++"!>#'*,(('$)'+7;!"*%&+'*,&$)&,;*",&!'(&3*'+&*>8"='">,(&+'"%
  '+'8$)>8&(+&!,&"*$*+*",!$('8')$,'+ 9+$)("$+2&(';">*",,"'B=8'((;">8"=&*&"*$7">,:"  
8'(="*+," ">8,8+'8($*+:" (,8&!,); %"))" $(&,&(*",;">8=)$!'"8="(&,&"*,"+"("  '))
(,$,'+!"*!'8*&*3("#'+"!>#'*,(&%,:';'B&(,"8+"*",'B&(,

8 ")+(,'&* $)8'$+;(>33'(,'+;">*",,"+&(!>((#'8&!$*"8 8'*!:)$ ( &,:#' $)8'$+;
(>33'(,'+;">,"!"*(>),,:')$ (>8"='$*)$ ((='!&%&!$));!"*!'8*&*3&*,'88"3$,&"*+&(!"2'8;
#'',!"*%'8$*+(='!&$));!"*!'8*&*3,')'=:"*'!"*%'8'*!' ">8$7('*!'"%A*" )'+3'$7">,,:&(
(>7<'!,+"'(*9,'B!>(';">"8$))" ;">,"!"*+>!,$*;,')'=:"*'!"*%'8'*!'( &,:!&,&@'*("%",:'8
!">*,8&'(+>8&*3)&,&3$,&"* &,:">,8'3>)$,&"*(&#="('+7;)$ ("%,:'('!">*,8&'(( '))$(;">!$*9,
&#="('#'$+$,' :&!:&(!"*2'*&'*,,";">
 9#%)>'*,&*)$*3>$3'(8 "+)(,'&*7>,&,+"'(*9,#'$*,:$,;">!$*%8'');&*,'88"3$,'!"*+>!,
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 122 of 192 Page ID
                                    #:2445

#'',$*+!"*%'8 &,:#'%8"#$*",:'8!">*,8;+>8&*3)&,&3$,&"*">,(&+'"%<>8&(+&!,&"*"%;">8!">*,8;
 &,:">,8'(='!,&*3)$ ("%,:'!">*,8;"%#;!&,&@'*(:&=

*'($3$&*D$*;#'',$*+!"*%'8&*,'88"3$,&"*+&(!"2'8;+>8&*3)&,&3$,&"*=8"!'(($!!"8+&*3,"
  8'*!:)$ :$=='*(  &,:,:'=8'('*,("%( "8*,8$*()$,"8"* 8'*!:,:&(!"*2'8($,&"*&(
8'!"8+'+7;$*",:'8='8("*"8"*8'!"8+&*3+'2&('$*+,:'* 8&,,'*$*+(&3*'+7;,:'($#'( "8*
,8$*()$,"8$))+',$&)("%,:'8'!"8+&*3$8'=8'('*,'+,""7('82$,&"*#; 8'*!:$,,"8*';$)("=8'('*,(
;">$8'&*&,&$,&*3,:&(!"*%'8'*!';">(:">)+=8'('*,,"#',:'=)$*"%+&(!>((&"*(>7<'!,7;(>7<'!,
=8"="('+$,'(%"8#;!:"&!'$)("3&2'*$#'$++8'(($*+*>#7'8"%( "8*,8$*()$,"8 :" #$;
!"*,$!,)$,'8%"8$++&,&"*$)+',$&)(&%*'!'(($8;
 =8"="('+;">,"!"*+>!,'',$*+ "*%'87;'#$&)$(&,&($)("$!!'=,$7)'#'$*($!!"8+&*3," 8'*!:
)$ $*+#$*;,&#'(=8"%%'8'++>8&*3)&,&3$,&"*$(,:')$ (!"*!'8*&*3,:'8'!"8+&*3"%,')'=:"*'
!"*%'8'*!'$8'2'8;(,8&!,

 A''=8'%'88&*3," 8'*!:)$ ($(;">!)'$8);+"*9,A*" :" )&,&3$,&"*:$=='*(C:&( ">8,$)8'$+;
+','8#&*'+,:$,,:'8'9(*"<>8&(+&!,&"*"2'8#'"8#;!"#=$*;&*&(,8&!, ">8,"% $)&%"8*&$'2'*&% 
'*,'8'+#;*( '8 9#(,&))!&,&@'*"% 8$*!'8'(&+&*3&* 8$*!'("$)) 8'*!:)$ (&*!)>+&*3('82&!'
"%!"#=)$&*,&*,'88"3$,&"*(+&(!"2'8&'($*;&*,'8$!,&"*($8' .
"&%;">9+)&A',"!"*+>!,,')'=:"*'!"*%'8'*!'=)'$('=8"2&+'#' &,:&*%"8#$,&"*$(+'(!8&7'+

L&*+8'3$8+(

"2'#7'86
$8&( 8$*!'




)'"*"8$+' 8$;
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 123 of 192 Page ID
                                  #:2446




                                                 Exhibit “I”
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 124 of 192 Page ID
                                LAW OFFICES OF
                                  #:2447
                                     WILLIAM D. GOLDSTEIN
                                            4030 Sawtelle Blvd.
                                       LOS ANGELES, CALIFORNIA 90066
                                        TELEPHONE: (310) 437-0108
                                         FACSIMILE: (323) 372-3589

                                E-MAIL: WDGOLDSTEIN@WDGOLDSTEIN.COM



                                       November 28, 2018

                                MEET AND CONFER LETTER

ELEONORA DE GRAY                                                       Via Email: infodegray@gmail.com
OFFICIAL RUNWAY MAGAZINE
23-25, rue Jean Jacques Rousseau
75001 Paris, France

Dear Ms. De Gray:

       This letter is intended to conform with both the FRCP and Local Rule 37-1 related to the
required Meet and Confer process prior to the filing of Motions to Compel, et al under FRCP
Rule 37.

        If I am understanding your letter of today, you refuse to modify any of your responses or
provide any of the requested documents to the specific Discovery Requests I have made. I am
willing to read through any comments you have regarding my discussion of the reasons why I
believe you must respond to my discovery. That said, the only reasons I would withdraw the
requests is if you provide me with acceptable objections under United States law. Not those you
are alleging under French law.

        If I am understanding your letter of today, you are unwilling to have a informal
telephonic Meet & Confer as regards your Discovery Responses as required under the Local
rules and the Courts orders. These conversations are intended to avoid the Courts need to deal
with Discovery Issues. Instead, you insist that any telephonic Meet and Confer utilize a certified
French translator (which you also state is not required for your understanding of what is being
said as you claim to be fluent in English) and a Court reporter to compile a transcript of said
conversation. All of which you insist be arranged and paid for by my client.

       The more formal discussion is not going to happen unless you provide for those services.
My client will not fund these unnecessary expenses. Additionally, the District Court operates
under United States law, to which you have granted jurisdiction over you, by way of your having
answered the complaint. Not your understanding of French law you allege must be followed.

       I have offered to you the option of requesting any day and time (between 6:00AM and
6:00PM Los Angeles time) up until December 6, 2018, during which I can call for the required
Meet and Confer. Rather than stating your preference, you insist that I provide you with 5
options. Therefore, please advise me which of these day and times I can call.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 125 of 192 Page ID
                                  #:2448



       Thursday 11/29 at 4:00PM Paris Time.
       Friday 11/30 at 4:00PM Paris Time.
       Monday 12/3 at 4:00PM Paris Time.
       Tuesday 12/4 at 4:00PM Paris Time.
       Wednesday 12/5 at 4:00PM Paris Time.

       If you refuse to speak with me under the informal conditions indicated above, or under
the proposed formal conditions at your expense, Please notify me in your response.

       Nothing herein is a waiver of any of my client’s rights, all of which are expressly
reserved herein.

Sincerely:


William D.
Willi   D Goldstein
           G ld t i
Attorney for Runway TV, LLC
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 126 of 192 Page ID
                                  #:2449




                                                 Exhibit “J”
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 127 of 192 Page ID
                                    #:2450




                                         
                                            
                                
                                           
                                           
                                          !"#


$ %%&!'("%&))&$* ")+(,'&*
&))&$# ")+(,'&*-./0
1$ ,'))'.)2+
"(*3')'( /44516

                                           "2'#7'8/6

8 ")+(,'&*
 9":',9$,;"<<*+'8(,$*+,9$,;"<88'=<'(,&($7<(&2'$*+(&#:);&))'3$)>;"<$8'$*$,,"8*';
:8'('*,&*3"::"(&*3:$8,;8'=<'(,&*3 ,')':9"*'!"*%'8'*!'$!!"8+&*3,"  $*+
"!$)<)'58')$,'+,",9'8'=<&8'+'',$*+ "*%'8:8"!'((:8&"8,",9'%&)&*3"%",&"*(,"
  "#:')',$)<*+'8  <)'+<8&*3,9' '+'8$))&,&3$,&"*
  "<$8'&*&,&$,&*3,9&(,')':9"*'!"*%'8'*!'("$*;%"8#$)!"*+&,&"*((9"<)+7'+"*'$,;"<8'?:'*('
@9'&*&,&$,"8&(,9'"*' 9"A(8'(:"*(&7)'%"8$*;'?:'*('(%"8$*;%"8#$)$!,&"*(%8"#;"<8(&+' A#
*",8'=<'(,&*3$*;,')':9"*'!"*%'8'*!' &,9;"<(" +"*A,('' 9;;"<,9&*B (9"<)+7'8'(:"*(&7)'
%"8$*;%"8#$)$!,&"*(&*&,&$,'+7;;"<*;%"8#$)$!,&"*()&B',9&(!"#:)$&*,"8;"<8%''( 9&!9;"<
!"*(,$*,);$(B,9&( "<8,,"7':$&+$8'%"8#$)$!,&"*(&*&,&$,'+7;;"<;"<8!)&'*,(";"<$8',9'"*'
  9"A(8'(:"*(&7)'%"8$))'?:'*('(8')$,'+,"&,
 38$!&"<();:8":"('+;"<,"!"*+<!,'',C "*%'87;'#$&)(- 8&,,'*+"!<#'*,'+%"8#$)
+&(!<((&"*0$(&,&($!!':,'+7; 8'*!9)$ &*,9'!$(' 9'*,9' 8'*!9:$8,;$38''(("&, "*A,7'
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 128 of 192 Page ID
                                    #:2451

7<8+'*("#'%"8;"<::$8'*,);;"<+"*A,$::8'!&$,'#;3'(,<8'.<,&,&(<:,";"<$!!':,&,"88'%<('
&,

 A))3&2';"<#;$*( '8("*;"<8+&(!<((&"*7;"*+$;'!'#7'86 9":';"<!$*<*+'8(,$*+
,9$, *''+,&#',"8'$+:$3'($*+ 8&,'#;$*( '8( "<!$*"%!"<8('%&)';"<8",&"*," "#:')
7'%"8'#;$*( '8,";"<8+&(!<((&"*($(;"<+&+:8'2&"<(); %;"<:)$*,"%&)'",&"*," "#:')
&##'+&$,');:)'$(')',#'B*" ("  "*A,(:'*+#;,&#'$*( '8&*3,";"<8+&(!<((&"*

 $)8'$+;:8"2&+'+;"< &,9"7D'!,&"*(7$('+"*)$ <8":'$*)$ $*+ 8'*!9 8&#&*$))$ $(
;"<8'=<'(,&*3:8&2&)'3'++"!<#'*,( 8&,,'*"<,(&+'"%,'88&,"8;"%$*+<*+'8:8",'!,&"*"%
<8":'$*)$ ( "<#$;!"*(<),)$ ($*+7'8'$((<8'+,9$, '+'8$) "<8,(+"*",$!,"<,(&+'"%
,'88&,"8;$)("$))<8":'$*)$ ($8'8'(:'!,'+ '+'8$) "<8,(!$*A,%"8!'<8":'$*!"#:$*&'(
:8"2&+':8&2&)'3'++"!<#'*,((&3*'+&*<8":'!$*A,($*!,&"*<8":'$*!"#:$*&'( %,9';+"
  '+'8$) "<8,$) $;(9$2'E ('8&"<(38"<*+%"8,9$, "<!$*7'8'$((<8'+,9$, '+'8$) "<8,
+"'(*A,$!,"*"*'!"*,8$!,%"8#"*,9(*'2'8(&3*'+ &,9"<,#'+&$,"8("8#$*+$,"8;!)$<(' * "<8,
8+'8$,<);46,9&( "<8,$)8'$+;,")+;"<,9$,   @ @  
F.  @.<,"%!"<8(';"<&3*"8'+&,
2'*&% A# &))&*3:$8,&!&:$,'&*,9&(!$('$($:8":'8 A#(,&))8'#$&*&*3<*+'8 8'*!9)$ (2'8;
#<!98'(:'!,'+7; '+'8$) "<8,"%))8'=<'(,'++"!<#'*,($8':8&2&)'3'+$*+(&3*'+"* 8'*!9
,'88&,"8;(";"<#$;*",!"*(&+'8 8'*!9)$ (7<,,9&( "<8,!'8,$&*); &))
)'$('$)("B'':&*#&*+,9$,;"<8'=<'(,'++"!<#'*,("%#;!"#:$*;)),9'('+"!<#'*,($8'
:8":'8,;"%#;!"#:$*;*",#&*'(";"<(9"<)+$++8'((  &*,9$,
#$,,'8G'':&*#&*+,9$,;"<+&+*A,('82'"*,9&(+'%'*+$*,*"$::'$8$*!'9$(7''*#$+'";"<
!$*A,('*+#'8'=<'(,($++8'(('+,"",9'8'%'*+$*,&*,9&(!$(' A#'%'*+$*,:8":'8:9;(&!$)
:'8("*$*+8'=<'(,(,":8"2&+'+"!<#'*,(H:8":'8,;"%$7<(&*'(('*,&,;;"<!$*A,('82'"*#'

*'($3$&* (<33'(,;"<,"#"+&%;;"<88'=<'(,($*+8'=<'(, 8')'2$*,,",9'!$('$*+
*"*:8&2&)'3'++"!<#'*,()'$('B'':&*#&*+,9$,&*#;"::"(&,&"*,";"<8('!"*+#",&"*,"!"#:')
 A))%&)'$))#$,'8&$)'2&+'*!'$7"<,;"<;"<8!)&'*,$7<(&2'$!,&"*(+<8&*3,9&(:8"!'((> 8&,&*3,"#;
!)&'*,(:$8,*'8($*+:8":"(',9'#,"!$*!')!"*,8$!, &,9#;!"#:$*;$*+(&3*!"*,8$!, &,9;"<
;"<8!)&'*,+'*&38$,&*3:<7)&!:"(,( &,9:<7)&!);+&(:)$;'+!"#:)$&*, 8&,&*3,"("!&$)#'+&$
*', "8B( &,9+'#$*+(,"8'#"2'("!&$):8'('*,("%#;!"#:$*;'*3$3&*32$8&"<(&*+&2&+<$)($*+
8'=<'(,&*3,9'#,"!$))," 8'*!9$<,9"8&,&'($*++&(,8&7<,'+'%$#$,&"*$7"<,#'$*+#;!"#:$*;.'
8'$((<8'+,9$,!'8,$&*); A))7'$7)',":8"2',",9' "<8,,9$,;"<88'=<'(,($8'*",8')$,'+,"+&(!"2'8;
&*,9&(!$('7<,+&8'!,'+,"!"))'!,!)&'*,+$,$7$('"%#;!"#:$*;&*,'))'!,<$):8":'8,;$((',($*+
:8&2&)'3'++"!<#'*,(8')$,'+,"!8&#&*$)!$('("%:$8,*'8"%;"<8!)&'*,&*"8+'8,"+&(!"2'8 9$, 9$2'
&*#;:"(&,&"*!"*!'8*&*3&+'*,&,;,9'%,%')"*;$*+%8$<+"%8.<!!'))& 9$,9$(7''*(<7#&,,'+,"
 9&!9!'8,$&*);$))" ,",$B'*'!'(($8;$!,&"*($3$&*(,$*;"*3"&*3&*2'(,&3$,&"*
 *$++&,&"* A))!'8,$&*);#'*,&"*,9$, ('*,;"<('2'8$)%"8#$)8'=<'(,(7<,;"<@@  
@E @F  @ @ @F.@F @7$('+"* 9&!9;"<
+'#$*+D<8&(+&!,&"*&*,9&( "<8,$*+:8&2&)'3'++"!<#'*,("%#;!"#:$*; +"*A,7')&'2',9$, 9$2'
,"('*+;"<$8'=<'(,&*,9'%"8#D<(,%"8,9$,.<,&%&,A))!"#',"&,H A))!'8,$&*);+"(" A))$)("3&2'
#;'?:)$*$,&"*"%;"<88'%<($) "<8'%<('+,"('*+#'"8&3&*$)!"*,8$!,$(;"<$8'2'8; '))$ $8'
,9$,,9&(!"*,8$!,&(*A,)'3&,$*+;"<$)("B*" ,9$, A))('*+,9&(!"*,8$!,,"$( "8*'?:'8, 9"A))
!'8,$&*);:8"2'$*+!'8,&%;,9$,,9&(!"*,8$!, $((&3*'+7;;"<8!)&'*,"*);&*:8&)$%,'8#;
  8'*!9$,,"8*';#'*,&"*'+,9$,9'A(+&(,8&7<,&*3*",)'3&,!"*,8$!,,"("!&$)#'+&$*', "8B(#;
:$8,*'8(#;!)&'*,('2'*&*!)<+&*39'8
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 129 of 192 Page ID
                                    #:2452

8 ")+(,'&*&%$,,9&(:"&*,;"<9$2'*",9&*3,"$++:)'$('$))" #'%' +$;(,""*+$;'!'#7'8
6," 8&,':$3'("%!"##'*,("*;"<8+&(!<((&"*($*++"*",'*,'8&*)"*3$*+<**'!'(($8;
+&(!<((&"*"%;"<8&*,'8:8',$,&"*"%)$ ("8;"<8,"<39($7"<,9" ,9&( "<8, &)):8"!''+;"<#$;
!'8,$&*);(,":;"<8,98'$,($( A#*",9'8'%"8,9$,$*+!'8,$&*);9$2'*",9&*3,"$++," 9$, $)8'$+;
($&+ A+9&39);$::8'!&$,'&,
*+ !'8,$&*);8'=<&8'("#',&#',"8'$+;"<8+&(!<((&"*($*+ 8&,',9'!"##'*,(



G&*+8'3$8+(

"2'#7'8/6
$8&( 8$*!'




)'"*"8$+' 8$;
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 130 of 192 Page ID
                                  #:2453




                                               Exhibit “K”
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 131 of 192 Page ID
                                LAW OFFICES OF
                                  #:2454
                                     WILLIAM D. GOLDSTEIN
                                            4030 Sawtelle Blvd.
                                       LOS ANGELES, CALIFORNIA 90066
                                        TELEPHONE: (310) 437-0108
                                         FACSIMILE: (323) 372-3589

                                 E-MAIL: WDGOLDSTEIN@WDGOLDSTEIN.COM



                                       November 29, 2018

                                MEET AND CONFER LETTER


ELEONORA DE GRAY                                                       Via Email: infodegray@gmail.com
OFFICIAL RUNWAY MAGAZINE
23-25, rue Jean Jacques Rousseau
75001 Paris, France

Dear Ms. De Gray:

       This letter is intended to conform with both the FRCP and Local Rule 37-1 related to the
required Meet and Confer process prior to the filing of Motions to Compel, et al under FRCP
Rule 37.

       I am willing to read through any comments you have regarding my discussion of the
reasons why I believe you must respond to my discovery. That said, the only reasons I would
withdraw the requests is if you provide me with acceptable objections under United States law.
Not those you are alleging under French law.

       I await your explanations on or about December 3, 2018.

       Nothing herein is a waiver of any of my client’s rights, all of which are expressly
reserved herein.

Sincerely:
        y


William D.
        D Goldstein
Attorney for Runway TV, LLC
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 132 of 192 Page ID
                                  #:2455




                                                Exhibit “L”
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 133 of 192 Page ID
                                    #:2456




                                         
                                            
                                
                                           
                                           
                                          !"#


$ %%&!'("%&))&$* ")+(,'&*
&))&$# ")+(,'&*-./0
1$ ,'))'.)2+
"(*3')'( /44516

                                           "2'#7'86

8 ")+(,'&*
 9+)&:',"&*%"8#;"<,=$, ><(,8'!'&2'+$ "<8,8+'8!"*!'8*&*3;"<8",&"*,"?,'*+
@=&(8+'8(,$,'(AB))!$('+'$+)&*'(            
            *)'((,='+"!<#'*,8')$,'(,",='('82&!'&((<'(+&(!<(('+
&*,=&("8+'8               C
 7')&'2',=$,;"<9))=$2',"E"(,E"*' &,=%&)&*3"%('!"*+",&"*," "#E')<*,&)#$,,'8"%('82&!'"*
#'$*+#;!"#E$*;&((")2'+
 9+)&:',"&*%"8#;"<,=$,+<',",=&( "<8,8+'8 9))E"(,E"*'('*+&*3;"<#;8'(E"*('("*;"<8
+&(!<((&"*( &*,'*+'+,"('*+,";"<7;'!'#7'8/<*,&)%<8,='8*",&!'

 9+)&:',"   $8*;"<$3$&*,=$, +"*",3&2'#;$<,="8&F$,&"*,"8'G<'(,&*,'88"3$,'
  8&,'!$))',!,"#;E'8("*$)!"*,$!,&* 8'*!=&*&(,8;"%<(,&!'8&!")$( $(,')) ="&(*",
8'(E"*(&7)'%"8,='+')&2'8;"%,='!"#E)$&*,$*+ =":&*+);E$8,&!&E$,'+ &,==&(,'(,&#"*;&*,=&(
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 134 of 192 Page ID
                                    #:2457

E8"!''+&*3$*+ ="3$2'H  I8&3=,(,"!"*,$!,=&# 7;,=' "<8,-",&"*,"
&(#&((0*;$7<(&2'$!,&"*(%8"#;"<8(&+',"&*,'88"3$,'=&#"8 8&,',"=&# &))7'(<7#&,,'+,"
,=&( "<8,$%,'8%<8,='88+'8"%,=&( "<8,

 9+$)(")&:',"   $8*;"<,=$,'*3$3&*32$8&"<(&*+&2&+<$)(&* 8$*!',"!$)) 8&,',"
  8'*!= "2'8*#'*,"83$*&F$,&"*($*+'?E8'(("E&*&"*($7"<,,=&( "<8,E8"!''+&*3,=&(!"#E)$&*,
#'$*+"8#;!"#E$*; &))$)("7'(<7#&,,'+,",=&( "<8,$%,'8%<8,='88+'8"%,=&( "<8,$*+)'3$)
$!,&"*( &))7',$:'*&* 8$*!'$3$&*(,,='(' 8'*!=&*+&2&+<$)(%"8+&(,8&7<,&"*"%+'%$#$,&"*$7"<,#'
$*+#;!"#E$*;," 8'*!= "2'8*#'*,$*+2&")$,&"*"%#;E8&2$!;
)'$('*",',=$,'?E8'((&*3"E&*&"*(7;2$8&"<(&*+&2&+<$)($7"<,#'#;!"#E$*;,=&( "<8,
E8"!''+&*3!"*(&+'8'+$($7<(&2'$!,&"*(7; '+'8$)<)'($*+$)("+'%$#$,&"*$!!"8+&*3," 8'*!=
)$  "<!'8,$&*);<*+'8(,$*+,='+&%%'8'*!'7', ''*+'%$#$,&"*J'?E8'((&*3$*"E&*&"*$*+8'G<'(,
"%&*%"8#$,&"*%8"#3"2'8*#'*,"83$*&F$,&"*$7"<,$!"#E)$&*,
 %;"<E)$*,"+"$*;$!,&"*($*+('$8!=%"8,='!"#E)$&*,&* 8$*!'E)'$(':''E&*#&*+,=$,$*;
$!,&"*(7; 8'*!="8#'8&!$*2$8&"<(&*+&2&+<$)(,$:'*"* 8'*!=,'88&,"8;$8'(<7>'!,,")'3$)$!,&"*(
&* 8$*!'$!!"8+&*3," 8'*!=)$ -$*+*", '+'8$)$ ("%$(,=';$8'7$('+"<,(&+'"% '+'8$)
><8&(+&!,&"*"%0)'$('$)(":''E&*#&*+,=$,$!!"8+&*3," 8'*!=)$ 2$8&"<(&*+&2&+<$)( ="$8'
*",8')$,'+,",='!$('$8'*",$))" '+,"+"$*$,,"8*';9( "8:)&:'8'G<'(,&*%"8#$,&"*"8+"!<#'*,(
%8"# 8'*!= "2'8*#'*,"83$*&F$,&"*(@='('$!,&"*(!"*(&+'8'+$(I @   I $*+
(,8&!,);K . @$!!"8+&*3," 8'*!=)$ $*+ &))7'(<7>'!,,")'3$)$!,&"*(&* 8$*!'$3$&*(,
,='('2$8&"<(&*+&2&+<$)(

 %$*;#'*,&"*'+$7<(&2'$!,&"*( &))7'*",'+%8"#;"<8(&+',=';9))7'(<7#&,,'+,",=&( "<8,$%,'8
%<8,='8 "<8,8+'8$*+$)(" &))7'(<7>'!,,")'3$)$!,&"*(&* 8$*!'$3$&*(,,='('2$8&"<(&*+&2&+<$)(
*",8')$,'+,",='!$('$($))+'%$#$,"8;$!,&"*("82&")$,&"*"%E8&2$!;$8',$:'*E)$!'"* 8'*!=
,'88&,"8;$3$&*(, 8'*!=!&,&F'* 8'*!=7<(&*'(('*,&,;

  "<#$;!"*,$!,#'%"8,='#$,,'8(8')$,'+,",='('82&!'"%,=&(!"#E)$&*,7<,:''E&*#&*+,=$,,=&(&(
,=',&#'"%,='=")&+$;( =8&(,#$(K$*<::$='  '$8$*+  "*9,7'$2$&)$7)',"8'(E"*+,";"<
%8"#'!'#7'86<*,&)$*<$8;/)'$('*",',=$,"<8"%%&!'( &))7'"E'*+<8&*3,='
=")&+$;(@='+$;( ='*"%%&!'( &))7'!)"('$8'A'!'#7'8155$*<$8;5@='('+$;(
$8'*$,&"*$)=")&+$;(&* 8$*!'"*"+')&2'8&'("8)'3$)*",&%&!$,&"*(!$*7'+"*'$,,=&(,&#' 9))7'
*",&%&'+7;#;(,$%%&%,='8'9(!"88'(E"*+'*!'"8)'3$)*",&!'"*#;*$#'"8*$#'"%#;!"#E$*;
$88&2'(+<8&*3#;$7('*!'-=")&+$;(0 9)),$:'$))*'!'(($8;$!,&"*(&%,=';9))7'8'G<&8'+$*+ 9))&*%"8#
,=&( "<8,


L&*+8'3$8+(

"2'#7'86
$8&( 8$*!'
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 135 of 192 Page ID
                                    #:2458

)'"*"8$+' 8$;
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 136 of 192 Page ID
                                  #:2459




                                             Exhibit “M”
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 137 of 192 Page ID
                                LAW OFFICES OF
                                  #:2460
                                      WILLIAM D. GOLDSTEIN
                                             4030 Sawtelle Blvd.
                                        LOS ANGELES, CALIFORNIA 90066
                                         TELEPHONE: (310) 437-0108
                                          FACSIMILE: (323) 372-3589

                                 E-MAIL: WDGOLDSTEIN@WDGOLDSTEIN.COM



                                        September 17, 2019

                                 MEET AND CONFER LETTER


ELEONORA DE GRAY                                                        Via Email: infodegray@gmail.com
OFFICIAL RUNWAY MAGAZINE
23-25, rue Jean Jacques Rousseau
75001 Paris, France

Dear Ms. De Gray:

       This letter is intended to conform with both the FRCP and Local Rule 37-1 related to the
required Meet and Confer process prior to the filing of Motions to Compel, et al under FRCP
Rule 37.

        As you will remember we engaged in a lengthy Meet and Confer series of Emails related
to your discovery responses just prior to the court placing a stay on the case. As the Court in its
order of September 11, 2019, has recognized that your Answer has placed you under the
Jurisdiction of the Court I am following up where we left off. You had promised to provide an
explanation of your objections and refusal to provide any documents or correct contradictory
responses and/or missing responses to the Requests for Admission served upon you and how you
believe that these actions are in accordance with the ruling of the Court on the first Motion to
Compel on November 5, 2018. (I am attaching a copy I case you did not save one).

       Please responds to this request and provide your explanations originally promised for
December 3, 2019, within 1 week (no later than close of business on Tuesday, September 24,
2019.)

       I am willing to read through any comments you have regarding my discussion of the
reasons why I believe you must respond to my discovery (copy attached). That said, the only
reasons I would withdraw the requests is if you provide me with acceptable objections under
United States law. Not those you are currently alleging.

       I await your explanations within the week. If not received I will again need file another
motion to Compel responses.

        In that regard are you willing to sign a joint Declaration to the effect that we have not had
a telephonic Meeting of Counsel as you have insisted that 1) it is not required. 2)that we can do
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 138 of 192 Page ID
                                  #:2461


any Meet and Confer via Email, 3) that you will only allow a telephonic meeting if you have
your attorney present, a certified translator present, a transcript is generated, 4) all at the cost of
the Plaintiff? Said joint Declaration would also state that the parties are at an impasse as to the
discovery requests with neither willing to change their positions and requesting the Court to rule
on the matter. Neither of us will argue our points of view in said declaration. Just state the facts
cited above.

       Nothing herein is a waiver of any of my client’s rights, all of which are expressly
reserved herein.

Sincerely:


William D.
        D Goldstein
Attorney for Runway TV, LLC
  Case
   Case2:18-cv-02503-FMO-JC
        2:18-cv-02503-FMO-JC Document
                              Document73
                                       94 Filed
                                           Filed11/05/18
                                                 09/20/19 Page
                                                           Page1139
                                                                of 8ofPage
                                                                      192 ID #:1940
                                                                           Page ID
                                      #:2462

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 18-2503 FMO(JCx)                                           Date    November 5, 2018
 Title             Runway TV, LLC v. Eurl Eleonora De Gray, et al.




 Present: The Honorable          Jacqueline Chooljian, United States Magistrate Judge
                  Kerri Hays                                   None                             None
                 Deputy Clerk                        Court Reporter / Recorder                 Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                             none                                                 none
 Proceedings:                  (IN CHAMBERS)

                               ORDER (1) SUBMITTING AND VACATING HEARING ON
                               PLAINTIFF’S MOTIONS; (2) GRANTING IN PART AND DENYING
                               IN PART MOTION TO COMPEL WITHOUT OBJECTIONS
                               RESPONSES TO REQUEST FOR IDENTIFICATION AND
                               PRODUCTION OF DOCUMENTS (DOCKET NO. 63); (3) GRANTING
                               IN PART AND DENYING IN PART MOTION TO DEEM REQUESTS
                               FOR ADMISSION SET 1 ADMITTED OR, IN THE ALTERNATIVE,
                               COMPEL RESPONSES WITHOUT OBJECTION (DOCKET NO. 64);
                               (4) ORDERING DEFENDANT TO PRODUCE DISCOVERY
                               RESPONSES BY NOT LATER THAN NOVEMBER 26, 2018; AND
                               (5) CAUTIONING AND ADMONISHING DEFENDANT

I.       BACKGROUND AND SUMMARY

        On March 28, 2018, plaintiff Runway TV, LLC filed a Complaint against French Company Eurl
Eleonora De Gray and French citizen, Eleonora DeGrey, also known as Eleonora Christensen
(“defendants”). (Docket No. 1). On April 12, 2018, Eleonora De Gray – presumably the same
individual identified as a defendant in the Complaint, albeit with a slightly different spelling of her last
name – filed a Motion to Dismiss for Lack of Jurisdiction. (Docket No. 10). On July 16, 2018, the
District Judge granted De Gray’s motion to dismiss and dismissed the Complaint with leave to amend.
(Docket No. 34).

        Meanwhile, on April 16, 2018, the District Judge issued an Order Setting Scheduling Conference
(“April Order”) which, among other things: (1) notified the parties that “[t]he court allows discovery to
commence as soon as the first answer or motion to dismiss is filed[,]” and that “discovery shall not be
stayed while any motion is pending, including any motion to dismiss and/or motion for protective
order”; and (2) directed the parties to “conduct any necessary discovery as soon as possible[.]”
(Docket No. 11, April Order at 5, ¶ 5) (emphasis in original).
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 8
  Case
   Case2:18-cv-02503-FMO-JC
        2:18-cv-02503-FMO-JC Document
                              Document73
                                       94 Filed
                                           Filed11/05/18
                                                 09/20/19 Page
                                                           Page2140
                                                                of 8ofPage
                                                                      192 ID #:1941
                                                                           Page ID
                                      #:2463

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       CV 18-2503 FMO(JCx)                                         Date    November 5, 2018
 Title          Runway TV, LLC v. Eurl Eleonora De Gray, et al.

        On July 30, 2018, plaintiff filed the currently operative First Amended Complaint against
defendants. (Docket No. 35). The First Amended Complaint asserts claims of Federal Trademark
Infringement, Federal Trademark Dilution, Federal Statutory Unfair Competition, Fraud and Deceit,
Breach of Contract, Cyberpiracy and Defamation Per Quod-Libel. On August 1, 2018, defendants filed
an Answer to the First Amended Complaint. (Docket No. 40). Notwithstanding the foregoing, on
August 9, 2018, De Gray filed a Motion to Strike the First Amended Complaint, and subsequently filed
addenda thereto. (Docket Nos. 42, 44, 45).

       On September 4, 2018, De Gray filed a request to withdraw the Answer. (Docket No. 46). On
September 10, 2018, the District Judge denied the Motion to Strike the First Amended Complaint
without prejudice as it was based on an inapplicable California procedural rule, advised De Gray that she
should file such a motion pursuant to the applicable Federal Rule of Civil Procedure, and denied the
request to withdraw the Answer as moot. (Docket No. 47).

        On September 11, 2018, defendants filed a Motion to Dismiss for Insufficient Service of Process
(“Pending Motion to Dismiss”) which is opposed by plaintiff and which has been submitted for decision
and remains pending before the District Judge. (Docket Nos. 48-52, 56-57, 62). On October 29, 2018,
plaintiff filed a Motion for Extension of Time to Serve Defendant[s] under Federal Rule[] of Civil
Procedure 4(m) which is opposed by defendants and which is currently set for hearing before the District
Judge on November 29, 2018. (Docket Nos. 69-72).

        Meanwhile, on August 28, 2018, plaintiff electronically sent to defendant De Gray (1) Plaintiff’s
Requests for Admission (Set 1) (“RFAs in Issue”); and (2) Plaintiff’s Requests for the Identification and
Production of Documents and Things (Set 1) (“RFPs in Issue”) (collectively “Discovery Requests in
Issue”). On September 17, 2018, De Gray filed a Motion for Protective Order Regarding Requests for
Admission and Identification and Production of Documents and Things which sought a protective order
relieving De Gray of her obligation to respond to the Discovery Requests in Issue. On October 11, 2018,
this Court denied the foregoing motion for failure to comply with the Local Rules and noted that to the
extent De Gray argued that she should not be required to respond to the Discovery Requests in Issue
either because the operative First Amended Complaint assertedly lacks merit or because her Pending
Motion to Dismiss assertedly has merit, such matters are not appropriate for resolution by this court, and,
especially given the substance of the April Order, do not afford a basis to decline to produce or to delay
production of the discovery called for by the Discovery Requests in Issue.

        Currently pending and set for hearing before this Court on November 13, 2018 at 9:30 a.m. are
plaintiff’s (1) Motion to Compel without Objections Response to Request for Identification and
Production of Documents (“RFP Motion”); and (2) Motion to Deem Requests for Admission Set 1
Admitted or, in the Alternative, Compel Responses without Objection (“RFA Motion”) (collectively



CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                   Page 2 of 8
  Case
   Case2:18-cv-02503-FMO-JC
        2:18-cv-02503-FMO-JC Document
                              Document73
                                       94 Filed
                                           Filed11/05/18
                                                 09/20/19 Page
                                                           Page3141
                                                                of 8ofPage
                                                                      192 ID #:1942
                                                                           Page ID
                                      #:2464

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       CV 18-2503 FMO(JCx)                                           Date   November 5, 2018
 Title          Runway TV, LLC v. Eurl Eleonora De Gray, et al.

“Motions”), which defendant De Gray opposes. (Docket Nos. 63-68).1 The Motions also request that
defendant De Gray be ordered to pay sanctions and that she be admonished regarding her treatment of
defense counsel.

        Pursuant to Rule 78 of the Federal Rules of Civil Procedure and Local Rule 7-15, the
Court finds the Motions appropriate for decision without oral argument and submits the matters.
Accordingly, the November 13, 2018 hearing on the Motions is vacated and taken off calendar.

         For the reasons explained below the Court (1) grants in part and denies in part the RFP Motion;
(2) grants in part and denies in part the RFA Motion; (3) directs defendant De Gray to respond to the
Discovery Requests in Issue – in a manner consistent with the requirements of the law set forth below –
by not later than November 26, 2018; (4) denies plaintiff’s sanctions requests but cautions defendant De
Gray that the failure to respond to the Discovery Requests in Issue in conformity with the law and/or the
failure to comply with this Order may result in the imposition of sanctions against her; and
(5) admonishes defendant De Gray relative to her interactions with defense counsel.

II.      PERTINENT LAW

       Pursuant to Rule 26(b)(1) of the Federal Rules of Civil Procedure, “[p]arties may obtain
discovery regarding any nonprivileged matter that is relevant to any party’s claim or defense and
proportional to the needs of the case, considering the importance of the issues at stake in the action, the
amount in controversy, the parties’ relative access to relevant information, the parties’ resources, the
importance of the discovery in resolving the issues, and whether the burden or expense of the proposed
discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1). Information within the foregoing
scope of discovery need not be admissible in evidence to be discoverable. Fed. R. Civ. P. 26(b)(1).

        Pursuant to Rule 34, any party may serve on any other party a request for the production or
inspection of documents within the scope of Rule 26(b). Fed. R. Civ. P. 34(a). Unless excused by a
protective order, in response to a request for the production of documents a party must, within 30 days of
service thereof and as to each item or category, either: (1) state that the inspection will be permitted/
production will be made; or (2) state with specificity the grounds for objecting to the request, including
the reasons, and state whether any responsive materials are being withheld on the basis of that objection.
Fed. R. Civ. P. 34(b)(2)(A)-(C). Pursuant to Local Rule 34-2, the party responding or objecting to the
requests for production shall quote each request for production in full immediately preceding the
statement of any response or objection thereto. Local Rule 34-2. If the responding party states that it
will produce documents, such production must be completed no later than the time specified in the


         1
       The Motions are accompanied by declarations of counsel which essentially reflect that defendant
De Gray has not meaningfully engaged in a substantive meet and confer process relative to the Motions.
Accordingly, the Motions are not in the form of Joint Stipulations. See Local Rules 37-1, et seq.
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                    Page 3 of 8
  Case
   Case2:18-cv-02503-FMO-JC
        2:18-cv-02503-FMO-JC Document
                              Document73
                                       94 Filed
                                           Filed11/05/18
                                                 09/20/19 Page
                                                           Page4142
                                                                of 8ofPage
                                                                      192 ID #:1943
                                                                           Page ID
                                      #:2465

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       CV 18-2503 FMO(JCx)                                          Date    November 5, 2018
 Title          Runway TV, LLC v. Eurl Eleonora De Gray, et al.

request or another reasonable time specified in the response. Fed. R. Civ. P. 34(b)(2)(B). A party’s
failure to respond to a Rule 34 request is not excused on the ground that the discovery sought is
objectionable, unless the party failing to act has a pending motion for a protective order. Fed. R. Civ. P.
37(d)(2).

         Pursuant to Rule 36, a party may serve on any other party Requests for Admissions (“RFAs”) to
obtain any evidence within the permissible scope of discovery. Fed. R. Civ. P. 26(b)(1), 36(a). RFAs
are required to be simple and direct, and should be limited to singular relevant facts. See Securities and
Exchange Commission v. Micro-Moisture Controls, Inc., 21 F.R.D. 164, 166 (S.D.N.Y. 1957); see also
Dubin v. E.F. Hutton Group, Inc., 125 F.R.D. 372, 376 (S.D.N,Y. 1989) (objections to RFAs as vague,
ambiguous, overbroad and burdensome sustained where requests for admissions not simple concise
statements of fact, but instead contained vague and ambiguous wording that did not allow defendants
fairly to admit or deny). A request for admission may seek an admission of the genuineness of
documents if copies of the documents are attached to the request or have been previously furnished or
made available for inspection and copying. Fed. R. Civ. P. 36(a)(2). A party may properly seek to have
another part admit or deny a responding party’s understanding of the meaning of a document. See Booth
Oil Site Admin. Group v. Safety-Kleen Corp., 194 F.R.D. 76, 80 (W.D.N.Y 2000). A request for
admission may also request “the application of law to fact.” Fed. R. Civ. P. 36(a)(1)(A); see Marchand
v.Mercy Medical Center, 22 F.3d 933, 937 n.4 (9th Cir. 1994) (“Rule 36(a) permits requests for
admission addressing questions of mixed law and fact.”) (citation omitted). A request for admission
may not, however, seek a response on a disputed conclusion of pure law. See Playboy Enterprises, Inc.
v. Welles, 60 F. Supp. 2d 1050, 1057 (S.D. Cal. 1999).

         A matter is admitted unless, within 30 days after being served, the party to whom an RFA is
directed serves on the requesting party a written answer or objection addressed to the matter and signed
by the party or its attorney. Fed. R. Civ. P. 36(a)(3).2 Pursuant to Local Rule 36-2, the party answering
or objecting to requests for admission shall quote each request in full immediately preceding the
statement of any answer or objection thereto. Local Rule 36-2. An answer to a request for admission
must consist of an admission, a denial, or a statement detailing why the answering party is unable to
admit or deny the matter. Fed. R. Civ. P. 36(a)(3), 36(a)(4). If any portion of a request for an admission
is true, the party to whom it is directed must admit that portion and qualify or deny the rest. Fed. R. Civ.
P. 36(a)(4); see Holmgren v. State Farm Mutual Insurance Co., 976 F.2d 573, 579-80 (9th Cir. 1992). A
denial must be specific and must fairly respond to the substance of the matter. Fed. R. Civ. P. 36(a)(4).
Where the meaning of a particular term in a request is somewhat inexact, the responding party should
supply its own definition and admit or deny, or qualify its admission or denial to make it accurate and


         2
         Courts, on motion, may generally permit withdrawal or amendment of matters admitted under
Rule 36 if it would promote presentation of the merits of the action and if the court is not persuaded that
it would prejudice the propounding party in maintaining or defending the action on the merits. Fed. R.
Civ. P. 36(b).
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                   Page 4 of 8
  Case
   Case2:18-cv-02503-FMO-JC
        2:18-cv-02503-FMO-JC Document
                              Document73
                                       94 Filed
                                           Filed11/05/18
                                                 09/20/19 Page
                                                           Page5143
                                                                of 8ofPage
                                                                      192 ID #:1944
                                                                           Page ID
                                      #:2466

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       CV 18-2503 FMO(JCx)                                          Date   November 5, 2018
 Title          Runway TV, LLC v. Eurl Eleonora De Gray, et al.

responsive. See S.A. Healy Co./Lodigiani USA, Ltd. v. United States, 37 Fed. Cl. 204, 205-07 (Fed. Cl.
1997). A qualified denial is proper if the responding party sets forth in detail the reasons why he or she
cannot truthfully deny the matter. Fed. R. Civ. P. 36(a)(4). A party who responds by claiming an
inability to admit or deny must also state that he or she has made “reasonable inquiry and that the
information it knows or can readily obtain is insufficient to enable it to admit or deny.” Fed. R. Civ. P.
36(a)(4); Asea, Inc. v. Southern Pacific Transportation Co., 669 F.2d 1242, 1245-47 (9th Cir. 1981); A.
Farber & Partners, Inc. v. Garber, 237 F.R.D. 250, 253-55 (C.D. Cal. 2006). What constitutes
“reasonable inquiry” and what material is “readily obtainable” are relative matters that depend upon the
facts of each case. T. Rowe Price Small-Cap Fund, Inc. v. Oppenheimer & Co., Inc., 174 F.R.D. 38, 43
(S.D.N.Y. 1997). Generally, “reasonable inquiry” for purposes of responding to requests for admission,
is limited to review and inquiry of those persons and documents that are within the responding party’s
control. Id. at 43. A party cannot be forced to admit or deny facts testified to by a third party as to
which the responding party has no personal knowledge. Id. at 46. The validity, or bona fides of a
qualified answer to a request for admission must await trial to see if the requesting party is forced to
prove what was not admitted and can show that there was no good reason for the opponent’s failure to
admit. National Semiconductor Corp. v. Ramtron International Corp., 265 F. Supp. 2d 71, 74-75 (D.
D.C. 2003).

        If a party fails timely to object to discovery requests, such a failure constitutes a waiver of any
objections which a party might have to the requests. See Richmark Corp. v. Timber Falling Consultants,
959 F.2d 1468, 1473 (9th Cir. 1991) (“It is well established that a failure to object to discovery requests
within the time required constitutes a waiver of any objection.”) (citation omitted), cert. dismissed, 506
U.S. 948 (1992); Apple Inc. v. Samsung Electronic Co., Ltd., 2012 WL 952254, *2 (N.D. Cal. Mar. 20,
2012) (“Objections not interposed in a timely initial response may not be held in reserve and interposed
after the period allowed for response . . . ”) (citation omitted); Ramirez v. County of Los Angeles, 231
F.R.D. 407, 409-10 (C.D. Cal. 2005) (court declined to consider objections that were not asserted in
responding party’s original discovery responses based upon party’s failure timely to make such
objections).3

///
///
///


         3
         Courts have broad discretion to determine whether a party’s failure to raise timely objections to
discovery should be excused for “good cause.” See Blumenthal v. Drudge, 186 F.R.D. 236, 240
(D.D.C.1999). In exercising such discretion, courts consider several relevant factors, including: (1) the
length of the delay in responding; (2) the reason for the delay; (3) dilatory conduct or bad faith by the
responding party; (4) prejudice to the party seeking the disclosure; (5) the nature of the request (i.e.,
whether the discovery requested was overly burdensome or otherwise improper); and
(6) the harshness of imposing the waiver. Hall v. Sullivan, 231 F.R.D. 468, 474 (D. Md. 2005).
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                  Page 5 of 8
  Case
   Case2:18-cv-02503-FMO-JC
        2:18-cv-02503-FMO-JC Document
                              Document73
                                       94 Filed
                                           Filed11/05/18
                                                 09/20/19 Page
                                                           Page6144
                                                                of 8ofPage
                                                                      192 ID #:1945
                                                                           Page ID
                                      #:2467

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       CV 18-2503 FMO(JCx)                                        Date   November 5, 2018
 Title          Runway TV, LLC v. Eurl Eleonora De Gray, et al.

III.     DISCUSSION

        The RFP Motion requests that the Court compel defendant De Gray to respond to the RFPs in
Issue (RFP Nos. 1-14) without objection based upon such defendant’s failure to respond thereto to date,
and that the Court sanction and admonish such defendant.

        The RFA Motion primarily seeks to have the Court deem its Requests for Admission to
Defendant De Gray (Set 1) (RFA Nos. 1-29) admitted based upon such defendant’s failure to respond
thereto. The RFA Motion alternatively requests that the Court compel defendant De Gray to respond to
RFA Nos. 1-29 without objections. Like the RFP Motion, it also requests that the Court sanction and
admonish defendant De Gray.

        Defendant opposes the RFA Motion, essentially contending that plaintiff has not complied with
the meet and confer requirements of the Local Rules, that the RFAs and RFPs in Issue are improper, and
that she intends to object/has objections thereto.4

        Based upon the Court’s consideration of the parties’ submissions, the Court grants in part and
denies in part the RFP Motion. More specifically the Court (1) denies without prejudice the RFP Motion
to the extent it seeks to have the Court compel defendant to respond to the RFPs in Issue without
objections; and (2) grants the RFP Motion to the extent it seeks to compel defendant to respond to the
RFPs in Issue and directs defendant De Gray to respond to each of RFP Nos. 1-14 in a manner
consistent with the requirements of Rule 34 and Local Rule 34-2 as detailed above.

        Based upon the Court’s consideration of the parties’ submissions, the Court grants in part and
denies in part the RFA Motion. More specifically the Court (1) denies without prejudice the RFA
Motion (a) to the extent it seeks to have the Court deem RFA Nos. 1-29 admitted (or more correctly
stated, elects to deem withdrawn the effective admission of such RFAs by defendant upon her failure
timely to respond thereto); and (b) to the extent it seeks to have the Court compel defendant to respond
without objections; and (2) grants the RFA Motion to the extent it seeks to compel defendant to respond
to the RFAs in Issue and directs defendant De Gray to respond to each of RFA Nos. 1-29 in a manner
consistent with the requirements of Rule 36 and Local Rule 36-2 as detailed above.


         4
         To the extent defendant De Gray takes the position that her discussion of the RFAs and RFPs in
Issue at pages 16-19 of her opposition to the RFP Motion and pages 16-18 of her opposition to the RFA
Motion satisfy the requirements of Federal Rules of Civil Procedure 34 and 36 and Local Rules 34-2 and
36-2 she is incorrect. In accordance with the foregoing rules, she must generate and send to plaintiff’s
counsel separate/standalone documents responding to the RFAs and RFPs which quote each RFA and
RFP in full immediately preceding the statement of any answer or objection thereto (which should not
incorporate or require reference to any other pleading), which bear her signature, and which otherwise
comply with the requirements detailed above.
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                 Page 6 of 8
  Case
   Case2:18-cv-02503-FMO-JC
        2:18-cv-02503-FMO-JC Document
                              Document73
                                       94 Filed
                                           Filed11/05/18
                                                 09/20/19 Page
                                                           Page7145
                                                                of 8ofPage
                                                                      192 ID #:1946
                                                                           Page ID
                                      #:2468

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       CV 18-2503 FMO(JCx)                                           Date   November 5, 2018
 Title          Runway TV, LLC v. Eurl Eleonora De Gray, et al.

        The Court rejects defendant De Gray’s contention that plaintiff has not complied with its meet
and confer obligations which are largely inconsistent with her contentions that plaintiff’s counsel has
harassed her. It appears to the Court that counsel’s repeated communications with defendant – what
defendant characterizes as harassment – instead constitute counsel’s proper efforts to comply with
plaintiff’s meet and confer obligations under the Local Rules.5

        The Court finds good cause and exercises its discretion to rule as set forth above based upon the
circumstances of this case, including its consideration of the factors set forth in note 3, supra,
defendant’s pro se and foreign status and stated intention to interpose objections to the RFAs and RFPs
in Issue, the pendency of defendant’s motion for a protective order from September 17, 2018 to October
11, 2018, the fact that a discovery cut-off deadline has not yet been set, the apparent lack of prejudice to
plaintiff on the merits, and the fact that so ruling promotes presentation of the merits of the action.

        Further, based upon the Court’s review of the parties’ submissions, the Court denies without
prejudice plaintiff’s requests for sanctions as it concludes that the circumstances present here would
make an award of expenses unjust, but deems it appropriate, as detailed below, to (1) caution defendant
De Gray of the consequences of failing to respond to the Discovery Requests in Issue in conformity with
the law and failing to comply with this Order; and (2) admonish defendant De Gray relative to her
interactions with defense counsel.

IV.      ORDERS, CAUTION, AND ADMONITION

         In accordance with the above:

         A.      IT IS HEREBY ORDERED:

               1.       The RFP Motion and RFA Motion are granted in part and denied in part as
detailed above.

               2.      By not later than November 26, 2018, defendant De Gray shall respond to each of
the RFPs in Issue in a manner consistent with the requirements of Rule 34 and Local Rule 34-2 as
detailed above.



         5
        Again, to the extent defendant De Gray contends that she should not be required to defend this
action or to respond to the Discovery Requests in Issue either because the operative First Amended
Complaint assertedly lacks merit or because her Pending Motion to Dismiss assertedly has merit, such
matters are not appropriate for resolution by this Court, and, especially given the substance of the April
Order, do not afford a basis to decline to produce or to delay production of the discovery called for by
the Discovery Requests in Issue.
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                    Page 7 of 8
  Case
   Case2:18-cv-02503-FMO-JC
        2:18-cv-02503-FMO-JC Document
                              Document73
                                       94 Filed
                                           Filed11/05/18
                                                 09/20/19 Page
                                                           Page8146
                                                                of 8ofPage
                                                                      192 ID #:1947
                                                                           Page ID
                                      #:2469

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV 18-2503 FMO(JCx)                                       Date    November 5, 2018
 Title          Runway TV, LLC v. Eurl Eleonora De Gray, et al.

               3.      By not later than November 26, 2018, defendant De Gray shall respond to each of
the RFAs in Issue in a manner consistent with the requirements of Rule 36 and Local Rule 36-2 as
detailed above.

                 4.     Plaintiff’s requests for sanctions are denied.

        B.      DEFENDANT DE GRAY IS HEREBY CAUTIONED that any failure to comply with
her obligations to respond to the Discovery Requests in Issue in conformity with the law above and/or
any failure to comply with this Court’s Order may result in RFA Nos. 1-29 being deemed admitted, and
will subject her to potential monetary and non-monetary sanctions, as provided in Fed. R. Civ. P.
37(a)(5), 37(b)(2), 37(d), including (a) the issuance of a recommendation to prohibit her from opposing
plaintiff’s claims, supporting her defenses or from introducing evidence; (b) the issuance of a
recommendation to strike defendant’s pleadings in whole or in part; and (c) the issuance of a
recommendation to render a default judgment against her.

       C.     DEFENDANT DE GRAY IS HEREBY ADMONISHED to behave civilly and
courteously towards opposing counsel and to refrain from engaging in the verbal abuse of counsel.

         IT IS SO ORDERED.




CV-90 (06/04)                              CIVIL MINUTES - GENERAL                              Page 8 of 8
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 147 of 192 Page ID
                                LAW OFFICES OF
                                  #:2470
                                     WILLIAM D. GOLDSTEIN
                                            4030 Sawtelle Blvd.
                                       LOS ANGELES, CALIFORNIA 90066
                                        TELEPHONE: (310) 437-0108
                                         FACSIMILE: (323) 372-3589

                                E-MAIL: WDGOLDSTEIN@WDGOLDSTEIN.COM



                                  November 26, 2018
                              MEET AND CONFER LETTER
ELEONORA DE GRAY                                    Via Email: infodegray@gmail.com
OFFICIAL RUNWAY MAGAZINE
23-25, rue Jean Jacques Rousseau
75001 Paris, France

Dear Ms. De Gray:

       This letter is intended to conform with both the FRCP and Local Rule 37-1 related to the
required Meet and Confer process prior to the filing of Motions to Compel, et al under FRCP
Rule 37.

        I have just been notified by the Court that you have filed your responses to Discovery.
For future reference this is neither required or appreciated by the Court as it just entails
additional work by Court personal.
        I have reviewed your responses/objections to the Requests for the Identification and
Production of Documents and Things as well as the Requests for Admissions and have found
them to be totally without any merit. The objections you have attached thereto are not relevant to
the specific requests and/or not specific legal objections stating the basis for each objection.
Additionally, you appear to believe that Discovery Responses are a place to argue your case.
They are not. The objections, with few exceptions are not evidentiary in nature, you have not
provided a single document in responses and your repeated objection of Privilege is not in
accordance with the instructions contained in the Order of the Court on November 5, 2018 or the
FRCP.
        Please advise this office as soon as is possible, if it is your intent to provide revised
responses and when, to the Plaintiff’s Requests for the Identification and Production of
Documents and Things as well as the Requests for Admissions served upon you pursuant to
Federal Rules of Civil Procedure, the Local Rules and the Orders of the Court.

       Please advise this office when we can have the telephonic Meet and Confer discussion
required under Local Rule 31-1 within the next 10 days.


          Requests for the Identification and Production of Documents and Things

      The Court ordered that you respond to this discovery request and described in detail how
you must respond:
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 148 of 192 Page ID
                                  #:2471


        “Pursuant to Rule 34, any party may serve on any other party a request for the production
or inspection of documents within the scope of Rule 26(b). Fed. R. Civ. P. 34(a). Unless excused
by a protective order, in response to a request for the production of documents a party must,
within 30 days of service thereof and as to each item or category, either: (1) state that the
inspection will be permitted/ production will be made; or (2) state with specificity the grounds
for objecting to the request, including the reasons, and state whether any responsive materials are
being withheld on the basis of that objection. Fed. R. Civ. P. 34(b)(2)(A)-(C).”

        The instructions included with these requests are those used by the United States
Department of Justice. You have claimed “Privilege” for the majority of your objections and
have not included a Privilege log as required in Instruction number 6:
        “For any document withheld under a claim of privilege, submit a sworn or certified
statement from your counsel or one of your employees in which you identify the document by
author, addressee, date, number of pages, and subject matter; specify the nature and basis of the
claimed privilege and the paragraph of this demand for documents to which the document is
responsive; and identify each person to whom the document or its contents, or any part thereof,
has been disclosed.”

REQUEST FOR PRODUCTION NO. 1:
       A copy of each issue of RUNWAY MAGAZINE published by EURL ELEONORA DE
GRAY and/or ELEONORA DE GRAY (as described in item 10 of the instructions each
magazine requested herein can be produced in Adobe’s Portable Data Format (PDF).) If
Publication in English is not available, the French version of the magazine may be produced
without English translation.

Your Objection:
        It seeks to obtain copyrighted materials and/or information regarding business activities
that took place outside of the United States and that are beyond the jurisdiction of the California
[Court]. The remainder of the objection is an argument of the facts in the case and your
interpretation thereof and not relevant to a Discovery Response.

Discussion:
        You have made numerous claims in your Answer about your dates of publication of
Runway Magazine and frequency of Publication. Additionally, you have used the RUNWAY®
trademark on each publication without payment for said use or a license to use said trademark.
The Plaintiff has a right to request these materials to determine if your statements made in
Pleadings are true and justified. Plaintiff does NOT have to take your word for it. Additionally,
Plaintiff is entitled to this information for the purposes of determining the actual amount of
damages that will be sought in Court.
        As to your objection that the materials are copyrighted. These materials have been
published. There is no argument that you were not the party to copyright them. They are not
confidential or privileged in any way. Additionally, though you continue to deny the fact, your
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 149 of 192 Page ID
                                  #:2472


answer has placed you under the Jurisdiction of the District Court for the Central District of
California and you MUST comply with lawful discovery or face sanctions.
        You have not provided any of the requested items sought in the request for production
nor have you either promised to do so or stated you would not. You have not stated whether any
responsive materials are being withheld on the basis of that objection. You are currently in
violation of the Court order of November 5, 2018.
REQUEST FOR PRODUCTION NO. 2:
        All COMMUNICATIONS between YOU and any party at Runway Magazine, Inc.
between January 1, 2012 and the date of response to this request

Your Objection:
         It seeks to obtain privileged documentation and contact information regarding business
activities outside of the United States and that are beyond the jurisdiction of the California
[Court]. The remainder of the objection is an argument of the facts in the case and your
interpretation thereof and not relevant to a Discovery Response.

Discussion:
         Runway Magazine, Inc. is not now or has ever been a partner of the Plaintiff. In point of
fact, there have been two law suits brought by Plaintiff against this company for trademark
infringement. The truth of the matter is that You had a licensing or some other type or agreement
with Buccelli. By the few emails I have seen, it appears that you later accused him of stealing the
Runway® from the Plaintiff then appropriated both the Plaintiff’s Buccelli’s intellectual
property. Plaintiff has a right to know exactly what your agreement and disagreements were with
Mr. Buccelli.
         Additionally, there are few things under United States law that qualify as privileged.
Business and personal correspondence are not among them.
         Finally, Runway Magazine, Inc. formerly had its place of business in Los Angeles, CA.
this does not address activities outside the Jurisdiction of this Court as your answer has placed
you under the Jurisdiction of the District Court for the Central District of California and you
MUST comply with lawful discovery or face sanctions.
         You have not provided any of the requested items sought in the request for production
nor have you either promised to do so or stated you would not. You have not stated whether any
responsive materials are being withheld on the basis of that objection. You are currently in
violation of the Court order of November 5, 2018.

REQUEST FOR PRODUCTION NO. 3:
       All COMMUNICATIONS between YOU and Vincent Mazzotta between January 1,
2012 and the date of response to this request.

Your Objection:
       Defendant objects to this Interrogatory on the grounds that the demanded communication
does not exist or no longer in the position of Defendant. First communication between Plaintiff
and Defendant accrued in January 2014. Communication available to Defendant between
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 150 of 192 Page ID
                                  #:2473


Plaintiff and Defendant from January 2014 already has been submitted to this Court by Plaintiff
or Defendant, and the request isn't clear, as all available emails already been presented in pdf
files to this Court.




Discussion:
        Plaintiff does not have in its possession custody and control all emails between the parties
and seeks to supplement those in its possession for evidentiary purposes. Your response is self-
contradictory in stating that said requested communications do not exist or that they are no
longer in your possession, when you later state that they have in part, been submitted to the
Court by You.
        Plaintiff is requesting all communications, not only those you used to support your
Answer and assorted motions.
        You have not provided any of the requested items sought in the request for production
nor have you either promised to do so or stated you would not. You have not stated whether any
responsive materials are being withheld on the basis of that objection. You are currently in
violation of the Court order of November 5, 2018.

REQUEST FOR PRODUCTION NO. 4:
       All COMMUNICATIONS between YOU and James Buccelli between January 1, 2012
and the date of response to this request.

Your Objection:
         It seeks to obtain privileged documentation and contact information regarding business
activities outside of the United States and that are beyond the jurisdiction of the California
[Court]. The remainder of the objection is an argument of the facts in the case and your
interpretation thereof and not relevant to a Discovery Response.

Discussion:
         Runway Magazine, Inc. is not now or has ever been a partner of the Plaintiff. In point of
fact, there have been two law suits brought by Plaintiff against this company for trademark
infringement. The truth of the matter is that You had a licensing, partnership or some other type
or agreement with Buccelli. By the few emails I have seen, it appears that you later accused him
of stealing the Runway® from the Plaintiff then appropriated both the Plaintiff’s Buccelli’s
intellectual property. Plaintiff has a right to know exactly what your agreement and
disagreements were with Mr. Buccelli.
         Additionally, there are few things under United States law that qualify as privileged.
Business and personal correspondence are not among them.
         Finally, James Buccelli formerly had his place of business in Los Angeles, CA. this does
not address activities outside the Jurisdiction of this Court as your answer has placed you under
the Jurisdiction of the District Court for the Central District of California and you MUST comply
with lawful discovery or face sanctions.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 151 of 192 Page ID
                                  #:2474


       You have not provided any of the requested items sought in the request for production
nor have you either promised to do so or stated you would not. You are currently in violation of
the Court order of November 5, 2018.




REQUEST FOR PRODUCTION NO. 5:
        All DOCUMENTS RELATED TO, RELATING TO or CONCERNING YOUR
application for the Trademark “RUNWAY MAGAZINE” either to the French Government or
internationally.

Your Objection:
       Defendant objects to this Interrogatory on the grounds that it seeks to obtain privileged
documentation and contact information regarding business activities outside of the United States
and that are beyond the jurisdiction of the California [Court]. The documents / copyrighted
materials presented at the registration of trademarks RUNWAY MAGAZINE in 2013 are related
to production / international production since 2007

Discussion:
        Web links and your providing materials that you believe support your contentions in
Court filings are NOT admissible evidence. This Plaintiff has the right to request and obtain all
relevant information supporting your claim that your RUNWAY MAGAZINE does not infringe
on the Plaintiff’s RUNWAY®.
        Additionally, there are few things under United States law that qualify as privileged.
Government filings whether in France or elsewhere, especially where you claim they can be
found online, are not among them.
        You have not provided any of the requested items sought in the request for production
nor have you either promised to do so or stated you would not. You are currently in violation of
the Court order of November 5, 2018.

REQUEST FOR PRODUCTION NO. 6:
       All DOCUMENTS RELATED TO, RELATING TO or CONCERNING the Articles of
Incorporation (or the French equivalent thereof) for EURL ELEONORA DE GRAY.

Your Objection:
       Defendant objects to this Interrogatory on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. Additionally, business license for
EURL ELEONORA DE GRAY has been already provided in different filings by Defendant.

Discussion:
       There is nothing vague, ambiguous or burdensome in requesting the Articles of
Incorporation (or their French equivalent) of your company. These are Government filings.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 152 of 192 Page ID
                                  #:2475


        Wikipedia defines Articles of Incorporation as: Articles of incorporation, also referred to
as the certificate of incorporation or the corporate charter, are a document or charter that
establishes the existence of a corporation in the United States and Canada. They generally are
filed with the Secretary of State or other company registrar.
        An equivalent term for limited liability companies (LLCs) in the United States is articles
of organization. For terms with similar meaning in other countries, see articles of association.
        This is not a request for your business license.
       You have not provided any of the requested items sought in the request for production
nor have you either promised to do so or stated you would not. You are currently in violation of
the Court order of November 5, 2018.

REQUEST FOR PRODUCTION NO. 7:
        All DOCUMENTS RELATED TO, RELATING TO or CONCERNING any “Partners”
of EURL ELEONORA DE GRAY and/or YOU in the United States referenced in your Answer
to the First Amended Complaint (inclusive of, but not limited to, Emails, Contracts, Agreements
and proposals between YOU and /or EURL ELEONORA DE GRAY with said partners.)
        Defendant objects to this Interrogatory on the grounds that it seeks to obtain privileged
documentation and contact information regarding business activities outside of the United States
and that are beyond the jurisdiction of the California [Court].

Your Objection:
       Defendant objects to this Interrogatory on the grounds that it seeks to obtain privileged
documentation and contact information regarding business activities outside of the United States
and that are beyond the jurisdiction of the California [Court]. The documents / copyrighted
materials presented at the registration of trademarks RUNWAY MAGAZINE in 2013 are related
to production / international production since 2007.

Discussion:
        Partnerships as defined in the State of California and the United States with persons or
Parties in California and the United States would place you and your company under the
Jurisdiction of this Court. You have continually stated that the Court does not have Jurisdiction.
The Plaintiff is entitled to these documents to counter any argument related to Jurisdiction you
have alleged.
        Additionally, there are few things under United States law that qualify as privileged.
Contractual agreements unless those specific to you and your attorney, are not among them.
        You have not provided any of the requested items sought in the request for production
nor have you either promised to do so or stated you would not. You are currently in violation of
the Court order of November 5, 2018.

REQUEST FOR PRODUCTION NO. 8:
       All DOCUMENTS RELATED TO, RELATING TO or CONCERNING your signing of
the Licensing Agreement effective April 1, 2014 between YOU and Runway Beauty, Inc.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 153 of 192 Page ID
                                  #:2476


Your Objection:
         Defendant objects to this Interrogatory on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. Additionally, all additional
communication has been already submitted to this Court by Plaintiff or Defendant in different
filings.


Discussion:
         Plaintiff does not have in its possession custody and control all emails and
correspondence between the parties and seeks to supplement those in its possession for
evidentiary purposes. There is nothing vague and/or ambiguous in the request. Since you allege
that all such documents have been provided with Court filing (which the Plaintiff can prove is
not a true statement) it can not be overly burdensome to produce these documents as you would
have said documents at your fingertips. Plaintiff is requesting all communications, not only those
you used to support your Answer and assorted motions.
         You have not provided any of the requested items sought in the request for production
nor have you either promised to do so or stated you would not. You have not stated whether any
responsive materials are being withheld on the basis of that objection. You are currently in
violation of the Court order of November 5, 2018.

REQUEST FOR PRODUCTION NO. 9:
       All COMMUNICATIONS between YOU and any third party in which Vincent Mazzotta
is mentioned, between January 1, 2012 and the date of response to this request.

Your Objection:
      Defendant objects to this Interrogatory on the grounds that it the demanded
communication does not exist or no longer in the position of Defendant.

Discussion:
        This Request does not pertain to correspondence between the parties. Rather it pertains to
correspondence between the Defendant and third parties, such as Google, Inc. , Facebook, Inc.,
etc. Plaintiff has, a defamation Causes of Action. Plaintiff is entitled to all documents supporting
said cause of action. As Plaintiff has some of the correspondence sent to third parties in its
possession and Defendant has included some of these correspondence in her own Court filings, a
denial of the existence or possession of such documents cannot be believed and is perjurious. If
these items were sent by Email then the Defendant is responsible for obtaining copies from her
Email provider.
        You have not provided any of the requested items sought in the request for production
nor have you either promised to do so or stated you would not. You have not stated whether any
responsive materials are being withheld on the basis of that objection. You are currently in
violation of the Court order of November 5, 2018.

REQUEST FOR PRODUCTION NO. 10:
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 154 of 192 Page ID
                                  #:2477


      All COMMUNICATIONS between YOU and any third party in which James Buccelli is
mentioned, between January 1, 2012 and the date of response to this request.

Your Objection:
        Defendant objects to this Interrogatory on the grounds that it seeks to obtain privileged
documentation and contact information regarding business activities outside of the United States
and that are beyond the jurisdiction of the California [Court].
Discussion:
        This Request relates to the business relationship you had with Mr. Buccelli and the illegal
use of the RUNWAY® trademark. Additionally, Plaintiff is allowed to seek the correspondence
from the period after your business relationship ended and what was told to third parties
supporting the Defendants ownership of said trademark.
        You have not provided any of the requested items sought in the request for production
nor have you either promised to do so or stated you would not. You have not stated whether any
responsive materials are being withheld on the basis of that objection. You are currently in
violation of the Court order of November 5, 2018.

REQUEST FOR PRODUCTION NO. 11:
       All DOCUMENTS RELATED TO, RELATING TO or CONCERNING the shipment of
RUNWAY MAGAZINE to vendors, distributors and/or wholesalers between January 1, 2012
and the date of response to this request.

Your Objection:
       Defendant objects to this Interrogatory on the grounds that it seeks to obtain privileged
documentation and contact information regarding business activities outside of the United States
and that are beyond the jurisdiction of the California [Court].

Discussion:
        You have made numerous claims in your Answer about your dates of publication of
Runway Magazine and frequency of Publication. Additionally, you have used the RUNWAY®
trademark on each publication without payment for said use or a license to use said trademark.
The Plaintiff has a right to request these materials to determine if your statements made in
Pleadings are true and justified. Plaintiff does NOT have to take your word for it. Additionally,
Plaintiff is entitled to this information for the purposes of determining the actual amount of
damages that will be sought in Court.
        These documents are not privileged in any way. Additionally, though you continue to
deny the fact, your answer has placed you under the Jurisdiction of the District Court for the
Central District of California and you MUST comply with lawful discovery or face sanctions.
        You have not provided any of the requested items sought in the request for production
nor have you either promised to do so or stated you would not. You have not stated whether any
responsive materials are being withheld on the basis of that objection. You are currently in
violation of the Court order of November 5, 2018.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 155 of 192 Page ID
                                  #:2478


REQUEST FOR PRODUCTION NO. 12:
       All DOCUMENTS RELATED TO, RELATING TO or CONCERNING
COMMUNICATIONS between YOU and vendors of RUNWAY MAGAZINE RELATED TO,
RELATING TO or CONCERNING the RUNWAY™ held by Runway TV, LLC between
January 1, 2012 and the date of response to this request.


Your Objection:
      Defendant objects to this Interrogatory on the grounds that these documents do not exist.

Discussion:
        Plaintiff has some of the correspondence sent to your vendors in its possession and
Defendant has included some of these correspondence in her own Court filings, a denial of the
existence or possession of such documents cannot be believed and is perjurious. If these items
were sent by Email then the Defendant is responsible for obtaining copies from her Email
provider. You have not even stated if any effort was taken to obtain and or search for such
documents.
        You have not provided any of the requested items sought in the request for production
nor have you either promised to do so or stated you would not. You have not stated whether any
responsive materials are being withheld on the basis of that objection. You are currently in
violation of the Court order of November 5, 2018.

REQUEST FOR PRODUCTION NO. 13:
       All DOCUMENTS RELATED TO, RELATING TO or CONCERNING
COMMUNICATIONS between YOU and GOOGLE, Inc (inclusive of their online Store)
concerning the RUNWAY™ held by Runway TV, LLC between January 1, 2012 and the date of
response to this request.

Your Objection:
        Defendant objects to this Interrogatory on the grounds that these documents from January
2012 do not exist. Documents from 2017 already has been submitted by Plaintiff in his original
and first amended complaint to this Court. Defendant does not have additional documents in her
possession / or they do not exist.

Discussion:
       Plaintiff has some of the correspondence sent to Google, Inc. in its possession and
Defendant has included some of these correspondence in her own Court filings, a denial of the
existence or possession of such documents cannot be believed and is perjurious. If these items
were sent by Email, then the Defendant is responsible for obtaining copies from her Email
provider. You have not even stated if any effort was taken to obtain and or search for such
documents.
       You have not provided any of the requested items sought in the request for production
nor have you either promised to do so or stated you would not. You have not stated whether any
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 156 of 192 Page ID
                                  #:2479


responsive materials are being withheld on the basis of that objection. You are currently in
violation of the Court order of November 5, 2018.

REQUEST FOR PRODUCTION NO. 14:
All DOCUMENTS RELATED TO, RELATING TO or CONCERNING COMMUNICATIONS
between YOU and APPLE, Inc. (inclusive of their online store) concerning the RUNWAY™
held by Runway TV, LLC between January 1, 2012 and the date of response to this request.
Your Objection:
        Defendant objects to this Interrogatory on the grounds that these documents from January
2012 do not exist. Documents from 2017 already has been submitted by Plaintiff in his original
and first amended complaint to this Court. Defendant does not have additional documents in her
possession / or they do not exist.

Discussion:
        Plaintiff has some of the correspondence sent to Apple, Inc. in its possession and
Defendant has included some of these correspondence in her own Court filings, a denial of the
existence or possession of such documents cannot be believed and is perjurious. If these items
were sent by Email, then the Defendant is responsible for obtaining copies from her Email
provider. You have not even stated if any effort was taken to obtain and or search for such
documents.
        You have not provided any of the requested items sought in the request for production
nor have you either promised to do so or stated you would not. You have not stated whether any
responsive materials are being withheld on the basis of that objection. You are currently in
violation of the Court order of November 5, 2018.

                                  Requests for Admission
      The Court ordered that you respond to this discovery request and described in detail how
you must respond:

        Pursuant to Rule 36, a party may serve on any other party Requests for Admissions
(“RFAs”) to obtain any evidence within the permissible scope of discovery. Fed. R. Civ. P.
26(b)(1), 36(a). RFAs are required to be simple and direct, and should be limited to singular
relevant facts. See Securities and Exchange Commission v. Micro-Moisture Controls, Inc., 21
F.R.D. 164, 166 (S.D.N.Y. 1957); see also Dubin v. E.F. Hutton Group, Inc., 125 F.R.D. 372,
376 (S.D.N,Y. 1989) (objections to RFAs as vague, ambiguous, overbroad and burdensome
sustained where requests for admissions not simple concise statements of fact, but instead
contained vague and ambiguous wording that did not allow defendants fairly to admit or deny).
A request for admission may seek an admission of the genuineness of documents if copies of the
documents are attached to the request or have been previously furnished or made available for
inspection and copying. Fed. R. Civ. P. 36(a)(2). A party may properly seek to have another part
admit or deny a responding party’s understanding of the meaning of a document. See Booth Oil
Site Admin. Group v. Safety-Kleen Corp., 194 F.R.D. 76, 80 (W.D.N.Y 2000). A request for
admission may also request “the application of law to fact.” Fed. R. Civ. P. 36(a)(1)(A); see
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 157 of 192 Page ID
                                  #:2480


Marchand v.Mercy Medical Center, 22 F.3d 933, 937 n.4 (9th Cir. 1994) (“Rule 36(a) permits
requests for admission addressing questions of mixed law and fact.”) (citation omitted). A
request for admission may not, however, seek a response on a disputed conclusion of pure law.
See Playboy Enterprises, Inc. v. Welles, 60 F. Supp. 2d 1050, 1057 (S.D. Cal. 1999).
         A matter is admitted unless, within 30 days after being served, the party to whom an RFA
is directed serves on the requesting party a written answer or objection addressed to the matter
and signed by the party or its attorney. Fed. R. Civ. P. 36(a)(3).2 Pursuant to Local Rule 36-2,
the party answering or objecting to requests for admission shall quote each request in full
immediately preceding the statement of any answer or objection thereto. Local Rule 36-2. An
answer to a request for admission must consist of an admission, a denial, or a statement detailing
why the answering party is unable to admit or deny the matter. Fed. R. Civ. P. 36(a)(3), 36(a)(4).
If any portion of a request for an admission is true, the party to whom it is directed must admit
that portion and qualify or deny the rest. Fed. R. Civ. P. 36(a)(4); see Holmgren v. State Farm
Mutual Insurance Co., 976 F.2d 573, 579-80 (9th Cir. 1992). A denial must be specific and must
fairly respond to the substance of the matter. Fed. R. Civ. P. 36(a)(4). Where the meaning of a
particular term in a request is somewhat inexact, the responding party should supply its own
definition and admit or deny, or qualify its admission or denial to make it accurate and
Responsive. See S.A. Healy Co./Lodigiani USA, Ltd. v. United States, 37 Fed. Cl. 204, 205-07
(Fed. Cl. 1997). A qualified denial is proper if the responding party sets forth in detail the
reasons why he or she cannot truthfully deny the matter. Fed. R. Civ. P. 36(a)(4). A party who
responds by claiming an inability to admit or deny must also state that he or she has made
“reasonable inquiry and that the information it knows or can readily obtain is insufficient to
enable it to admit or deny.” Fed. R. Civ. P. 36(a)(4); Asea, Inc. v. Southern Pacific
Transportation Co., 669 F.2d 1242, 1245-47 (9th Cir. 1981); A. Farber & Partners, Inc. v.
Garber, 237 F.R.D. 250, 253-55 (C.D. Cal. 2006). What constitutes “reasonable inquiry” and
what material is “readily obtainable” are relative matters that depend upon the facts of each case.
T. Rowe Price Small-Cap Fund, Inc. v. Oppenheimer & Co., Inc., 174 F.R.D. 38, 43 (S.D.N.Y.
1997). Generally, “reasonable inquiry” for purposes of responding to requests for admission, is
limited to review and inquiry of those persons and documents that are within the responding
party’s control. Id. at 43. A party cannot be forced to admit or deny facts testified to by a third
party as to which the responding party has no personal knowledge. Id. at 46. The validity, or
bona fides of a qualified answer to a request for admission must await trial to see if the
requesting party is forced to prove what was not admitted and can show that there was no good
reason for the opponent’s failure to admit. National Semiconductor Corp. v. Ramtron
International Corp., 265 F. Supp. 2d 71, 74-75 (D. D.C. 2003).

REQUEST FOR ADMISSION NO. 1:
    Admit that YOU are the sole shareholder of EURL ELEONORA DE GRAY.

Your Objection:
        Defendant objects to this request on the grounds that it seeks to obtain copyrighted
materials and/or information regarding business activities that took place outside of the United
States and that are beyond the jurisdiction of the California [Court]
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 158 of 192 Page ID
                                  #:2481



Discussion:
        Your objection makes no sense at all. You were asked to admit that you are the sole
shareholder of EURL Eleonora De Gray. You have neither admitted or denied this Request in
direct violation of the order of this Court stated above.
        You are currently in violation of the Court order of November 5, 2018.
REQUEST FOR ADMISSION NO. 4:
        Admit that YOU filed three (3) Requests (motion) after the filing of the Motion to
Dismiss for Lack of Jurisdiction.

Your Objection:
       Defendant is unable to admit or deny this Request on the grounds that it violates Federal
Rules of Civil Procedure Rule about Discovery requests, as this request for admission based on
determination of litigation of the claims.

Discussion:
       Your objection makes no sense at all. You were asked to admit that you filed 3
motions/requests after the first Motion to dismiss. This was as of the date the discovery was
served upon you. What actions you have taken are not the subject of litigation. Either you must
admit or deny these actions.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 5:
       Admit that Defendant EURL Eleonora De Gray advertised on its website that it is an
American-French magazine produced by Media Group ELEONORA DE GRAY with offices
based in Paris (France), New York and Los Angeles. as of July 30, 2018.

Your Objection:
        Defendant objects to this request on the grounds that it seeks to obtain copyrighted
materials and/or information regarding business activities that took place outside of the United
States and that are beyond the jurisdiction of the California [Court]

Discussion:
       Your objection makes no sense at all. You were asked to admit that EURL Eleonora De
Gray advertised on its website that it is an American-French magazine produced by Media Group
ELEONORA DE GRAY with offices based in Paris (France), New York and Los Angeles. as of
July 30, 2018. Either you must admit or deny statement.
   You are currently in violation of the Court order of November 5, 2018.
REQUEST FOR ADMISSION NO. 7:
       Admit that You signed a license agreement to use the name RUNWAY™ for a magazine
dated April 1st, 2014.
Your Objection:
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 159 of 192 Page ID
                                  #:2482


      Defendant is unable to admit or deny this Request on the grounds that it is vague and
ambiguous, overbroad and unduly burdensome, and uses undefined terms.

Discussion:
        Your objection makes no sense at all. You were asked to admit that you signed a
licensing agreement for the use of the RUNWAY trademark dated April 1, 2014. You must
either admit or deny that action. This request does not ask for the legal validity of said
agreement. Just whether you signed it or not. As you have already admitted in prior filings that
you did sign it and included a copy as an exhibit, to deny this admission would be perjury.
        You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 8:
        Admit that the signed license agreement to use the name RUNWAY™ for a magazine
dated April 1st, 2014 lists as the governing law in paragraph 15 Business Terms/Schedule, United
States of America.

Your Objection:
      Defendant is unable to admit or deny this Request on the grounds that it is vague and
ambiguous, overbroad and unduly burdensome, and uses undefined terms.

Discussion:
         Your objection makes no sense at all. You were asked to admit lists as the governing law
in paragraph 15 Business Terms/Schedule, United States of America. This request does not ask
for the legal validity of said agreement. Just whether the agreement lists as the governing law in
paragraph 15 Business Terms/Schedule, United States of America. As the document speaks for
itself and you have included a copy as an exhibit, to deny this admission would be perjury.
         You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 8 (misnumbered):
        Admit that the on P:1 L:22-23 of the Notice of Motion and Motion to Dismiss under
FRCP Rule 12(b)(2) for Lack of Jurisdiction YOU state YOU have “Partners” in the United
States of America.

Your Objection:
       Defendant is unable to admit or deny this Request on the grounds that it is vague and
ambiguous, overbroad and unduly burdensome, and uses undefined terms. This request is
duplicated previous request. Additionally, this request seeks to obtain privileged documentation
and contact information regarding business activities outside of the United States and that are
beyond the jurisdiction of the California

Discussion:
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 160 of 192 Page ID
                                  #:2483


       Your objection makes no sense at all. You were asked to admit a statement made by
YOU in a Court filing. As the document speaks for itself and you have filed this document with
the Court to deny this admission would be perjury.
       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 9:
    Admit that a partnership is a for-profit business association of two or more persons.


Your Objection:
         Defendant is unable to admit or deny this Request on the grounds that it is vague and
ambiguous, overbroad and unduly burdensome, and uses undefined terms. Additionally, this
request seeks to obtain privileged documentation and contact information regarding business
activities outside of the United States and that are beyond the jurisdiction of the California

Discussion:
       Your objection makes no sense at all. You were asked to admit a statement of fact. As
you have used the term Partnership with in Court filings to deny this admission now would be
perjury.
       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 10:
        Admit that a partnership is a legal entity classified in both the United States and the State
of California as either a General Partnership of a Limited Partnership.

Your Objection:
       Defendant is unable to admit or deny this Request on the grounds that it is vague and
ambiguous, overbroad and unduly burdensome, and uses undefined terms. Defendant has no
connection specifically to California. Additionally, this request seeks to obtain privileged
documentation and contact information regarding business activities outside of the United States
and that are beyond the jurisdiction of the California [Court].

Discussion:
       Your objection makes no sense at all. You were asked to admit a statement of fact. As
you have used the term Partnership with in Court filings to deny this admission now would be
perjury.
       You are currently in violation of the Court order of November 5, 2018.


REQUEST FOR ADMISSION NO. 11:
       Admit that a partnership is a consideration under Federal Law which prohibits a Diversity
Action in any Federal Court of a State in which a Plaintiff and Defendant partner are both
residents.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 161 of 192 Page ID
                                  #:2484



Your Objection:
       Defendant is unable to admit or deny this Request on the grounds that it is vague and
ambiguous, overbroad and unduly burdensome, and uses undefined terms. Defendant has no
connection specifically to California. Additionally, this request seeks to obtain privileged
documentation and contact information regarding business activities outside of the United States
and that are beyond the jurisdiction of the California [Court].

Discussion:
       Your objection makes no sense at all. You were asked to admit a statement of fact. As
you have used the term Partnership with in Court filings to deny this admission now would be
perjury.
       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 13:
        Admit that in an Email dated March 18, 2014 addressed to Michael Cohen YOU stated
““I strongly believe that international trademarks RUNWAY / RUNWAY MAGAZINE belongs
to Vincent. and I strongly believe that we should do everything possible to get USA trademark
also back to Vincent. Otherwise scam and fraud will never stop.”

Your Objection:
       Defendant is unable to admit or deny this Request on the grounds that it is vague and
ambiguous, overbroad and unduly burdensome, and uses undefined terms. Defendant has no
connection specifically to California. Additionally, this request seeks to obtain privileged
documentation and contact information regarding business activities outside of the United States
and that are beyond the jurisdiction of the California [Court]…. This document has been already
submitted in various filing of Defendant to this Court.

Discussion:
         Your objection makes no sense at all. You were asked to admit a statement of fact. You
state in your own response that a copy of this Email has been submitted by you to the Court.
How can you then be unable to admit the existence of this Email?

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 15:
       Admit that YOU registered in France trademarks Runway France / Runway Magazine
France after such time as YOU became aware that the license to use the RUNWAY Magazine™
obtained from James Buccelli in February 2012 was fraudulent.

Your Objection:
Defendant is unable to admit or deny this Request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. Defendant has no connection
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 162 of 192 Page ID
                                  #:2485


specifically to California. Additionally this request seeks to obtain privileged documentation and
contact information regarding business activities outside of the United States and that are beyond
the jurisdiction of the California

Discussion:
       Your objection makes no sense at all. You were asked to admit a statement of fact. You
entered an agreement in 2012 with James Buccelli for the use of Runway Magazine trademark.
How can you then be unable to admit or deny that 2013 (when you registered the French
trademark) was after the 2012 agreement??

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 18:
        Admit that YOU have sent Emails to parties that do business with Runway TV, LLC that
the Plaintiff company is not the real RUNWAY.

Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 19:
         Admit that YOU have sent Emails Apple, Inc. related to the Plaintiff’s App(s) to “Please
remove these applications and ban the user permanently or ban these applications from all other
territories except USA.”




Your Objection:
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 163 of 192 Page ID
                                  #:2486


       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 20:
        Admit that YOU have sent Emails Google.Com related to the Plaintiff’s App(s) to
“Please remove these applications and ban the user permanently or ban these applications from
all other territories except USA.”

Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 21:
       Admit that YOU have sent Email to GoDaddy.Com related to the Plaintiff’s RUNWAY
FRANCE website that it infringes on the RUNWAY MAGAZINE FRANCE intellectual
property.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 164 of 192 Page ID
                                  #:2487


Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 22:
         Admit that YOU have sent Email to LinkedIn related to the Plaintiff’s RUNWAY ™ that
it infringes on the RUNWAY MAGAZINE intellectual property.

Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

 REQUEST FOR ADMISSION NO. 23:
        Admit that YOU have sent Email Instagram related to the Plaintiff’s RUNWAY ™ that it
infringes on the RUNWAY MAGAZINE intellectual property.

Your Objection:
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 165 of 192 Page ID
                                  #:2488


       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 24:
        Admit that YOU have sent Email mikeyaandmproducPons@gmail.com related to the
Plaintiff’s RUNWAY ™ that it infringes on the RUNWAY MAGAZINE intellectual property.

Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 25:
         Admit that YOU have sent Email Julia Perry Style related to the Plaintiff’s RUNWAY ™
that it infringes on the RUNWAY MAGAZINE intellectual property.

Your Objection:
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 166 of 192 Page ID
                                  #:2489


       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.




REQUEST FOR ADMISSION NO. 26:
         Admit that YOU have sent Email Dylan Perlot related to the Plaintiff’s RUNWAY ™
that it infringes on the RUNWAY MAGAZINE intellectual property.

Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.


Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 27:
        Admit that YOU have sent Email Jifff.com related to the Plaintiff’s RUNWAY ™ that it
infringes on the RUNWAY MAGAZINE intellectual property.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 167 of 192 Page ID
                                  #:2490



Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.


REQUEST FOR ADMISSION NO. 28:
       Admit that any rights granted YOU in the contract between the parties have been
extinguished by YOUR failure to pay the required licensing fees.

Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

REQUEST FOR ADMISSION NO. 29:
      Admit that YOU attempted to breach the Attorney Work Product privilege by requesting
documents from L.A. Translations.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 168 of 192 Page ID
                                  #:2491



Your Objection:
       Defendant objects to this request on the grounds that it is vague and ambiguous,
overbroad and unduly burdensome, and uses undefined terms. French Attorney on behalf of
Defendant sent emails not to business parties but to participants in various projects of Plaintiff,
who mislead these participants by naming his editions RUNWAY MAGAZINE.

Discussion:
        Your objection makes no sense at all. The term YOU or YOUR is defined in the Requests
for Admission. “The term “YOU” or “YOUR” shall mean, refer to and include Defendant
ELEONORA DE GRAY, and any and all of her predecessors in interest, successors in interest,
subsidiaries, affiliated entities, joint venturers, members, partners, assignors, licensees, officers,
directors, employees, agents, and representatives of the foregoing, and any other PERSON or
entity acting or purporting to act on behalf of any of the foregoing. Here you state your attorney
sent emails on your behalf then deny the statement.

       You are currently in violation of the Court order of November 5, 2018.

       Please advise this office as soon as is possible, if it is your intent to provide revised
responses and when, to the Plaintiff’s Requests for the Identification and Production of
Documents and Things as well as the Requests for Admissions served upon you pursuant to
Federal Rules of Civil Procedure, the Local Rules and the Orders of the Court.

       Please advise this office when we can have the telephonic Meet and Confer discussion
required under Local Rule 31-1 within the next 10 days.

       Nothing herein is a waiver of any of my client’s rights, all of which are expressly
reserved herein.

Sincerely:


William D.
        D Goldstein
Attorney for Runway TV, LLC
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 169 of 192 Page ID
                                  #:2492




                                              Exhibit “N”
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 170 of 192 Page ID
                                  #:2493



Please note that a portion of Exhibit N has been redacted as it contains a proposal
for settlement of the case which cannot be included in evidence.
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 171 of 192 Page ID
                                    #:2494




                                         
                                            
                                
                                           
                                           
                                          !"#


$ %%&!'("%&))&$* ")+(,'&*
&))&$# ")+(,'&*-./0
1$ ,'))'.)2+
"(*3')'( /44516

                                           '7,'#8'96/

9 ")+(,'&*
 :#3)$+,;$,<"=+'!&+'+,"9'(7"*+'+,"  $*+"!$)=)'59')$,'+,",;'9'>=&9'+'',$*+
  "*%'979"!'((79&"9,",;'%&)&*3"%",&"*(,"&(#&((%"9)$!?"%#'9&, +'%'*+$*,79"('7)$*,"
%&)'$,,;'8'3&**&*3"%!,"8'9

),;"=3;&,&(*",!)'$9,"#' ;<<"=!$#',"+&(!=((&"*$8"=,+&(!"2'9<9'>='(,())+&(!"2'9&'(
  '9'(=(7'*+'+=*,&)%=9,;'9 "=9,9+'9$8"=,,;'79"!''+&*3@;&(&*!)=+'((7'!&$)9+'9%"9
+&(!"2'9&'()'$('!"*(=), "=9,9+'9$,"2'#8'9/6$*+ "=9,9+'9'7,'#8'9/A
B@;'!"=9, &))&((='$%=9,;'9 =7"*,;'%&)&*3"%,;'+'!)$9$,&"*
9'%'9'*!'+&*7$9$39$7;$8"2'C
  "=&*,'979','+,;' "=9,9+'9"*' $< &*,'979','+&,+&%%'9'*,)<E %"))" 'F$!,)<,;'&*(,9=!,&"*(
"%,;'9+'9%9"#'7,'#8'9/
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 172 of 192 Page ID
                                    #:2495

",;&(+&(!=((&"*(;"=)+8'9')$,'+,",;'",&"*,"&(#&(( 7)$*,"%&)'$,,;'8'3&**&*3"%!,"8'9

 %<"=7)$*,"%&)'$",&"*," "#7')&,&("%!"=9('<"=9!;"&!'
  "*!'9*&*3#<9'(7"*('(=*+'9)$ 9 ")+(,'&*&* '+'9$)!$('( ;'*!&,&G'*8=(&*'(('*,&,&'(
"%",;'9!"=*,9&'($9'&*2")2'+ '+'9$) "=9,%"))" ( @@ )$ &,#'$*( ;'*)$ 
$!!'7,()$ ("%",;'9!"=*,9&'(&*79"!''+&*3( $)9'$+<9'(7"*+'+,"<"=9+&(!"2'9<9'>='(,(A#$*<
"%,;'#$9'*",9')$,'+,",;'!$(',;'<$9'9')$,'+,"#<8=(&*'(($*+$8=(&2'$(,;'<+&9'!,'+,"
9'!"2'9!)&'*,+$,$8$('$*",;'9"*'((&#7)<&#7"((&8)',"+')&2'9$(,;'<+"*:,'F&(,$*+$*",;'9"*'(
9')$,'+,"&*,'9*$,&"*$)H"=9*$)&(,(#=),&7)')$ (,;'<$9'$)(")$ -7)'$('(''#<9'(7"*('(0$*+
$*",;'9"*'(9')$,'+,"!9&#&*$)%&)'(=8#&,,'+,"-"(*3')'(")&!''7$9,#'*,E)$ 0
  "=#$<!"*(=),)$ $8"=,;" !9&#&*$)!$('((;"=)+8'7=8)&!)<'F7"('+(;$9'+ &,;,;&9+7$9,<
<"=,;&( "=9,-,;&(&(!&2&) "=9,*",!9&#&*$)0',!@;'<*''+'+(7'!&$)7'9#&((&"*$=,;"9&G$,&"*
$*+9'$))<,"8'*'!'(($9<$*+@,",;'!$('

 %<"=9'$))< "=)+)&?',"+&(!=(($*$#&!$8)'$39''#'*,8'%"9'89&*3&,8'%"9'=+3' '!$*(,$9,
%9"#2'9<8'3&**&*3 "=(,$,'+%$)('%$!,,;$, 9'3&(,'9'+#<,9$+'#$9?( @ 3$2'#<(&3*$,=9'
"*B)&!'*('C!"*,9$!, "=7'9%'!,)<?*" ,;'+$,'("%,;',9$+'#$9?(9'3&(,'9'+E"2'#8'94 ,
&($1#"*,;(.  3$2'#<(&3*$,=9' "= 9",'#=),&7)'$))'3$,&"*( &,;"=,$*<#$,'9&$)%$!,(
,"(=77"9,,;'#',! "=?*" ,;$,$))$))'3$,&"*((;"=)+8'(=77"9,'+8<#$,'9&$)%$!,( "=$)("?*"
,;$,,;&(!"*,9$!,;$(*")'3$)2$)='$(9$GG",,$(&3*'+&,&*79&)$%,'9#<$,,"9*'<*",'+,"
;&#,;$,"*,;'!"*,9$!,;'('*,,";'9,;'9':(*";&((&3*$,=9' *$++&,&"*,;'9':(*")'3$) &,*'((:(
(&3*$,=9'(79'('*,'+&*,;&(!"*,9$!,%9"#,;'(&+'"%9$GG",,$*'&,;'9%9"##<(&+' *$++&,&"*
"9&3&*$)!"7<"%,;'!"*,9$!,;$(*'2'98''*('*,,"#'",;'!"*,9$!,+&+*:,!9'$,'$*<8"*+$*+!$*:,
8'$)'3$)39"=*+@;'('%$!,($9'#$,,'9,",;&( "=9,'2'* 79'('*,'+,;'#79"('
'!$*"%!"=9('!"*,&*=',"$93='8'%"9'=+3'8=,7)'$('8'79'7$9'+,;$,&*#<",&"*,"&(#&((
 :))%&)'$++&,&"*$)&*%"9#$,&"*9')$,'+,"$8=('("%79"!'((A9'7"9,"%9$GG",,$," "$++<=*+'9
7'9H=9<E)$ &*'7,'#8'9/ ;'9';'&*!)=+'+%$)('%$!,($8"=,,;$,;'" *( 
  ,9$+'#$9?-$#'(.=!!'))&=*,&),"+$<" *(&,$*+=('(&,$,;&(" * &)),;' $<;'
%&*+(&,*'!'(($9<0$*+,;$, +&+*:,9'(7"*+'+,";&(!"#7)$&*,$*+ "=9,$)9'$+<,;'
+'%$=),+'!&(&"*
*+ ;$,&(#"(,&#7"9,$*, :))%&)'#=),&7)'(!9''*(;",("%9$GG",,$:(. &*(,$39$#$!!"=*,
 *<"=9!"#7)$&*,<"=(,$,'+,;$,$=+&'*!'"%9$GG",,$&($8"=,#&))&"*%"))" '9(",;'('7"(,("%
9$GG",,$ '9'79"#",'+,"#&))&"*%"))" '9(
 8')&'2',;$,<"=?*"  ;$,7"(,( 7)$*,"%&)'E+&%%'9'*,79"#",&"*("%7"9*"$!,9'(('($*+7"9*"
#"+')(-&*!)=+&*379"#",&"*"%,;'&97"9*"$!!"=*,("*&*(,$39$#$*+, &,,'907=8)&!79"#",&"*"%
(')%5;$9#$*+7=8)&!79"#",&"*"%-&))'3$)+9=35;'9"&*0@;'('7"(,($9'*",9')$,'+,"
%$(;&"*"9$!,&2&,&'(<"=!)$&#'+8'%"9',;&( "=9,9$GG",,$'F'9!&('(
 %<"=8')&'2',;$,,;'('(!9''*(;",("%8=(&*'(($!,&2&,&'("%9$GG",,$:($*+=('"%;&(,9$+'#$9?(
  @I%"979"#",&"*9')$,'+,"7"9*"39$7;<$*++9=3( &))"*)<;')7,",;&( "=9,
,"3&2'+'!&(&"*&*;&(%$2"9,;$*,;'9':(*"#$,,'9,"+&(!=((&,%=9,;'9
 :))"82&"=()<%&)',;'#&*#<",&"*,"&(#&((%"9)$!?"%#'9&,


@ %<"=9'$))< "=)+)&?',""7'*$#&$8)'+&(!=((&"*E :#"7'*,"+"("
 79"7"('%"))" &*3A
@ @ ;&!; &))8'79'('*,'+,"=+3' &,;",&"*,"!$*!'),;'!"#7)$&*,$(
#=,=$)$39''#'*,;$(8''*$!;&'2'+
@;&(#=,=$)$39''#'*,(;"=)+&*!)=+'('2'9$)7"&*,(A
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 173 of 192 Page ID
                                    #:2496

                                                                                              
                                                                                              
                                                                                                          
                                                                                                                       
                                                                                                                               
                                                                                                  
                                                                                                                       
                                                                                                                  
                                                                                              
                                                                                                              
                                                                                                                  
                                                                                                                   
                                                                                                                           

                                                                                                                  
                                                                                                      
                                                                                                              
                      
                                                                                                          
                                                                                                                      
                                                                                              
                                                                                    

                                                                                                                           


                                                                                                          


 8')&'2',;$,#<79"7"(&,&"*&(2'9<9'$("*$8)'$!!"9+&*3,"!&9!=#(,$*!'(,;'9 &(' ':))79"!''+
,;' $< '8",;7)$*,"79"!''+
)'$('$)("*",',;$,&*$++&,&"*,"#<",&"*,"&(#&(($*+$",&"*,"&(#&((%9"#$*$,,"9*'<
  ;":))9'79'('*,#<!"#7$*<,;'9':($)("#$,,'9&*+&(!=((&"*,"79"!''+ &,;+'#$*+"%7'*$),&'(%"9
7'9H=9<&*%9"*,"%,;&( "=9,))"%,;&(!"=)+8'$2"&+'+&%@ @!$*8'
$!;&'2'+

K&*+9'3$9+(

'7,'#8'96/
$9&( 9$*!'
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 174 of 192 Page ID
                                    #:2497

)'"*"9$+' 9$<
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 175 of 192 Page ID
                                  #:2498




                                              Exhibit “O”
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 176 of 192 Page ID
                                LAW OFFICES OF
                                  #:2499
                                     WILLIAM D. GOLDSTEIN
                                            4030 Sawtelle Blvd.
                                       LOS ANGELES, CALIFORNIA 90066
                                        TELEPHONE: (310) 437-0108
                                         FACSIMILE: (323) 372-3589

                                 E-MAIL: WDGOLDSTEIN@WDGOLDSTEIN.COM



                                       September 18, 2019

                         MEET AND CONFER LETTER-DISCOVERY


ELEONORA DE GRAY                                                       Via Email: infodegray@gmail.com
OFFICIAL RUNWAY MAGAZINE
23-25, rue Jean Jacques Rousseau
75001 Paris, France

Dear Ms. De Gray:

       This letter is intended to conform with both the FRCP and Local Rule 37-1 related to the
required Meet and Confer process prior to the filing of Motions to Compel, et al under FRCP
Rule 37.

        I believe you misunderstand the comment by Judge Olguin. The “further proceedings”
Order relates to the Courts scheduling for the case once all parties have been served. Discovery
Cutoff, Briefing Schedule, Trial Date, etc. The Court’s Order of November 29th states:

“All case deadlines, including all discovery matters, are stayed pending resolution of the
service of process issue. Unless the document relates to the service issues discussed
in this order, no further documents may be filed pending further order of the court.”

        Note that the stay applies “pending resolution of the service of process issue.” The
Court’s Order of September 11, 2019 and the service of the Summons and Complaint on
September 16th along with the filed declaration to that effect, resolves the “service of process
issue,” hence the stay has been lifted.

        As to your response to my Meet and Confer letter, it appears, in part to be a settlement
offer and has been forwarded to my client. As such it is not a Meet and Confer letter and is
forbidden to be entered into evidence under U.S. law (FRE 408 and FRCP 68). All such letters
are confidential. In the future please do not respond to a Meet and confer on a proposed motion
with settlement proposals. These should be kept separate and sent titled as such. As it is, I am
forbidden from entering your response into the record of our Meet and Confer actions prior to the
filing of a motion.

        I am on notice of your intent to file yet another Motion to Dismiss the personal case and
your proposed instructions to Counsel to file a Motion to Dismiss for EURL Eleonora De Gray.
That said to simplify matters please keep any discussion of said motions, especially Meet and
Confer letters separate from those related to discovery issues. This will create a much cleaner
record for the Court.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 177 of 192 Page ID
                                  #:2500



        I again state that you had promised to provide an explanation of your objections and
refusal to provide any documents or correct contradictory responses and/or missing responses to
the Requests for Admission served upon you and how you believe that these actions are in
accordance with the ruling of the Court on the first Motion to Compel on November 5, 2018. (I
am attaching a copy I case you did not save one).

     Please responds to this request and provide your explanations originally promised for
December 3, 2019, within no later than close of business on Tuesday, September 24, 2019.

       I am willing to read through any comments you have regarding my discussion of the
reasons why I believe you must respond to my discovery. That said, the only reasons I would
withdraw the requests is if you provide me with acceptable objections under United States law.
Not those you are currently alleging.

       I await your explanations by the September 24, 2019 deadline. If not received, I will
again need file another motion to Compel responses.

        In that regard are you willing to sign a joint Declaration to the effect that we have not had
a telephonic Meeting of Counsel as you have insisted that: 1) it is not required. 2) that we can do
any Meet and Confer via Email, 3) that you will only allow a telephonic meeting if you have
your attorney present, a certified translator present, and a transcript is generated, 4) all at the cost
of the Plaintiff? Said joint Declaration would also state that the parties are at an impasse as to the
discovery requests with neither willing to change their positions and requesting the Court to rule
on the matter. Neither of us will argue our points of view in said declaration. Just state the facts
cited above.

       Nothing herein is a waiver of any of my client’s rights, all of which are expressly
reserved herein.

Sincerely:


William D.
        D Goldstein
Attorney for Runway TV, LLC
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 178 of 192 Page ID
                                  #:2501




                                               Exhibit “P”
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 179 of 192 Page ID
                                    #:2502




                                         
                                            
                                
                                           
                                           
                                          !"#


$ %%&!'("%&))&$* ")+(,'&*
&))&$# ")+(,'&*-./0
1$ ,'))'.)2+
"(*3')'( /44516

                                           '7,'#8'9//

9 ")+(,'&*
)'$('*",',:$, :$2'2'9;(:"9,,&#'7'9&"+,"79'('*,$*$,,"9*'; :"<))+&(!=(($))#$,,'9(9')$,'+,"
#;!"#7$*; <+2'9;#=!:$779'!&$,'&%;"=,$>'$3""+*",'"%&,$*+=*+'9(,$*+&*3
 *$++&,&"*;"=!"*,&*='+'#$*+8=9+'*("#'$*+=**'!'(($9;'?7'*('(9')$,'+,"#'',$*+!"*%'9
79&"9%&)&*3#",&"*,"!"#7') :&!:&($8=(&2'$!!"9+&*3,")"!$)9=)'(
 +&+*<,79"7"(',":$2',:&(!"(,"*)$&*,&%% 79"7"('+,"$!!'7,,:&(8;'#$&)&%;"= &(:,"!"*,&*='
,"+&(!=((,:&(7$9,&!=)$9(=8@'!, &,:#'$($))+&(!=((&"*$9'9'!"9+'+*+ <#*", &))&*3,",$>',:&(
!"(,"*#;(')%$( (''&,=**'!'(($9;9;"=!$* $&,=*,&)$*$,,"9*'; &))'*,'9,:')&,&3$,&"*$*+
!"*+=!,#'',$*+!"*%'99')$,'+,"+&(!"2'9; &,::&#8;,')'7:"*'!"*%'9'*!'

( $)9'$+;($&+$));"=99'A='(,($9'*",9')$,'+,",:'!$('
(#=!:$( =*+'9(,$*+;"=9+&(!"2'9;9'A='(,(#"(,);9')$,'+,"!"*%&+'*,&$)%&)'(-)&(,("%,:'!)&'*,(
$*+7$9,*'9(0"%#;!"#7$*;",:&(#$,,'9!$*<,8'$++9'(('+,"#'$*;)"*3'9$($*$,,"9*'; &))
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 180 of 192 Page ID
                                    #:2503

:$2'79'('*,#;!"#7$*;&*%9"*,"%,:&( "=9,$*++"$77)&!$8)'%&)&*3

 +"*<,('' :;(:"=)+ 9'7'$,,:$,9'A='(,&*3!9&#&*$)!$('%&)&*3 &,:&($)("*",9')$,'+,",:&(
!$('*+7)'$('('')$ :" ,:'('!$('((:"=)+8'9'A='(,'+&%*'!'(($9;

 %;"=8')&'2',:$,%&)&*3",&"*,"!"#7')&(*'!'(($9;&*,:&((:"9,,&#'7'9&"+$*+;"=$9'*",
  &))&*3,"#'',$*+!"*%'9 &,:$*$,,"9*'; :"<))'*,'9$*+ &))9'79'('*,#;!"#7$*;B"%!"=9('
;"=!$*+"("
)'$('*",',:$, <))"77"(';"=9#",&"* &,:,:'$93=#'*,($*+$77)&!$8)')$ ( $)9'$+;
#'*,&"*'+&*#;9'(7"*(',";"=99'A='(,(*+&*$++&,&"* <))"77"(' &,:$*$93=#'*,,:$,#$*;"%
;"=99'A='(,($++9'(('+,",:'!"#7$*; :&!:(:"=)+8'9'79'('*,'+8;$*$,,"9*';$*+;"=%$9'*",
  &))&*3," $&,%"9,:'$77'$9$*!'"%$*$,,"9*';$*+%&)&*3",&"*,"!"#7')8'%"9'$*$,,"9*';&(
'*,'9&*3,:')&,&3$,&"*



C&*+9'3$9+(

'7,'#8'9//
$9&( 9$*!'




)'"*"9$+' 9$;
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 181 of 192 Page ID
                                  #:2504


Sincerely:


William D.
        D Goldstein
Attorney for Runway TV, LLC
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 182 of 192 Page ID
                                  #:2505




                                              Exhibit “Q”
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 183 of 192 Page ID
                                LAW OFFICES OF
                                  #:2506
                                     WILLIAM D. GOLDSTEIN
                                             4030 Sawtelle Blvd.
                                        LOS ANGELES, CALIFORNIA 90066
                                         TELEPHONE: (310) 437-0108
                                          FACSIMILE: (323) 372-3589

                                 E-MAIL: WDGOLDSTEIN@WDGOLDSTEIN.COM



                                        September 19, 2019

                         MEET AND CONFER LETTER-DISCOVERY


ELEONORA DE GRAY                                                        Via Email: infodegray@gmail.com
OFFICIAL RUNWAY MAGAZINE
23-25, rue Jean Jacques Rousseau
75001 Paris, France

Dear Ms. De Gray:

       This letter is intended to conform with both the FRCP and Local Rule 37-1 related to the
required Meet and Confer process prior to the filing of Motions to Compel, et al under FRCP
Rule 37.

        I am confused by your Meet and Confer letter of September 19, 2019. In this letter you
request that I wait to meet and confer on the discovery responses filed by you as a Pro Se litigant
until you hire an attorney in October. Whereas in you Meet and Confer letter of September 16,
2019 you speak of personally filing a 3rd Motion to Dismiss stating: “The motion will be filed
from me, Eleonora de Gray, a physical person, presented pro se.” You have also stated that you
intend to retain an attorney to represent EURL Eleonora De Gray only as you cannot represent
the company Pro Se in the District Court.

        If it is your intent to continue the personal litigation in Pro Se there is no need for me to
wait for you to employ an attorney. Additionally, I am under a time constraint to file the motion
due to the prior Stay. Hence, I am afraid I must pursue the matter now or lose my ability to do so.
The responses to the Discovery Requests are required for the Plaintiff to properly pursue its case
and may be required to oppose a Motion to Dismiss by Counsel for EURL Eleonora De Gray.

       You have not responded to my prior requests that you agree to send your written
responses to the Original 22 page meet and confer letter by September 24, 2019 instead of a
telephonic Meet and Confer. You have also not responded to my request that we produce a joint
declaration for the motion should it be filed. Hence, I repeat them below.

        I again state that you had promised to provide an explanation of your objections and
refusal to provide any documents or correct contradictory responses and/or missing responses to
the Requests for Admission served upon you and how you believe that these actions are in
accordance with the ruling of the Court on the first Motion to Compel on November 5, 2018.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 184 of 192 Page ID
                                  #:2507



     Please responds to this request and provide your explanations originally promised for
December 3, 2019, no later than close of business on Tuesday, September 24, 2019.

       I am willing to read through any comments you have regarding my discussion of the
reasons why I believe you must respond to my discovery. That said, the only reasons I would
withdraw the requests is if you provide me with acceptable objections under United States law.
Not those you are currently alleging.

       I await your explanations by the September 24, 2019 deadline. If not received, I will
again need file another motion to Compel responses.

        In that regard are you willing to sign a joint Declaration to the effect that we have not had
a telephonic Meeting of Counsel as you have insisted that: 1) it is not required. 2) that we can do
any Meet and Confer via Email, 3) that you will only allow a telephonic meeting if you have
your attorney present, a certified translator present, and a transcript is generated, 4) all at the cost
of the Plaintiff? Said joint Declaration would also state that the parties are at an impasse as to the
discovery requests with neither willing to change their positions and requesting the Court to rule
on the matter. Neither of us will argue our points of view in said declaration. Just state the facts
cited above.

         Additionally, in your latest Meet and confer letter you have decided to not engage in a
telephonic Meet and Confer process due to the your expense in such a matter, yet in your Meet
and Confer of November 27, 2018 you stated: “I also formally inform you that according to French
law any legal communication with party outside of Europe / France should be done by mail / email /
records. You are initiating this telephonic conference – so it is your responsibilities to arrange that. If
you'd like to conduct this telephonic conference please provide the name and status of an official
representative who'll be recording this conversation, meanings to record.” This implies that the
Plaintiff would have to pay all costs.

       You repeat the demand if a telephonic meet and confer is to take place in your 2nd Meet and
Confer of November 27, 2018. Again, implied is that the Plaintiff would have to pay all costs.

In your Meet and Confer letter of November 29, 2018 you specifically state: “You are initiating this
telephone conference, so any formal conditions should be done at your expense. The initiator is
the one who's responsible for any expenses for any formal actions from your side. I'm not
requesting any telephone conference with you, so I don't see why you think I should be
responsible for any formal actions initiated by you. Any formal actions, like this complaint, or
your fees which you constantly ask this Court to be paid, are formal actions initiated by you /
your client, so you are the one who's responsible for all expenses related to it.”

       As I have told you if you wish for the unnecessary procedures for a Meet and Confer then
you will have to pay for them.

       Nothing herein is a waiver of any of my client’s rights, all of which are expressly
reserved herein.
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 185 of 192 Page ID
                                  #:2508


Sincerely:


William D.
        D Goldstein
Attorney for Runway TV, LLC
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 186 of 192 Page ID
                                  #:2509




                                               Exhibit “R”
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 187 of 192 Page ID
                                    #:2510




                                        
                                           
                               
                                          
                                          
                                         !"#


$ %%&!'("%&))&$* ")+(,'&*
&))&$# ")+(,'&*-./0
1$ ,'))'.)2+
"(*3')'( /44516

                                         '7,'#8'9/

9 ")+(,'&*
:,;$, <));$2')&#&,'+$!!'((,"#='#$&) <#&*&)$* ,$)=%"9,;'%$(;&"* ''>$*+
 "*<,8'$8)',"9'(7"*+,"="??*,&)'7,'#8'94/

:,;$,%9"#'7,'#8'94/ <))8'$,$9&(%$(;&"* ''>*+  "*<,8'$8)',"
9'(7"*+,"="?+$&)='&,;'9

:,;$,$))9'@?'(,(9')$,'+,",;'!"*%&+'*,&$)%&)'("%,;'!"#7$*="9!9&#&*$)!$('%&)'+
 &,;*+="?*'2'9'A7)$&*'+;" ,;'('+"!?#'*,(9')$,'+,",;'!$('

:,;$,$*=+&(!?((&"*9')$,'+,"+&(!"2'9=+"!?#'*,($*+(7'!&$))=+"!?#'*,("%#=
!"#7$*=(;"?)+8'+&(!?(('+ &,;$*$,,"9*'=$*+*", &,;#'
  Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 188 of 192 Page ID
                                    #:2511

:(',,)'#'*,9')$,'+,"#$)&!&"?(79"('!?,&"*$!,&"*$3$&*(,#'$*+#=!"#7$*=&*,;&(
 "?9,$(="?$*+7)$&*,&%%$ $9',;$,!"#7)$&*,&(#'9&,)'(( &))8'+&(!?(('+ &,;$*$,,"9*'= ;"<))
'*,'9$*+9'79'('*,#=!"#7$*=

:,;$,!,"8'9/$*$,,"9*'="*8';$)%"%#=!"#7$*= &));$2',"%&)'$*
$*( '9:;$, "?)+8'#",&"*,"+&(#&(("&,#'$*(;'<));$2',"!"*+?!,#'',$*+!"*%'9$,,;'
8'3&**&*3"%!,"8'9*$,,"9*'=*''+(,&#',"(,?+=,;'!$('"="?!$*+&(!?(($*=(?8B'!,')$,'+
,"+&(!"2'9= &,;;'9;'9

:,;$, !"*(&+'9,;&('',$*+!"*%'9!"*+?!,&"*"2'9$(+?9&*3"?9'A!;$*3'="?
+&+*<, &))&*3+&(!?(($*=(?8B'!,9')$,'+," ;=="?*''+#=!"#7$*=!"*%&+'*,&$)+"!?#'*,( ;=
="?*''+!"7="%#=!)&'*,($*+7$9,*'9()&(, ;=="?*''+$!"7="%!9&#&*$)!$('(?8#&,,'+,"
$*+="?*'2'9'A7)$&*'+*",,"#'*",,",;&( "?9,;" ,;'('+"!?#'*,(9')$,'+,",;'!$('
$*+ ;=="?*''+,;'#%"9+&(!"2'9=" 79'%'9="?<))!"*,&*?',;&(+&(!?((&"* &,;$*$,,"9*'=
  ;"<))9'79'('*,#=!"#7$*=



C&*+9'3$9+(

:&#'(,$#7D6D$#
'7,'#8'9/
&)$* ,$)=




)'"*"9$+' 9$=
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 189 of 192 Page ID
                                  #:2512




                                                Exhibit “S”
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 190 of 192 Page ID
                                LAW OFFICES OF
                                  #:2513
                                     WILLIAM D. GOLDSTEIN
                                            4030 Sawtelle Blvd.
                                       LOS ANGELES, CALIFORNIA 90066
                                        TELEPHONE: (310) 437-0108
                                         FACSIMILE: (323) 372-3589

                                 E-MAIL: WDGOLDSTEIN@WDGOLDSTEIN.COM



                                       September 20, 2019

                         MEET AND CONFER LETTER-DISCOVERY


ELEONORA DE GRAY                                                       Via Email: infodegray@gmail.com
OFFICIAL RUNWAY MAGAZINE
23-25, rue Jean Jacques Rousseau
75001 Paris, France

Dear Ms. De Gray:

       This letter is intended to conform with both the FRCP and Local Rule 37-1 related to the
required Meet and Confer process prior to the filing of Motions to Compel, et al under FRCP
Rule 37.

        You have stated: “PLEASE NOTE that I consider this Meet and confer conduction over,
as during our exchange you didn't willing discuss any subject related to why you need my
company confidential documents, why you need copy of my clients and partners list, why you
need a copy of criminal case submitted to LAPD, and you never explained not to me, not to this
Court how these documents related to the case and why you need them for discovery. So I prefer
you'll continue this discussion with an attorney, who'll represent my company.”

       Please note that a party propounding discovery is under no obligation to divulge its legal
reasoning or strategy to the opposing party when discovery requests are issued.

      Your request that I continue any Meet and Confer with your attorney “who'll represent
my company” is at best ambiguous. There are 2 Defendants in this case, both YOU and YOUR
Company. In my last letter I inquired about this specifically stating :

        “I am confused by your Meet and Confer letter of September 19, 2019. In this letter you
request that I wait to meet and confer on the discovery responses filed by you as a Pro Se litigant
until you hire an attorney in October. Whereas in you Meet and Confer letter of September 16,
2019 you speak of personally filing a 3rd Motion to Dismiss stating: “The motion will be filed
from me, Eleonora de Gray, a physical person, presented pro se.” You have also stated that you
intend to retain an attorney to represent EURL Eleonora De Gray only as you cannot represent
the company Pro Se in the District Court.”

       I have previously requested the name and contact information of your attorney yet you
have not responded to this inquiry. No attorney purporting to represent you has contacted me as
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 191 of 192 Page ID
                                  #:2514


is usual in matters like this. No attorney has made an appearance this matter representing either
YOU or EURL Eleonora De Gray.

        I have asked if you will be willing to sign a joint declaration stating we are at an impasse
related to the discovery. You have refused to respond to this question.

         Please understand, the Plaintiff was under no obligation to continue with the Meet and
Confer process on a Motion to Compel after the stay was lifted. The 10 days between our first
communication related to the Discovery responses for there to be a Telephonic Meet and Confer
under Local Rule 37-1 had expired prior to the stay being issued. In good faith, since you had
promised the Respond to the initial Meet and Confer letter by December 3, 2019, I granted you a
week to do so once the stay was lifted. You have not done so and have indicated in your last
letter that you will be to busy for the next 2 weeks to communicate.

         You have also stated: “PLEASE NOTE that I consider this Meet and confer conduction
over.”

      I will take you at your word and proceed to notice and file yet another Motion to Compel
Responses as well as seek sanctions provided under the code.

       Nothing herein is a waiver of any of my client’s rights, all of which are expressly
reserved herein.

Sincerely:


William D.
        D Goldstein
Attorney for Runway TV, LLC
Case 2:18-cv-02503-FMO-JC Document 94 Filed 09/20/19 Page 192 of 192 Page ID
                                  #:2515


                                            PROOF OF SERVICE

     STATE OF CALIFORNIA
     COUNTY OF LOS ANGELES

            I am employed in the County of Los Angeles, State of California; I am over the age of 18
     and not a party to the within action; my business address is 4030 Sawtelle Blvd, Los Angeles,
     California 90066-5408.

            On September 20, 2019, I served the foregoing document(s) described as:

     PLAINTIFF’S NOTICE OF MOTION AND MOTION TO COMPEL RESPONSES
     TO REQUEST FOR IDENTIFICATION AND PRODUCTION OF DOCUMENTS,
     SET 1 WITHOUT OBJECTIONS; MEMORANDUM OF POINTS AUTHORITIES
     IN SUPPORT THEREOF REQUEST FOR SANCTIONS AND DECLARATION OF
     WILLIAM D. GOLDSTEIN
     PLAINTIFF’S NOTICE OF MOTION AND MOTION TO COMPEL CLEAR AND
     CONCISE RESPONSES TO REQUESTS FOR ADMISSIONS, SET 1 WITHOUT
     FURTHER OBJECTIONS; MEMORANDUM OF POINTS AUTHORITIES IN
     SUPPORT THEREOF; REQUEST FOR SANCTIONS AND DECLARATION OF
     WILLIAM D. GOLDSTEIN
     on the interested parties to this action by placing a copy thereof addressed as follows:

                                  Eleonora De Gray & EURL Eleonora De Gray
                                    Via Email to infodegray@gmail.com

                    (BY MAIL) I am readily familiar with the business practice for collection and
     processing of correspondence for mailing with the United States Postal Service. This
     correspondence shall be deposited with the United States Postal Service this same day in the
     ordinary course of business at our Firm’s office address in Los Angeles, California. Service made
     pursuant to this paragraph, upon motion of a party served, shall be presumed invalid if the postal
     cancellation date of postage meter date on the envelope is more than one day after the date of
     deposit for mailing contained in this affidavit.

                    (BY OVERNIGHT DELIVERY SERVICE) I served the foregoing document by 1-
     Day Express Mail, an express service carrier which provides overnight delivery, as follows. I
     placed true copies of the foregoing document in sealed envelopes or packages designated by the
     express service carrier, addressed to each interested party as set forth above, with fees for overnight
     delivery paid or provided for.

                     (BY FACSIMILE) I caused such documents to be delivered via facsimile to the
     offices of the addressee(s) at the facsimile number(s) listed above.
     X               (BY EMAIL) I caused such documents to be delivered via email to the following
     addressee(s):    infodegray@gmail.com

            Executed this 20th day of September, at Los Angeles, California.

     I declare under penalty of perjury
                                      y under the laws of the State of California that the above is true and
     correct.

                                ______________________________________
                                  _____
                                     ___________________________________
                                          WILLIAM D. GOLDSTEIN
